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                   Exhibit A
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                        Location Name         ECP Section                       Final Audit Finding                                                   Corrective & Preventive Action Plan                                      Status of Corrective
                         (Audit Date)                                                                                                                                                                                         & Preventive Action
                                                                                                                                                                                                                                       Plan
               1.       MS Oosterdam          ECP Section       The Membrane Bio-Reactor (MBR) marine sewage              Root Cause Analysis indicated a lack of parts available for the obsolete unit. A return visit by    In Progress
                         (07.26.2018)          VIII.B.2.g       treatment plant (Black Water System), has been            the Department for Environmental Food & Rural Affairs is to be conducted in September to
                                                                Non-operational since May of 2017, some 14                continue repairs. GOTECH is currently resolving communications issues. The unit is to be
                                                                months past. As with many items of equipment, this        replaced by WARTSILA/HAMMWORTHY.
                                                                particular model is obsolete, and new parts are not
                                                                readily compatible. There has been a series of visits
                                                                from Tech Reps throughout this period with much
                                                                money spent. After 14-months, there is currently a
                                                                riding crew on board to repair the units. There is
                                                                also a full replacement scheduled for the first quarter
                                                                of 2019. In the interim, the vessel is using a ballast
                                                                tank as a holding tank. This is a class approved
                                                                solution. This is also a root cause for some of the
                                                                inappropriate discharges of Black Water during this
                                                                time.
               2.       MS Zuiderdam          ECP Section       The vessel is fitted with Four (4) Exhaust Gas            Root Cause Analysis indicated the first EGCS went out of service on May 27 and the other on         In Progress
                         (09.27.2018)          VIII.B.2         Cleaning Systems (EGCS). Two EGCS were                    August 14. Both were due to the gearbox failure. The Ship received one gearbox on August
                                                                inoperable at the time of the audit.                      14 but it was the incorrect type. We also received another gearbox from another ship on
                                                                                                                          August 24th but again this was the wrong type. Currently, the Ship expects one to be
                                                                                                                          delivered on board October 20 and is not sure of the delivery date for the other, but the Ship is
                                                                                                                          working with the vendor. (PO# T466-180957). Recommended review of the EGCS required
                                                                                                                          spares website (CCL Marine Technology website - updated August 2018) and proposed carry
                                                                                                                          of spare(s) for HA Group fleet.
               3.       MS Zuiderdam          ECP Section       One of the two sewage treatment plants, a pollution       Root Cause Analysis indicated L1 is off due to failure of the VFD’s. Old VFD’s are obsolete         In Progress
                         (09.27.2018)          VIII.B.2         prevent device is not operating as designed.              of L1 and need to be up-graded like L2. PO T466-181337 and T466-181581 - estimated
                                                                                                                          completion Q1 2019. Review of Rochem system and its future applicability onboard the
                                                                                                                          ZUDM.
               4.        Coral Princess     ECP Section VIII    During a U.S. Coast Guard, Port State Control,            Root Cause Analysis indicates a failure to follow procedure. The following actions were taken       In Progress
                         (11.22.2018)            B.2.t          Certificate of Compliance annual inspection               immediately following the near miss: 1. Tank isolated, wastewater discharged ashore (total
                                                                conducted on 4 November, 2018 in Guam, the vessel         1.1m3) and tank cleaned. Returned to service 11 November 2018. 2. Hoses & fittings
                                                                was cited for pumping condensate through a hose           separated and now stored in lockers controlled by the Chief Engineer. 3. The vessel has
                                                                that was labeled for “Sludge” usage into the Grey         ordered materials to complete fabrication of separate lockers which will divide hoses into use
                                                                Water tank through the sounding tube, which could         category. Access to these lockers will be controlled by the Chief Engineer. Preventive
                                                                have potentially lead to a discharge of oil directly      measures: The Company will include the atmospheric condenser in the scope of work for the
                                                                overboard.                                                bilge minimization project which involves the installation of fixed piping arrangements to
                                                                                                                          drain clean water into the grey water system. This will eliminate the need to crew to set up
                                                                                                                          temporary arrangements for this task. This has been added to the scope and will be
                                                                                                                          implemented at next vessel dry dock. When setting up temporary arrangements for the
                                                                                                                          transfer of liquids, the discharge should be directed into the main tank access avoiding the
                                                                                                                          sounding pipe where possible. This will increase the chance of possible misunderstanding
                                                                                                                          with external parties. The company should consider defining standard coding to differentiate
                                                                                                                          transfer hoses to allow easy visual identification. Noted that the vessel has 26 logged portable
                                                                                                                          pumps which include equipment spares. Carnival Corporate is to provide guidance on the
                                                                                                                          tracking and disposal of surplus pumps (this will be part of the new procedure). Recommend
                                                                                                                          that pumps not required by the ship are offloaded accordingly.

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                         (Audit Date)                                                                                                                                                                                     & Preventive Action
                                                                                                                                                                                                                                   Plan
               5.       Carnival Elation    ECP Section VIII    The static Oily Water Separator (OWS),                  Root Cause Analysis indicated the RWO capacity and installation design doesn’t allow              In Progress
                         (12.16.2018)            B.2.d          manufactured by RWO could not perform the one-          comfortable processing overboard. The RWO will be decommissioned, taken out from the
                                                                hour operation test as required by the ECP. The         IOPPC, and dismantled. The ship has in place a working Marinfloc OWS. A new OWS will
                                                                Chief Engineer stated the RWO/OWS is not                be installed to replace the RWO. CCL will also apply the same corrective actions for the other
                                                                dependable and has not been used to process bilge       two vessels that have RWO installed.
                                                                water overboard but utilizes the Marinfloc OWS
                                                                instead.
               6.       Carnival Elation    ECP Section VIII    In the garbage handling room, the food waste            Root Cause Analysis indicated oversight by team members working in the area and inadequate        In Progress
                         (12.16.2018)            B.2.g          containers had other items such as plastic straws,      supervision. Conduct retraining with all team members. Reinforce supervision in respective
                                                                plastic wrap, aluminum butter wrappers, wooden stir     areas onboard, and EO is to conduct additional spot checks to ensure compliance.
                                                                sticks, and other miscellaneous items mixed in the
                                                                food waste ready to be discharged down the chute
                                                                and then overboard while at sea.
               7.       Carnival Elation    ECP Section VIII    The #1 incinerator, a pollution prevention              Root Cause Analysis indicated a damaged silo screw caused the incinerator to be out of            In Progress
                         (12.16.2018)            B.2.c          equipment, was found not in service. The                service. The incinerator was out of service for over a year. The Company raised an incident
                                                                incinerator has been out of service for several years   report and reported this to the interested parties. This equipment was OOS for so long due to
                                                                but utilizes the #2 incinerator to burn solid waste.    technical operations evaluating the possibility of decommissioning the equipment taking into
                                                                                                                        consideration the system capability, performance, and ship needs. All this while the other
                                                                                                                        incinerator # 2 was fully operational and the ship was able to burn waste comfortably.
                                                                                                                        Remove incinerator # 1 off of the ships IAPPC. Evaluate the need for repair or decommission.
                                                                                                                        The ship’s other incinerator # 2 is fully operational, and the capacity to burn waste is not
                                                                                                                        affected.
               8.        Carnival Vista        ECP Section      The Exhaust Gas Cleaning System (EGCS) installed        Root Cause Analysis indicated the EGCS was not in service as there were various technical         In Progress
                         (01.11.2019)          VIII.B.2.c.      for engines DG1, DG2, and DG5 had been                  issues including gas analyzer failure. Lloyds had issued the IAPPC by error. OEM
                                                                commissioned at the presence of Lloyds Class            Technicians will be boarding the ship to carry out necessary troubleshooting before placing the
                                                                Surveyor on December 19, 2018, and a new IAPP           unit in service. DD/GG # 5 has a condition of class issued. Future commissioning will be
                                                                Certificate and Supplement had been issued on that      done in a more coordinated manner to avoid such situations from occurring. The Lloyds
                                                                date accordingly. The EGCS had been found out of        surveyor was also briefed about this finding to avoid reoccurrence.
                                                                service at the time of the audit.
               9.      Carnival Liberty*      ECP Section       The vessel is fitted with 6 main generator sets. Main   Root Cause Analysis indicated frequency converter for the main sea water pump was burned          Complete
                         (01.13.2019)          VIII.B.2         engines 4, 5, & 6 are fitted with Exhaust Gas           out. A new frequency converter was ordered. Air freight was requested. As soon as received
                                                                Cleaning Systems (EGCS). EGCS #5 is inoperable          on board, repairs will be conducted and equipment placed back in service. This frequency
                                                                due to failure of the frequency converter on the main   converter will be evaluated to be added to the critical spare parts list. Accordingly, actions
                                                                sea water pump.                                         will be taken to have spares on board.
               10.     Carnival Elation*       ECP Section      In the garbage handling room, the food waste            Root Cause Analysis indicated oversight by team members working in the area. No adequate          In Progress
                         (02.19.2019)           VIII B.2.g      containers had other items such as plastic straws,      supervision. Retraining will be conducted with all team members. Supervision in respective
                                                                plastic wrap, aluminum butter wrappers, wooden stir     areas will be reinforced on board, and additional spot checks will be conducted by the
                                                                sticks and other miscellaneous items mixed in the       Environmental Officer to ensure compliance. Environmental ops and Food ops to review the
                                                                food waste that was processed through the pulpers       current process/cycle of waste segregation and come up with recommendations to improve if
                                                                and into the food waste tanks, ready to be discharged   needed. The review shall include a study on the efficiency of current supervision and logging
                                                                while at sea. The Food Waste tank was discharged        requirements. CCL OLTM to look into the effectiveness of training materials/ready
                                                                to sea on 16 December 2018, with no verified            references/posters currently in use to highlight waste segregation and revise if necessary.
                                                                documentation of the removal of items noted above.      Access the feasibility to Install CCTV cameras over pulper/garbage room chutes around the
                                                                The TPA noted the issue to the EO.                      ship.



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                                                                                                                                                                                                                                   Plan
               11.     Carnival Elation*       ECP Section      The static Oily Water Separator (OWS),                  Root Cause Analysis indicated the RWO Capacity and installation design does not allow for         In Progress
                         (02.19.2019)           VIII B.2.d      manufactured by RWO could not perform the one           comfortable processing overboard. The RWO will be decommissioned, taken out from the
                                                                hour operation test as required by the ECP. The         IOPPC, and dismantled. The ship has in place a working Marincfloc OWS. A new OWS will
                                                                Chief Engineer stated the RWO/OWS is not                be installed to replace the RWO. CCL will also check with the other 2 vessels that have the
                                                                dependable and has not been used to process bilge       RWO installed and the same corrective action will be applied across the other ships.
                                                                water overboard but utilizes the Marinfloc OWS
                                                                instead.
               12.     Carnival Elation*       ECP Section      The #1 incinerator, a piece of pollution prevention     Root Cause Analysis indicated a damaged silo screw caused the incinerator to be placed out of     Complete
                         (02.19.2019)           VIII B.2.c      equipment, was found not in service. The                service. The incinerator was kept out of service for over a year. An incident report was raised
                                                                incinerator has been out of service for several years   on time, and this was also reported to the interested parties. This was also reported on the
                                                                but utilizes the #2 incinerator to burn solid waste.    EnoA every arrival US port. The reason for keeping this equipment OOS for so long was that
                                                                                                                        technical operations were evaluating the possible decommissioning of the equipment, taking
                                                                                                                        into consideration the system capability, performance, and ship needs. All this while the other
                                                                                                                        incinerator # 2 was fully operational and the ship was able to burn waste comfortably. The
                                                                                                                        incinerator will be removed # 1 of the ships IAPPC. The need for repair or decommission will
                                                                                                                        be evaluated. The ship’s other Incinerator # 2 is fully operational, and capacity to burn waste
                                                                                                                        is not affected.




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                        (Audit Date)                                                                                                                                                                                       & Preventive Action
                                                                                                                                                                                                                                    Plan
          1.             Shore - ABG          ECP Section       As per the ECP section III.B.1.b., the Risk Advisory      Root Cause Analysis indicated ineffective Procedure (the process is open to interpretation).     In Progress
                         (08.18.2017)          III.B.1.b        and Assurance Service (“RAAS”) department shall           The Company will now require that a monthly update on the status of all Severity 3
                                                                investigate covered vessel casualties and oil             investigations in progress at all brands be provided to the RAAS Director of Investigations in
                                                                pollution incidents in accordance with Carnival’s         order to ensure that all issues are being reviewed and resolved in a timely manner. The first
                                                                incident investigation policy. Reference is to the        update is to be provided by November 30, 2017. RAAS will update HMP 1303 to define: (1)
                                                                HESS‐MS Procedure HMP‐1303 – Event                        Operating Line progress report frequency based on the investigation’s complexity (Severity 1
                                                                Investigation (Level 3 and 4), Section 3.3 which          to 4); (2) the VP of RAAS Maritime will be required to discuss Severity 4 investigations
                                                                states that “with all level 3 investigations, the lead    during the quarterly EVP meetings; and (3) VP of RAAS Maritime will provide a factual
                                                                investigator must routinely update the VP RAAS            statement on the incident to the MPA within 15 days of commencing a Severity 4
                                                                (Maritime) and the appropriate legal department on        investigation. Overall, the Company acknowledges the difficulties observed by the TPA and
                                                                the status of these investigations.” At the time of the   is revising its HESS investigation procedure to ensure more timely investigation results.
                                                                audit, multiple level 3 investigations relevant to
                                                                pollution incidents have occurred from September
                                                                2016 to July 2017, 24 investigations were found to
                                                                still remain open. Evidence was provided by the
                                                                RAAS Director of Investigation showing where he
                                                                has requested follow up from the Lead Investigators
                                                                residing at the Line level on a regular basis.
                                                                However, no recent feedback or investigation
                                                                updates had been provided to the RAAS Director of
                                                                Investigations at the time of this audit.
          2.             Shore - ABG          ECP Section       As per the ECP section III.B.1.b., the Risk Advisory      Root Cause Analysis indicated ineffective Procedure. MPA Issued ECN #10 (22nd August             In Progress
                         (08.18.2017)       III.B.1.b; HESS:    and Assurance Service (“RAAS”) department shall           2017) to specifically address the Bahamas Baseline incidents. The Safety and Environmental
                                               HMP‐1303         investigate covered vessel casualties and oil             Awareness Bulletin were also used for communicating lessons learned. Working group
                                                                pollution incidents in accordance with Carnival’s         established to identify non-shoreline claims. Preventive RAAS will update HMP 1303 to
                                                                incident investigation policy. Reference is to the        define: 1) Operating Line progress report frequency based on the investigation complexity
                                                                HESS‐MS Procedure HMP‐1303 – Event                        (Severity 1 to 4); 2) require that the VP of RAAS Maritime discuss Severity 4 investigations
                                                                Investigation (Level 3 and 4), Section 6, which states    during the quarterly EVP meetings; and 3) require that the VP of RAAS Maritime provide a
                                                                that during the course of an investigation MPA has        factual statement on the incident to MPA within 15 days of commencing a Severity 4
                                                                to circulate information learned from the                 investigation.
                                                                investigation to all Operating Lines. Incidents in
                                                                violation of Marpol Annex IV and V regulations and
                                                                company procedure ENV 1001 due to discharge
                                                                overboard of comminuted food waste and treated
                                                                black water inside 12 nautical miles of the Bahamas
                                                                baseline were reported on the vessel Carnival Elation
                                                                on voyages between June 4 and June 16, 2017.
                                                                Reference is to the environmental incident report
                                                                005_2017‐EL. Further investigation revealed the
                                                                existence of similar reports issued to other Carnival
                                                                Cruise Line vessels (Carnival Freedom, Carnival
                                                                Liberty, Carnival Magic, Carnival Conquest,
                                                                Carnival Splendor and Carnival Vista). At the time
                                                                of the audit, the investigation of these incidents was
                                                                found open. The HESS‐MS procedure ENV 1001
                                                                was found revised and containing additional
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                                                                                                                                                                                                                                  Plan
                                                                information to the vessel to avoid future similar
                                                                incidents. A copy of the internal Carnival Cruise
                                                                Line internal communication sent to the Line fleet
                                                                requiring Masters and Chief Engineers to confirm
                                                                awareness and updates of the procedure was also
                                                                provided. However the information learned from the
                                                                ongoing investigation, including the notification of
                                                                procedure change, has not been circulated to all the
                                                                Operating Lines as required by the HESS‐MS
                                                                Procedure.
          3.            Crown Princess        ECP Section       The ship has identified their vulnerabilities but has    Root Causes Analysis indicated a misinterpretation of ECP requirements. The controls of          In Progress
                         (11.18.2017)           IX.B.1          not sealed all of them. It is the practice of the ship   portable pump usage are currently under review.
                                                                that some vulnerability points need a portable pump
                                                                and hoses to make them a vulnerability. According
                                                                to the ship unauthorized usage of portable pumps is
                                                                prevented by controlling pump usage as per their
                                                                companies OD ENV/02/16. Portable pump usage is
                                                                also regulated by ENV-1203. Using this pump
                                                                control method might be seen as a virtual lock but
                                                                this does not meet the requirements of the ECP for
                                                                tags, seals or locks. A reassessment of all vulnerable
                                                                connections that are not tagged because of the use of
                                                                the portable pump control directive needs to be done
                                                                and seals, tags, locks or welded clips need to be
                                                                installed to meet the ECP requirement.
          4.           Holland America        ECP Section       Investigations Process does not follow HMP 1303,         Root Cause Analysis indicated a failure to follow procedure. Streamline the review process       In Progress
                        Group Offices          III.B.1.b        Para 4 - Reports: RAAS group does not consistently       within RAAS. RAAS needs to formally confirm Maritime Audit Services not only reviews
                        Seattle/Santa                           return review of Investigations within five (5)          but also can sign off on the investigations reports on behalf of RAAS. Review HMP 1303 to
                            Clarita                             working days of Holland America Group reporting.         determine if the 5 day turn around requirement is realistic and if it needs amendment.
                        (01.15.2018)                            Examples of ECP related incidences among
                                                                numerous other examples include:
                                                                VE20170036 Report 8/28/17 Reply 9/5/17 9 days 7
                                                                working days
                                                                KP20170009 Report 7/19/17 Reply 8/14/17 31 days
                                                                24 working days
                                                                OS20170038 Report 9/5/17 Reply 9/25/17 20 days
                                                                12 working days
          5.           Holland America     Non-compliance to    On June 1, 2016, the Company entered into a              Root Cause Analysis indicated Senior Director of Environmental Operations conducted              In Progress
                        Group Offices          Company          contract with the Waste Service provider Stericycle      meetings with Stericycle in the HA Group offices, along with Port Ops in March 2017. This
                        Seattle/Santa         procedures        for Waste Management Services to all HAG’s ships.        was considered as de facto due diligence activity at the time because ENV-1004 did not
                            Clarita                             GLOBAL HESS procedure “ENV1004,                          provide clear guidelines for what this type of inspection should consist of. Stericycle
                        (01.15.2018)                            Environmental Management of Waste Vendors”               conducted another visit November 28 to begin discussions regarding the option year
                                                                requires that an assessment program for waste            (beginning 6/1/18) in our agreement along with possible extensions. Senior Director
                                                                vendors has to be done by using the “Due Diligence       Environmental to attach proposal submitted for inclusion in ENV-1004 as per PAP. Carnival
                                                                Audit for Waste Vendors” form. No evidence was           Corp is in the process of updating ENV 1004 Management of Waste Vendors and both the
                                                                provided that the due diligence audit was conducted      Environmental and Port Ops team submitted comments to improve the procedure. The current
                                                                before entering into the agreement with Stericycle.      procedure is not prescriptive about the roles and expectations so this will be clarified going
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                                                                                                                                                                                                                                   Plan
                                                                                                                        forward including the worksheet that will be used to document this diligence occurred. As this
                                                                                                                        revision is under Carnival Corp significant time should be provided to allow time for review
                                                                                                                        and publication.
          6.             Shore - ABG          ECP Section       The finding “Observation-03” raised during the first    Root Cause Analysis indicated finding could not be closed by the person to which is was            In Progress
                         (05.04.2018)          VIII.F.3         year TPA audit completed on August 18, 2017, was        assigned. Assignment of action plans to ABG personnel was not considered at the time of the
                                                                reviewed and found in the closed status. However        HESS-MS audit tracking development. There is no formal procedure documenting the audit
                                                                the preventive action completion date which was set     workflow save for the logic in the platform itself. The Company should implement the ability
                                                                on 31 Dec 2017 was found not met. The preventive        for ABG persons to be assigned audit findings and subsequent action plans and create a
                                                                action for the Observation 03 was found closed on       specific HESS procedure for Third Party Environment Audits.
                                                                Feb 28, 2018.

          7.            MS Oosterdam       ECP Section IX.G.I The Garbage Management Plan, Section 5.6                  Root Cause Analysis indicated existing garbage management training materials are outdated          In Progress
                         (07.26.2018)       & HESS ENV‐       (Training) states that there are three different levels   and no longer valid. Modify GMP to be consistent with current HA Group operations.
                                                  1301        of training; general, an advanced and equipment           Determine what training is necessary to meet MARPOL and ECP requirements. Consult with
                                                              specific training on waste handling equipment and         Carnival Corporation to ascertain their current plans for developing and delivering garbage
                                                              hazardous waste handling. These 3 different levels        management training.
                                                              of training are not currently being conducted
                                                              onboard.
          8.          Carnival Maritime    ECP, Attachment 2 Shipboard Covered Personnel hired after the                Root Cause Analysis indicated the current learning management system does not allow a quick In Progress
                       Office Hamburg         ‐ Document      implementation of the training program must               overview and therefore a quick identification of training gaps. Install a new learning
                        (09.16.2018)            Control       complete ECP training within seven (7) days of            management system fully interfaced with the HR management system that allows queries and
                                                              commencing their duties on a new contract.                reports. Provide an interim solution pending the installation of the new LMS.
                                                              It was found that the monthly training records
                                                              indicated that ECP training had not been completed
                                                              within the 7-day time period as required by the ECP.
                                                              A two-month sample (May and June 2018) was
                                                              reviewed and identified the following:
                                                              Costa Atlantica – 36 personnel in May 2018 and 31
                                                              personnel in June 2018 did not complete the training
                                                              within 7 days.
                                                              Costa Deliziosa - 11 personnel in June 2018 did not
                                                              complete the training within 7 days.
                                                              Costa Luminosa - 24 personnel in May 2018 and 39
                                                              personnel in June 2018 did not complete the training
                                                              within 7 days.
                                                              It should be noted that records sampled indicated all
                                                              vessels had completed the initial induction training
                                                              on the first day.
          9.              AIDAmar            ECP Section      The ship/company has decided some vulnerabilities         Root Cause Analysis indicated a difference in interpretation of ECP requirements for               In Progress
                         (09.16.2018)            IX.B.1       to unauthorized disposal of oily waste are only           vulnerabilities. A revision of the ECP for submission to the interested parties will clarify the
                                                              vulnerable if a portable pump and hoses are used.         ECS methodology including the use of portable pumps. The current methodology of
                                                              The ECP authorizes the use of “seals, locks, or           controlling points recognized in the VA by portable pumps is being discussed with the
                                                              welds”, it does not authorize the use of virtual locks.   CAM/TPA.
                                                              There are numerous vulnerabilities currently being
                                                              controlled in this manner onboard.


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                                                                                                                                                                                                                                   Plan
          10.          Carnival Fantasy       ECP Section       The Record of Equipment for the International Oil       Root Cause Analysis indicated an oversight by Class and also by CE and EO who failed to           In Progress
                        (09.16.2018)           VIII.B.2.i       Pollution Prevention Certificate issued by Lloyd’s      check the ships IOPPC. Ships IOPPC to be corrected to reflect correct info. Ships IOPPC to
                                                                Register on 29 April 2018 and endorsed following        be cross-checked to find if additional errors exist.
                                                                the annual IOPP survey on 9 July 2018 contains
                                                                outdated information regarding the installed 15 ppm
                                                                oil filtering equipment (Section 2.2.2). The Record
                                                                of Equipment indicates the two (2) installed oil
                                                                filtering equipment were manufactured by
                                                                MarinFloc AB and that the Alarms are both Deckma
                                                                OMD‐2005 models. One MarinFloc system and its
                                                                accompanying oil content meter has been removed
                                                                and replaced with an Alfa Laval PureBilge system
                                                                with a Deckma OMD‐24 oil content meter.
          11.           MS Zuiderdam          ECP Section       The onboard uncontrolled Garbage Management             Root Cause Analysis indicated a difference in interpretation of the ECP. Both ENV 1301 and        In Progress
                         (09.27.2018)          VIII.B.2.G       Plan does not reflect information in the Global         MAPROL Annex 5 state the GMP needs to be onboard but does not specify in what state,
                                                                HESS Garbage Management Plan ENV 1301.                  either a hard copy or virtually. Therefore, we have not defined it in our own GMP or Tier III
                                                                                                                        procedures. GMP onboard state, hard copy or virtual, to be defined in ENV-1301.
          12.          Shore - Carnival    ECP Section V.B.3    The monthly report provided to the OLCM                 Root Cause Analysis indicated oversight. After a review of the current report structure,          In Progress
                         Cruise Line                            summarizing the Critical Environmental                  incorporate all items as required by the ECP in the same report. Implement as needed on a
                        (10.02.2018)                            Components was found not satisfying specific            monthly basis.
                                                                requirements of the ECP, such as 1) lead time from
                                                                requisition to fulfillment on board and 2) open order
                                                                aging.
          13.          Shore - Carnival    ECP Section V.B.2    The ECP spare part list for the vessel CARNIVAL         Root Cause Analysis indicated oversight. The ECP critical spare parts list for Carnival Valor     In Progress
                         Cruise Line                            VALOR was found not updated. The ECP spare              will be re-evaluated to check for any missing or obsolete parts and will be updated
                        (10.02.2018)                            part VA_0069256, gasket repair kit for ECP valve        accordingly. A fleet-wide action plan will be put in place to check critical spare parts of all
                                                                was found with Minimum Stock quantity equals to         the ships, evaluated for any missing or obsolete parts, and updated if needed.
                                                                zero (0). This specific spare part had not been in
                                                                production since May 2017 and supplier is now out
                                                                of business.
          14.          Shore - Carnival    ECP Section V.B.3    Multiple ECP Spare parts having the Stock quantity      Root Cause Analysis indicated oversight. The Reorder Points Auto Requisition Program in           In Progress
                         Cruise Line                            onboard below the Reorder Point quantity were           Info Ship will be checked for any errors in the system and corrected.
                        (10.02.2018)                            found without a requisition and/or purchase order in
                                                                place.
          15.          Shore - Carnival       ECP Section       It was found during review of Exception Requests        Root Cause Analysis indicated an oversight of persons who are responsible to close out            In Progress
                         Cruise Line         Attachment 2 ‐     that three (3) out of fifteen (15) open Exception       exception requests. The exception requests were closed. The HESS Administrator will
                        (10.02.2018)         Corrective and     Requests on file were expired.                          monitor the exception requests on a monthly basis and ensure the requester of the exception
                                            Preventive Action                                                           requests close out the exceptions in time.
          16.          Shore - Carnival       ECP Section       The Risk Assessment Template (Rev. 2 –                  Root Cause Analysis indicated no procedures exist to address this requirement. Once CCL           In Progress
                         Cruise Line         Attachment 2 ‐     05/07/2017) required to be completed by Contractors     and ABG evaluate the OHS 1302 procedure to include environmental risks, implement fleet
                        (10.02.2018)            Training,       per procedure “OHS 1302 – Contractor or Third           wide.
                                             Awareness, and     Party Personnel”, sections 2.3, is lacking content to
                                               Competence       address risks of 1) impacts to the environment and 2)
                                                                noncompliance with ECP requirements.



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                        (Audit Date)                                                                                                                                                                                      & Preventive Action
                                                                                                                                                                                                                                   Plan
          17.              Ventura            ECP Section       The ship is using portable pumps & hoses to mitigate      Root Cause Analysis indicated grease traps had not been considered within the ships             In Progress
                         (10.24.2018)           IX.B.1          vulnerabilities of oily waste disposal. The ECP           vulnerability assessment; therefore, no environmental control system was applied. Review the
                                                                authorizes the use of “seals, locks, or welds”, it does   methodology of vulnerability assessments to ensure the methodology controls grease traps.
                                                                not authorize the use of a virtual locks that control
                                                                portable pump usage.
          18.           Ruby Princess         ECP Section       The ship is using portable pumps & hoses to mitigate      Root Cause Analysis indicated differences of interpretation of the ECP. Finding noted but not   In Progress
                        (10.31.2018)           VIII.B.2.h       vulnerabilities of oily waste disposal. The ECP           in accordance with ECN 09. ECS methodology currently under review with the CAM and
                                                                authorizes the use of “seals, locks, or welds”, it does   DOJ.
                                                                not authorize the use of a virtual locks that control
                                                                portable pump usage.
          19.          Carnival Horizon       ECP IX.B.1        The ship is using portable pumps & hoses to mitigate    Root Cause Analysis indicated procedures in place are unclear and open to interpretation. A       In Progress
                         (11.03.2018)                           vulnerabilities of oily waste disposal. The ECP         cross-brand ECS group is working to develop a standardized methodology and identifying all
                                                                authorizes the use of *seals, locks, or welds*, it does systems in need of control(s). Update procedures ENV 1203 and ENV 1204. Once a
                                                                not authorize the use of a virtual locks that control   standardized methodology is finalized, implement fleet wide. Reassess all vulnerability
                                                                portable pump usage.                                    assessments for the CCL fleet and take corrective actions accordingly.
          20.          Carnival Horizon       ECP Section       Found two (2) portable pumps not controlled by an       Root Cause Analysis indicated procedure ENV 1203 currently in place is unclear and open to        In Progress
                         (11.03.2018)          viii.b.2.h       ECS. One was an educator pump in a Damage               interpretation. The educator pump and submersible pumps are now controlled on the Horizon.
                                                                Control Locker, the other was a submersible pump        Additionally, the Company formed a cross-brand ECS team. This ECS group is developing a
                                                                found in the engineering spare parts room.              standardized methodology and clarifying all type of pumps needing to be controlled. Update
                                                                                                                        procedure ENV-1203 accordingly.
          21.            Star Princess        ECP Section       The ship is using portable pumps & hoses to mitigate Root Cause Analysis indicated a difference of interpretation of the ECP requirements for             In Progress
                         (11.23.2018)           IX.B.1          vulnerabilities of oily waste disposal. The ECP         vulnerabilities. A revision to the ECP is currently being prepared for submission to the
                                                                authorizes the use of “seals, locks, or welds”, it does interested parties which will clarify the Environmental Control System methodology including
                                                                not authorize the use of a virtual locks that control   the use of portable pumps. The current methodology of controlling points recognized in the
                                                                portable pump usage.                                    VA by portable pumps is being discussed with the CAM/TPA, and an action plan will be in
                                                                                                                        place once resolved.
          22.          MS Koningsdam          ECP Section       The ship is using portable pumps & hoses to mitigate Root Cause Analysis indicated a difference in interpretation of the ECP requirements for             In Progress
                        (12.13.2018)            IX.B.1          vulnerabilities of oily waste disposal. The ECP         vulnerabilities. The Company is preparing a revision to the ECP for submission to the
                                                                authorizes the use of “seals, locks, or welds,” it does interested parties which will clarify the Environmental Control System methodology including
                                                                not authorize the use of virtual locks that control     the use of portable pumps. The current methodology for controlling vulnerabilities recognized
                                                                portable pump usage.                                    in the VA by portable pumps is in review with the CAM/TPA, and corrective and preventive
                                                                                                                        action plans will be developed once resolved.
          23.          MS Koningsdam          ECP Section       The Health, Environment, Safety, Security, and          Root Cause Analysis indicated the Heads of Departments were unaware of the retention              In Progress
                        (12.13.2018)           VIII.B.2.q       Sustainability Procedures for Contractor’s booklet,     policy. ABG is drafting the Instructional Notice directing Operating Lines on addressing this
                                                                specifically the HESS Contractor Procedure              finding. Development and implement Operating Lines specific procedures per the IN on
                                                                Checklist, is not being properly filled out and         contractor awareness.
                                                                retained by supervisors.
          24.          Carnival Elation     ECP Section VIII    Receipts for sludge ashore from Cliff Berry Inc. in     Root Cause Analysis indicated oversight by the ship staff. The Chief Engineer and                 In Progress
                        (12.16.2018)           B.2.i.xii        Jacksonville, Florida indicate “non-hazardous oily      Environmental Officer are to retrain PIC to ensure these discrepancies are picked up in time.
                                                                bilge water” when the product discharged ashore         Environmental Operations are to get in touch with the vendor to ensure correct receipts are
                                                                was “sludge.” Receipts are mislabeled “non-             provided to the ship. Send a fleet-wide notice to the CCL ships highlighting the importance of
                                                                hazardous oily bilge water” for 11/19/2018,             cross-checking waste receipts.
                                                                11/24/2018, 11/29/2018, and 12/13/2018.
          25.          Carnival Elation     ECP Section VIII    The medical center is not properly completing the       Root Cause Analysis indicated oversight by the medical staff due to lack of awareness. The        In Progress
                        (12.16.2018)           B.2.j.xii        Sharps Log as required in HESS procedures.              EO and Doctor retrained medical staff. The EO will increase the frequency of checks in the
                                                                                                                        medical center to ensure proper oversight and completion of the form. Send a fleet-wide

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                        (Audit Date)                                                                                                                                                                                         & Preventive Action
                                                                                                                                                                                                                                     Plan
                                                                                                                         notice to the ships to highlight this issue, increase awareness, and stress the importance of the
                                                                                                                         proper completion of this log and all other such logs required by HESS.
          26.          Carnival Elation      ECP Section IX       Monthly test of the RWO‐OWS are not being              Root Cause Analysis indicated the RWO capacity and installation design did not allow for            In Progress
                        (12.16.2018)              H.4             conducted and recorded in the Oil Record Book.         comfortable processing. Please note staff conducted the test every month and recorded in the
                                                                                                                         ORB. The staff could not effectively quantify the low discharge volume and sometimes
                                                                                                                         recorded a volume of 0 m3 discharged overboard. Decommission the RWO, remove from the
                                                                                                                         IOPPC, and dismantle. The ship now has a working Marinfloc OWS. CCL will also
                                                                                                                         implement these corrective actions on the other two vessels that have the RWO installed and
                                                                                                                         all other vessels.
          27.          Carnival Elation      ECP Section IX       Annual operational test of the RWO‐OWS was not         Root Cause Analysis indicated the RWO capacity and installation design did not allow for            In Progress
                        (12.16.2018)              H.5             being conducted and recorded in the Oil Record         comfortable processing. Please note staff conducted the test annually and recorded in the
                                                                  book.                                                  ORB. The staff could not effectively quantify the low discharge volume and sometimes
                                                                                                                         recorded a volume of 0 m3 discharged overboard. Decommission the RWO, remove from the
                                                                                                                         IOPPC, and dismantle. The ship now has a working Marincfloc OWS. CCL will also
                                                                                                                         implement these corrective actions on the other two vessels that have the RWO installed and
                                                                                                                         all other vessels.
          28.            Sun Princess         ECP Section         The review of the garbage management procedures        Root Cause Analysis indicated ENV-1301 does not provide detailed guidance on estimating             In Progress
                         (01.08.2019)          VIII.B.2.g         revealed several entries in the Waste Management       quantities as per MARPOL requirements nor does it provide detailed guidance on how the
                                                                  System (WMS) improperly categorized resulting in       GMP should be stored onboard. The ABG ENV Working Group is drafting guidance to
                                                                  incorrect quantities being entered in the electronic   include in the update to ENV 1301 to clarify the matching of records in accordance with
                                                                  Garbage Log (Napa). However, all quantities did        MARPOL. Publish ENV-1301 revisions in G-HESS.
                                                                  match the landing receipts, and all hazardous waste
                                                                  and non‐hazardous waste being disposed of were
                                                                  accounted for.
          29.           Carnival Vista        ECP Section         An uncontrolled sharps container had been found in     Root Cause Analysis indicated an oversight by the garbage room team. Removed the sharp              In Progress
                        (01.11.2019)          VIII.B.2.j.xii      the garbage room. The environmental team in the        container from the garbage room. Sharp containers for guest and crew are managed via the
                                                                  garbage room declared the container was for use of     medical center, and the log is maintained in there. Send a fleet-wide CMS to the ships to
                                                                  crew members to dispose of personal sharps.            prevent the repeat of such findings.
                                                                  However, no one at the medical center were aware of
                                                                  or had any records of the sharps container.
          30.           Carnival Vista        ECP Section         The plastic pail stored in the Vessel Sanitation       Root Cause Analysis indicated an oversight by the vessel’s sanitation program steward. All          In Progress
                        (01.11.2019)         VIII.B.2.j.xviii     Program (VSP) locker intended for collection and       other unwanted items that were not supposed to be in the plastic container were removed, and
                                                                  storage of “Pesticide Cans Only” had been found        only the pesticide cans were left inside. Re-briefed the Staff Stewards VSP on proper garbage
                                                                  filled with other waste materials (used containers     separation procedures. The HSKP management in charge of the area will reinforce
                                                                  and bottles).                                          supervision to ensure that garbage separation is done properly. EO will periodically spot
                                                                                                                         check this area to monitor compliance.
          31.           Carnival Vista        ECP Section         A Stub pipe was found on the auxiliary cooler in the Root Cause Analysis indicated the current ECS methodology does not require this system to             In Progress
                        (01.11.2019)            IX.C.3            engine room.                                           be controlled. Discuss this finding with the cross-brand ECS working group, and if it is
                                                                                                                         decided that this pipe needs to be controlled, take actions accordingly. Implement actions
                                                                                                                         fleet-wide based on the decision taken in the ECS working group.
          32.           Carnival Vista        ECP Section         The ship is using portable pumps & hoses to mitigate Root Cause Analysis indicated the ECP is open to interpretations. The Company formed a                In Progress
                        (01.11.2019)            IX.B.1            vulnerabilities of oily waste disposal. The ECP        cross-brand ECS working group to mitigate this issue of inconsistency in the implementation
                                                                  authorizes the use of “seals, lock, or welds”. It does of the ECS program. The ECS working group is responsible for standardizing the procedures
                                                                  not authorize the use of a virtual locks that control  ENV 1203 and ENV 1204 and for effective implementation fleet-wide across all of the brands.
                                                                  portable pump usage.                                   The ECS working group is also responsible for the effective roll out of the ECS get well
                                                                                                                         program.

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                        (Audit Date)                                                                                                                                                                                      & Preventive Action
                                                                                                                                                                                                                                  Plan
          33.          Carnival Liberty*      ECP Section       Several entries in the Integrated Deck and                Root Cause Analysis indicated oversight by ship staff. All watch leaders will be briefed by the Complete
                         (01.13.2019)          VIII.B.2.I       Engineering Log (NAPA) related to fuel change             chief engineer on how correctly input data into the NAPA E Log template with details. Chief
                                                                overs and starting/stopping of engines were found         Engineer and Environmental officer to randomly check and verify the entries for correct
                                                                with inaccurate description as to which engines or        implementation.
                                                                scrubbers were in use.
          34.          Carnival Liberty*      ECP Section       Policies and Procedures for dispensing cleaning           Root Cause Analysis indicated an oversight by ship staff. All actions will be taken to correct    Complete
                         (01.13.2019)          VIII.B.2.j       chemicals are not being followed. A large open            the issue and follow the procedures. Staff will be retrained on proper chemical management
                                                                container (rubber trash can) filled with cleaning         procedures. A fleet-wide note will be sent out to the ships as a lesson learned to ensure that
                                                                chemicals being used instead of provided dispensing       proper procedures are followed for chemical management.
                                                                units. Container not labeled or covered, leaving it
                                                                open to potential contamination or misuse as well as
                                                                personnel hazard due to splashing or spillage.
          35.          Carnival Liberty*      ECP Section       The vessel is controlling portable pumps & hoses to       Root Cause Analysis indicated the current language in the ECP is open to interpretations. A       In Progress
                         (01.13.2019)           IX.B.1          mitigate vulnerabilities identified in the original       cross brand ECS working group was formed to mitigate this issue of inconsistency in
                                                                Vulnerabilities Assessment. The ECP only                  implementation of the ECS program. The ECS working group is responsible for standardizing
                                                                authorizes the use of “seals, locks, or welds”, it does   the procedures ENV 1203 and ENV 1204 and effective implementation of the same fleet wide
                                                                not authorize the use of a virtual lock system, such      across all the brands. The ECS working group is also responsible for the effective roll out of
                                                                as controlling portable pump accessibility.               the ECS get well program. All ships in the CCL fleet will be completed by 31st December
                                                                                                                          2019. Once the ECS get well program has been implemented on the ship, the EO and CE on
                                                                                                                          board will be responsible for maintaining the standards.
          36.          Carnival Liberty*      ECP Section       The hatch to the food waste silo found unlocked and       Root Cause Analysis indicated an oversight by the Environmental Team Leader. The team             Complete
                         (01.13.2019)         VIII.B.2.G        unmanned. The lock log was reviewed, and the lock         working in the area were re-briefed on the correct use of the ECS controls applied to the food
                                                                had been logged as unlocked for over 20 hours.            waste tank. Environmental Officer to monitor the correct implementation of this procedure
                                                                                                                          related to the food waste silo ECS controls.
          37.          Carnival Liberty*      ECP Section       Fuel Bunker Procedure (TEC 1402) not being                Root Cause Analysis indicated oversight by the Chief Engineer and Person in Charge of the         Complete
                         (01.13.2019)          VIII.B.2.t       properly followed and several discrepancies were          operation. Retraining was conducted by the Chief Engineer with all the engineers in charge of
                                                                noted in the documentation of bunkering operations,       the bunkering process. Chief Engineer stressed the need to ensure that all related paperwork is
                                                                including:                                                completed adequately. Chief Engineer and Environmental Officer to reinforce oversight and
                                                                ‐ (TEC 1402‐A1) Fuel Bunker Plan: Not properly            checks to monitor proper completion of documentation.
                                                                completed, incorrect dates and amounts, not signed.
                                                                ‐ (TEC 1402‐A2) Fuel Bunder Checklist: Missing
                                                                signatures and not properly signed with dates and
                                                                times.
                                                                ‐ (TEC 1402‐A3) Fuel Bunker Sample Record: Not
                                                                Signed.
          38.          Carnival Liberty*      ECP Section       During review of the MARPOL Fuel Oil Samples, a           Root Cause Analysis indicated an oversight by PIC. Actions will be taken to correct the           Complete
                         (01.13.2019)          VIII.B.2.t       sample was found not properly logged and missed           discrepancies. CE and EO to monitor the effective implementation of this process.
                                                                labeled with the wrong seal number
          39.            Sea Princess      ECP Section IX.M     The ship has reported a minor and inconsistent oil        Root Cause Analysis indicated tests conducted over the last 5 weeks have concluded that the       In Progress
                         (01.14.2019)                           sheen that has been observed in the proximity of the      port-side air guard shaft seal is the likely source of the sheen. The Chief Engineer continues
                                                                transom at various times over the past few weeks.         communication with the OEM for corrective action.
                                                                The cause of the sheen has not been determined if it
                                                                is originating from the vessel. Diver’s inspection
                                                                reports (2 reports viewed) and shipboard machinery
                                                                checks show no possible causes at this time. No


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                        (Audit Date)                                                                                                                                                                                      & Preventive Action
                                                                                                                                                                                                                                  Plan
                                                                action plan was available to verify additional
                                                                reviews are being done to correct/address this issue.
          40.            Sea Princess        Global HESS:       In reviewing ENV‐1008‐A1 ‐ Environmental Officer          Root Cause Analysis indicated inadequate information to fully assess whether the variance       In Progress
                         (01.14.2019)         ENV‐1008          Weekly Report, it was shown that there has been a         represented a calibration issue between two systems or an operational issue indicating
                                                                consistent variance of greater than 10% between the       discrepancies which warrant further investigation. Due diligence to be performed by vessel to
                                                                ABB (tank soundings) and the BCDB (flow meter)            provide calibration of equipment. Further actions are dependent of results.
                                                                for several months. Total Marine Solutions (TMS)
                                                                technicians originally reported that the constant 10%
                                                                differential in total readings is due to two different
                                                                methods of technology reading total quantity of
                                                                discharged water.
          41.            Sea Princess         ECP Section       The vulnerability assessment report provided to the       Root Cause Analysis indicated a difference in interpretation of the ECP. Seal reduction and     In Progress
                         (01.14.2019)           IX.B.1          vessel is not consistent with the vulnerability control   VA update scheduled for early April 2019. ECP description of the ECS and the related VA
                                                                policies/procedures highlighted in ENV 1204 and           are subject to discussion between the CAM and CCM. Pending resolution of that discussion
                                                                associated guidelines. Multiple locations, including      and possible revisions to the ECP language, then ENV-1204 2.2.3 to be reviewed for its
                                                                piping flanges between the oily water separators          guidance on best practices for the crew on maintaining and updating the vulnerability
                                                                (COWS and SOWS) and the Bilge Control                     assessment.
                                                                Discharge Box are not identified in the vulnerability
                                                                assessment present onboard the vessel but are sealed
                                                                and listed in the Critical Valves, Fittings, Tank
                                                                Hatches List, Lock Log and Seal Log.

                                                                Some of the vulnerabilities that are listed in the
                                                                assessment (those that are welded, in particular) are
                                                                not listed in the Critical Valves, Fittings, Tank
                                                                Hatches List as required under HESS 1204 Section
                                                                2.2.3.
                                                                Finally, ENV‐1204 provides no guidance to the crew
                                                                on maintaining and updating the vulnerability
                                                                assessment.
          42.            Sea Princess         ECP Section       Procedures related to oil transfers and bunkering        Root Cause Analysis indicated inattention to detail when filling out forms and checking the      In Progress
                         (01.14.2019)          VIII.B.2.t       were not being followed. While examining the             posted drawings in the bunker break for most current drawings available. After each bunker
                                                                bunker receipts and plans multiple instances of          operation, these forms should be checked and signed by a supervisor (Staff Clerk) before they
                                                                bunker plans and bunker checklists missing               are filed. Issue guidance to HA Group Fleet Technical Department to verify posted drawings
                                                                information (signature, time, bunker vessel or           and procedures in the bunker break are current and up to date. To prevent this from happening
                                                                facility name, etc.) were observed.                      again, the updating of certificates/drawings should be included in the work description when
                                                                                                                         projects take place. A reminder could be included in the set-up of the new Modprop software
                                                                Additionally, both bunker stations have outdated fuel as part of the approval criteria for a modification.
                                                                system drawings posted on the bulkheads. A
                                                                separate transfer pipe between fuel oil tank 1C and
                                                                the Diesel oil transfer pump was installed. The
                                                                posted drawings were never updated. Instead,
                                                                printouts from the automation computer screens
                                                                were posted showing the fuel transfer system.
          43.           Crown Princess        ECP Section       The ship is using portable pumps & hoses to mitigate Root Cause Analysis indicated a difference in the interpretation of the ECP. Revise the ECP          In Progress
                         (01.29.2019)           IX.B.1          vulnerabilities of oily waste disposal identified in the to allow virtual locks. There is active engagement with the CAM on the matter of the ECS,

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                        (Audit Date)                                                                                                                                                                                          & Preventive Action
                                                                                                                                                                                                                                      Plan
                                                                  initial assessment done for the ship. The ECP             portable pumps, and the number of seals. There is a general agreement that the number of
                                                                  authorizes the use of “seals, locks or welds,” it does    seals should be reduced. Ship visits are underway, and vulnerability assessments are being
                                                                  not authorize the use of a virtual locks that control     updated, resulting in a reduction in the number of flanges, connections, etc., requiring seals.
                                                                  portable pump usage.
          44.           Crown Princess        ECP Section         A five-gallon container holding used barbicide in the     Root Cause Analysis indicated a failure in the implementation of the procedure. EO is tasked      In Progress
                         (01.29.2019)        VIII.B.2.j.xviii     Ship’s Spa was not placed in secondary containment.       with follow-up rounds with the Section Manager responsible for that area. Already corrected
                                                                  The container was placed in a floor cabinet less than     onboard. EO is to brief spa staff to reinforce understanding of chemical storage requirements.
                                                                  10 inches to a floor drain. The floor drain was
                                                                  connected to the grey water tank.
          45.           Crown Princess        ECP Section         Over the past 30 days there were 6 (six)               Root Cause Analysis indicated a failure to follow the procedure and oversight by the                 In Progress
                         (01.29.2019)           IX.B.1            discrepancies in the ECS padlock log. Entries were     watchkeepers attributable to multi-tasking and forgetting to sign when returning a key.
                                                                  made that showed padlocks being unlocked, without      Corrected log onboard to address identified deficiencies. The Chief is tasked with briefing
                                                                  a corresponding entry indicating the padlock being     engineering team concerning proper documentation requirements for opening/closing locks in
                                                                  locked - or - the padlock being locked without a       the ECS. EO suggested a different format for the log (ENV-1204) to make it easier to
                                                                  corresponding entry indicating that the padlock had    document and audit the paired activity of unlocking and locking valves, flanges, etc.
                                                                  been unlocked.                                         Document revision suggestion to be submitted by the ECS Working Group.
          46.          Pacific Princess*      ECP Section         The ship is controlling portable pumps & hoses to      Root Cause Analysis indicated ECP language is open to interpretation - discussion are ongoing        In Progress
                         (02.19.2019)           IX.B.1            mitigate vulnerabilities of oily waste disposal        with the CAM on the matter of the ECS and the number of seals and control of portable pumps
                                                                  identified in the initial assessment done for the ship.in the context of the ECS. There is general agreement that the number of seals should be
                                                                  The ECP authorizes the use of “seals, locks or         reduced to be more manageable. Revise the ECP to clarify the use of virtual locks and control
                                                                  welds”, it does not authorize the use of a virtual     of portable pumps in context to the ECS. Ship visits are underway, and vulnerability
                                                                  locks that control portable pump usage.                assessments are being updated, resulting in a reduction of the number of
                                                                                                                         flanges/connections/etc., requiring seals. ECP description of the ECS and the related VA are
                                                                                                                         subject to discussion between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                         the ECS is a significant topic in these discussions. Pending resolution of that discussion
                                                                                                                         preventive action to be updated and addressed.
          47.          Carnival Elation*      ECP Section         Receipts for sludge ashore from Cliff Berry Inc. in Ja Root Cause Analysis indicated oversight by the ship staff. The PIC will be retrained by the          Complete
                         (02.19.2019)         VIII B.2.i.xii      cksonville, Florida indicate “non‐                     Chief Engineer and Environmental officer to ensure that these discrepancies will be picked up
                                                                  hazardous oily bilge water” when the product discha in time. Environmental operations will also get in touch with the vendor to ensure that correct
                                                                  rged ashore was “sludge”. Receipts are mislabeled “ receipts are provided to the ship. A fleet-wide notice will be sent out to the CCL ships to
                                                                  non‐                                                   highlight the importance of cross-checking waste receipts.
                                                                  hazardous oily bilge water” for 11/19/2018, 11/24/20
                                                                  18, 11/29/2018, and 12/13/2018.
          48.          Carnival Elation*      ECP Section         The sharps log in the Medical Center is not properly Root Cause Analysis indicated oversight by the medical staff. Due to Lack of Awareness.                Complete
                         (02.19.2019)         VIII B.2.j.xii      completed as per HESS procedures.                      The medical team was retrained by the doctor and EO. The EO will increase the frequency of
                                                                                                                         checks in the medical center to ensure proper oversight and completion of the form. A fleet-
                                                                                                                         wide notice will be sent out to the ships to highlight this issue, increase awareness and stress
                                                                                                                         the importance of proper end of this log and all other such records required by HESS.
          49.          Carnival Elation*          ECP             Monthly test of the RWO‐                               Root Cause Analysis indicated RWO Capacity and installation design does not allow for                In Progress
                         (02.19.2019)        Section IX H.4       OWS are not being conducted and recorded in the Oi comfortable processing overboard. Please note that the test was being conducted every month,
                                                                  l Record book.                                         and ORB entry was recorded. The issue was the low discharge volume could not be
                                                                                                                         adequately quantified and the staff use to sometimes record an amount of “0” m3 discharged
                                                                                                                         overboard. As a corrective action, the RWO will be decommissioned, taken out from the
                                                                                                                         IOPPC, and dismantled. The ship has in place a working Marincfloc OWS. A new OWS will
                                                                                                                         be installed to replace the RWO. CCL will also check with the other 2 vessels that have the
                                                                                                                         RWO installed and the same corrective action will be applied across the other ships.

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                        (Audit Date)                                                                                                                                                                                          & Preventive Action
                                                                                                                                                                                                                                       Plan
          50.          Carnival Elation*      ECP Section        Annual operational test of the RWO‐                     Root Cause Analysis indicated RWO Capacity and installation design do not allow for                  In Progress
                         (02.19.2019)           IX H.5           OWS was not being conducted and recorded in the O comfortable processing overboard. Please note that the test was being conducted during the
                                                                 il Record book.                                         year, and ORB entry was recorded. The issue was the low discharge volume could not be
                                                                                                                         effectively quantified and the staff use to sometimes record a volume of “0” m3 discharged
                                                                                                                         overboard. As a corrective action, the RWO will be decommissioned, taken out from the
                                                                                                                         IOPPC, and dismantled. The ship has in place a working Marincfloc OWS. A new OWS will
                                                                                                                         be installed to replace the RWO. CCL will also check with the other 2 vessels that have the
                                                                                                                         RWO installed and the same corrective action will be applied across the different ships.
          51.          Carnival Elation*      ECP Section        The Ventilation Officer does not maintain an Ozone The ODS log is maintained as required by Panama Flag. Please see attached email sent by the               Complete
                         (02.19.2019)          VIII B.2.s        Depleting Substances Log as required by flag. This      ship. The ODS log is maintained by the ship as required by Panama Flag. Please see attached
                                                                 ship carries ozone depleting substance (ODS). 9.5 k email sent by the ship.
                                                                 g R‐22 for four onboard icemakers.
          52.         Diamond Princess*       ECP Section        The vessel is controlling portable pumps & hoses to     Root Cause Analysis indicated ECP language is open to interpretation - discussion are ongoing        In Progress
                         (02.22.2019)           IX.B.1           mitigate vulnerabilities identified in the original     with the CAM on the matter of the ECS and the number of seals and control of portable pumps
                                                                 Vulnerabilities Assessment. The ECP only                in the context of the ECS. There is general agreement that the number of seals should be
                                                                 authorizes the use of “seals, locks, or welds”, it does reduced to be more manageable. Revise the ECP to clarify the use of virtual locks and control
                                                                 not authorize the use of a virtual lock system, such    of portable pumps in context to the ECS. Ship visits are underway, and vulnerability
                                                                 as controlling portable pump accessibility.             assessments are being updated, resulting in a reduction of the number of
                                                                                                                         flanges/connections/etc. requiring seals. ECP description of the ECS and the related VA are
                                                                                                                         subject to discussion between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                         the ECS is an important topic in these discussions. Pending resolution of that discussion
                                                                                                                         preventive action to be updated and addressed.
          53.         Diamond Princess*       ECP Section        The hatch on top of the food waste tanks (A & B)        Root Cause Analysis indicated variability during early implementation of vulnerability               In Progress
                         (02.22.2019)          VIII.B.2.h        not identified as a vulnerability.                      assessments lead to a vessel not recognizing the food waste tank hatch as a vulnerability.
                                                                                                                         Corrected while inspectors were still onboard: it is now identified and secured. The VA is
                                                                                                                         subject to discussion between the CAM and CCM. Technical Department is actively visiting
                                                                                                                         fleet vessels to update their vulnerability assessments based on these discussions and nearly
                                                                                                                         two years of the implementation of the ECP.
          54.         Diamond Princess*       ECP Section        Checklist, diagrams and instructions (Hess‐TEC          Root Cause Analysis indicated failure of document control. Corrected while inspectors were           In Progress
                         (02.22.2019)          VIII.B.2.t        1402) not posted in Bunker Station and/or is out of     still onboard: created and posted. Submit document revision suggestion to ENV-1008-A1
                                                                 date.                                                   directing EO to verify most current bunker checklist is utilized and drawing, diagrams,
                                                                                                                         checklist, etc are posted in bunker break.
          55.          Regal Princess*     Section: ECP VIII     In reviewing the Ballast Water Management Plan,         Root Cause Analysis indicated oversight - Ballast Water Management Plan had been                     Complete
                        (02.24.2019)             B.2.w           the plan contained out of date information about the    submitted to Class with incorrect type details and capacity of the Ballast Water Treatment
                                                                 ballast water treatment system that was recently        System. Re-submit the Ballast Water Management Plan with correct type details and capacity.
                                                                 installed.                                              Class advised that the changes can be made onboard by a competent person. Ballast Water
                                                                                                                         Management Plans will be reviewed by Environmental Operations in tandem with Technical
                                                                                                                         Operations prior to submittal for Class approval.
          56.          Regal Princess*     Section: ECP VIII     During the audit of the Food Waste disposal,            Root Cause Analysis indicated Cambros were taken into the Vegetable Preparation pot wash             Complete
                        (02.24.2019)             B.2.g           specifically the Vegetable Prep area, it was            pulper area for cleaning following the vessel’s call in Princess Cays. Prior to this, the area and
                                                                 witnessed that there was wax paper present in the       pulper were thoroughly cleaned and verified by the Chief Steward. After which the area was
                                                                 pulper.                                                 not used until the cleaning of the cambros from Princess Cays, so the belief is that the wax
                                                                                                                         paper can only have inadvertently came from these. Inadequate screening of waste sent to
                                                                                                                         pulper allowed wax paper to pass. Enhanced training and supervision to ensure any items
                                                                                                                         cleaned in this area are checked prior to cleaning, and maintain the practice of the Chief
                                                                                                                         Steward checking the area during and after the operation. Additional supervision is now in

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                                                                                                                                                                                                                                     Plan
                                                                                                                          place following calls to Princess Cays, and igloos & cambros are inspected prior to cleaning to
                                                                                                                          ensure they contain no foreign matter.
          57.          Regal Princess*     ECP Section: ECP     Used pyrotechnics were found in the cold storage          Root Cause Analysis indicated GMP does not specify instructions for handling/waste disposal        In Progress
                        (02.24.2019)         VIII B.2.j.xi      locker of the garbage handling area that were not         of “used” pyro. Used pyro does not pose a risk when materials have been spent. Prior to the
                                                                properly stored as per garbage management plan.           audit, the vessel had correctly stored the spent pyro within the Recycling Center. During the
                                                                                                                          audit, the spent pyro was transported to the Hazardous Waste Locker when highlighted by the
                                                                                                                          TPA. Vessel submitted MSDS to shore verifying spent pyro poses no risk and as such does
                                                                                                                          not meet the requirements for waste disposal storage via the Hazardous Waste Locker. Please
                                                                                                                          see MSDS Section 13 – Disposal Considerations and MSDS Section 7 – Handling and
                                                                                                                          Storage. Vessel to transport spent pyro to the Recycling Center for waste disposal. Reminder
                                                                                                                          to HA Group EOs on the GMP process for spent pyro during the bi-monthly call. GMP
                                                                                                                          document revision suggestion to include the waste disposal requirements of spent pyro.
          58.          Regal Princess*        ECP Section:      The ship is controlling portable pumps & hoses to         Root Cause Analysis indicated ECP language is open to interpretation - discussion are ongoing      In Progress
                        (02.24.2019)            IX.B.1          mitigate vulnerabilities of oily waste disposal           with the CAM on the matter of the ECS and the number of seals and control of portable pumps
                                                                identified in the initial assessment done for the ship.   in the context of the ECS. There is general agreement that the number of seals should be
                                                                The ECP authorizes the use of “seals, locks or            reduced to be more manageable. Revise the ECP to clarify the use of virtual locks and control
                                                                welds”, it does not authorize the use of a virtual        of portable pumps in context to the ECS. Ship visits are underway, and vulnerability
                                                                locks that control portable pump usage.                   assessments are being updated, resulting in a reduction of the number of
                                                                                                                          flanges/connections/etc. requiring seals. ECP description of the ECS and the related VA are
                                                                                                                          subject to discussion between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                          the ECS is a significant topic in these discussions. Pending resolution of that discussion
                                                                                                                          preventive action to be updated and addressed.
          59.             Maasdam*            ECP Section       Training Records not being maintained as per HESS         Root Cause Analysis indicated a TRG 2302 signature sheet, although completed, was being            In Progress
                         (03.02.2019)          VIII.B.2.n       Policies ENV‐1008 2.4.1.5:                                kept in the Human Resource Office instead of in the Environmental Office. This was an
                                                                - Environmental training sign‐in sheets for TRG‐          oversight following the recent change of both Human Resource Manager (HRM) and
                                                                2302 not maintained or reviewed by Environmental          Environmental Officer (EO) at the same time. This was corrected immediately with the
                                                                Officer prior to handing over to HR Department.           issuance and retention of all TRG’s discussed by both HRM and EO going forward. A TRG
                                                                - The crew embarkation dates and training due dates       signature sheet was found with incorrect embarkation and due dates. This was an oversight at
                                                                on Environmental Training sign‐in sheets are              the time and was discussed as per #1. The shipboard process has been modified as follows:
                                                                incorrect.                                                Human Resources Clerk prepares correct rosters prior to the start of each course. Persons
                                                                                                                          conducting the training (EO or supervisor) review the rosters to ensure that each attendee signs
                                                                                                                          and dates the roster. EO reviews the completed rosters to ensure they have been filled out
                                                                                                                          correctly. EO scans the roster and sends it to the HR clerk. The EO maintains the original
                                                                                                                          roster. Human Resources Clerk uploads the training data from the roster into MAPS. The
                                                                                                                          corrective action applied above will prevent this kind of finding again. This process will be
                                                                                                                          included in the handover notes for each of the participants in this process (HAL fleet only).
          60.             Maasdam*            ECP Section       Entries in the Deck Log (Napa) not in compliance          Root Cause Analysis indicated for each of these logbook entries noted in the audit finding, all    Complete
                         (03.02.2019)          VIII.B.2.i       with ENV‐1002 30                                          overboard were closed and logged correctly, however, there was a failure to make an entry in
                                                                - Minute notice to arrival in an environment zone not     the logbook when the vessel actually crossed into the environmental zone. Clerical errors that
                                                                being properly logged.                                    were not caught during a daily review of logbooks. A meeting was held with all deck officers,
                                                                - Entries for crossing into or out of environment         and ENV 1002 was discussed at length to prevent missing logbook entries in the future. Staff
                                                                zones not being properly log.                             Captain will review the logbook regularly to confirm that entries are being made per ENV
                                                                                                                          1002 – there have been several such reviews since the audit and all entries are following ENV
                                                                                                                          1002.



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                                                                                                                                                                                                                                       Plan
          61.             Maasdam*           ECP Section:        In reviewing Global HESS ‐ ENV‐1008‐A1                    Root Cause Analysis indicated inadequate document control ENV-1008-A1; EO continued use            In Progress
                         (03.02.2019)       VIII.B.2.i.xvi &     (Environmental Officer Weekly Report) the                 of old form without change to updated form. With respect to missing signatures recipient of
                                               ECN #20           following was found:                                      the form (Captain) did not assure reports were properly signed by EO and CE. EO to be added
                                                                 - Missing Chief Engineer’s signature on report dated      as Primary Owner in the GHESS for ENV-1008-A1 (e-form): maintaining the document
                                                                 12 Nov 2018.                                              electronically in the GHESS ensures the use of most up-to-date form. Remind EOs of the
                                                                 - Missing Environmental Officer’s signature on            importance of document control, to be discussed during bi-monthly EO calls, that includes the
                                                                 reports dated 1 and 8 October 2018.                       use of the e-form. Please find attached last one month of Weekly compliance report which is a
                                                                 - Old version of form being used from August 2018         correct form, corrective action was already taken. During the EO conference for March 2019,
                                                                 to 21 Oct 2018.                                           EOs were reminded that they must Print forms from GHESSMS each time to assure most
                                                                                                                           current version is used.
                                                                                                                           This form will be deployed through E-forms and populated/signed-off electronically. The
                                                                                                                           system will flag when signatures are missing.
          62.             Maasdam*            ECP Section        The semi‐annual inspection for the Oil Spill              Root Cause Analysis disarray of supplies is directly related to the lack of equipment checklist.   In Progress
                         (03.02.2019)          VIII.B.2.u        Equipment, per EMR‐1801, was completed during             In Fall 2018 Carnival Corp mandated the OLs follow their SOPEP template to align all OLs
                                                                 August 2018, however, the Oil Spill Equipment and         SOPEP templates. The approval by Class is a time and labor-intensive process. Task
                                                                 Supplies in Bunker Stations were found in disarray,       Manager in GHESS indicates the EO is responsible for the semi-annual check of SOPEP
                                                                 and no equipment checklist was present or readily         equipment. This contradicts the AMOS job order, which places the responsibility of the
                                                                 available to crew. Additionally, Class Approved           Safety Officer. All HAL and SBN vessels have had new SOPEP’s assembled for them.
                                                                 SOPEP does not have a list of equipment as required       However, they are currently w/ Class for review and approval. The discrepancies noted in the
                                                                 in EMR‐1081.                                              finding will be resolved by this new SOPEP - the checklist is included. Organize and verify
                                                                                                                           all Oil Spill Equipment and Supplies. Align SOPEP equipment inspection responsibilities
                                                                                                                           between GHESS Task Manager and AMOS.
          63.             Maasdam*            ECP Section:       The ship is controlling portable pumps & hoses to         Root Cause Analysis, along with Corrective and Preventive Actions, will be reported within         In Progress
                         (03.02.2019)           IX.B.1           mitigate vulnerabilities identified in the original       the next quarterly submission.
                                                                 Vulnerabilities Assessment. The ECP only
                                                                 authorizes the use of “seals, locks, or welds”, it does
                                                                 not authorize the use of a virtual lock system, such
                                                                 as controlling portable pump accessibility.
          64.             Maasdam*            ECP Section:       Identified two (2) marked vulnerabilities in a section    Root Cause Analysis indicated the Environmental Control System can be complicated at               In Progress
                         (03.02.2019)          VIII.B.2.r        of permeate / technical water discharge piping            times, and we currently have no control system in place that double checks any changes made
                                                                 (#290.1 & #290.2) that are not sealed.                    by the vessel (this will change with the planned publication of ENV-1204 revision this month
                                                                                                                           that does include any changes to be reviewed and signed off on). #290.1; #290.2 were
                                                                                                                           correctly identified in the original VA, but the vessel removed the controls on the
                                                                                                                           vulnerabilities and the VA/ENV-1204A1 as there was a non-return valve fitted in the
                                                                                                                           overboard line that would physically prevent any overboard discharges. The ECP requires
                                                                                                                           each open-ended blank flange and/or plugged fitting located on overboard piping must be
                                                                                                                           controlled by locks, seals or welds, regardless if there are non-return valve fitted or not.
                                                                                                                           290.1/2 items connected to 334 are condensed already to a new Vulnerability in Fwd Sewage
                                                                                                                           room (was old permeate line to technical water, but had non return valve still installed).
                                                                                                                           Completed and updated Vulnerability list to be sent. ENV-1204-A1 is being updated to an
                                                                                                                           excel spreadsheet that will make the Critical Valves, Fittings, Tank Hatches List, Lock Log,
                                                                                                                           and Seal Log a greater tool for updating and tracking for the EOs use in their weekly checks.
          65.             Maasdam*            ECP Section        A small pump and hoses stowed near reverse                Root Cause Analysis indicated a difference in interpretation of the ECP: this was not noted        In Progress
                         (03.02.2019)          VIII.B.2.h        osmosis system that is used for cleaning filters, is      during the initial vulnerability assessment. Locked pump. Correction made during the audit.
                                                                 not properly being controlled in accordance with          ECP description of the ECS and the related VA are subject to discussion between the CAM
                                                                 ECN 01‐2019.                                              and CCM. Control of portable pumps as an aspect of the ECS is an essential topic in these

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                                                                                                                                                                                                                                   Plan
                                                                                                                        discussions. Pending resolution of that discussion preventive action to be updated and
                                                                                                                        addressed.
          66.             Maasdam*            ECP Section:       Engineering Planned Maintenance Entry’s into           Root Cause Analysis indicated the EO is still using the old component unit when opening the        Complete
                         (03.02.2019)          VIII.B.2.f        AMOS for inspection, servicing or maintenance of       BCDB (ENV039) while, our engineers are using the new one for maintenance. AMOS
                                                                 the BCDB (White Box) are being entered under an        Support to bring ENV 039 job to INS.050.015.0001 BCDB new component (old
                                                                 old component number that does not map over with       807.695.001.0001). AMOS Technical Data Control: moved all the reported work order made
                                                                 the new component numbers currently used in            be EO to the new component unit and scrapped the old component. AMOS Technical Data
                                                                 AMOS.                                                  Control to verify rectified across fleet.
          67.             Maasdam*            ECP Section:       Checklist, diagrams and instructions (HESS‐TEC         Root Cause Analysis indicated lack of oversight. Officer in charge of bunkering did not            In Progress
                         (03.02.2019)          VIII.B.2.t        1402) not posted in Bunker Station and/or out of       confirm the latest version of the bunker plan was posted. Also not picked up by the EO during
                                                                 date.                                                  the inspection of records. Update board with new sludge discharge instruction and Hess 1402
                                                                 The sludge discharge line connection is outside the    is printed during bunkering (to always have the most up to date version with us) removed the
                                                                 primary containment box                                old ones hanging in bunker breaks. Done by Monday. (Drws are hanging just outside Bunker
                                                                                                                        break across Shore connection cabinets, and no comments were received on that part). We
                                                                                                                        will make sludge connection, was at the edge of the containment tray. Done by Monday.
                                                                                                                        ModProp to include statement/question “all updated drawings to be provided to the vessel and
                                                                                                                        superseded versions confirmed replaced.”
          68.             Maasdam*            ECP Section        Fuel Oil Bunker Checklist are missing or have          Root Cause Analysis indicated administration tasks were completed after the tasks themselves       In Progress
                         (03.02.2019)          VIII.B.2.t        incorrect times.                                       due to high workload. This caused an opportunity for errors in returning to the administrative
                                                                 Fuel Oil Bunker Plans amounts retained or loaded in    duties after the fact. 1/26 I added wrong time in Ready to bunker box for HFO and consider it
                                                                 tanks, do not match Oil Record Book entries or         corrected. Fuel oil pre bunker plan final amount is now also ORB entry figure and correctly
                                                                 Bunker notes.                                          done during yesterday’s bunkering, but this is not always the same as the final receipt amount
                                                                 Lube Oil Bunker Checklist are missing or have          (bunker notes). L/O bunker 1/26 I added wrong ready to bunker time and consider it
                                                                 incorrect times.                                       corrected. They did inform me at the correct time before bunkering started and I gave
                                                                                                                        permission at the right time, so procedures were followed correctly only clerical mistake
                                                                                                                        made. VP Technical to determine if fleet-wide guidance on bunkering as optional to be
                                                                                                                        Yellow-Manning is to be the standard going forward.
          69.         Majestic Princess*    ECP Section VIII     There are approximately 100 liters of barbicide that   Root Cause Analysis indicated an investigation in progress. The investigation commenced            In Progress
                        (03.28.2019)          B.2.j.xviii        are unaccounted for. Between 28 October 2018 and       Monday, April 15th. Sr Mgr, Maritime Investigation, to submit a report once the investigation
                                                                 30 March 2019 there were not any records of            is completed. Preventive Action Plan is dependent on the outcome of the Investigation Report.
                                                                 barbicide being removed from the spa - to the
                                                                 garbage handling room for disposal.
          70.         Majestic Princess*    ECP Section VIII     Used barbicide container in the spa is not labeled.    Root Cause Analysis indicated a failure to follow GMP requirement for labeling of all waste        In Progress
                        (03.28.2019)          B.2.j.xviii                                                               containers. Confirm with EO to verify proper waste accumulation practices are established as
                                                                                                                        per GMP. One Spa world will reiterate the proper waste accumulation practice to the onboard
                                                                                                                        Spa operation, Trevor Flynn to include in his non-conformance communication to the fleet.
          71.         Majestic Princess*    ECP Section VIII     The cotton swab hazardous waste receptacle in the      Root Cause Analysis indicated unclear and/or out-of-date waste characterization: incomplete        In Progress
                        (03.28.2019)          B.2.j.xviii        print shop is missing the hazardous waste label.       GMP with respect to this waste stream resulting in inadequate instruction for waste
                                                                                                                        accumulation in this area. The hazardous waste label has been applied to the receptacle.
                                                                                                                        Message sent to the Fleet to ensure the receptacle in all Print Shop is correctly labeled with a
                                                                                                                        hazardous waste label. Recharacterize this waste stream based on ink/solvent constituents.
                                                                                                                        Update GMP as appropriate per the revised waste recharacterization and follow waste
                                                                                                                        accumulation practices in the revised GMP. Message (similar to Corrective Action message to
                                                                                                                        PCL fleet) to be sent to remainder HA Group fleet.
          72.         Majestic Princess*    ECP Section VIII     There are two 20 liter pails of a chemical cleaner     Root Cause Analysis indicated the Metal Brite was not planned for offload before the 1st of        In Progress
                        (03.28.2019)            B.2.j.iii        Metal Bright in the hazardous waste locker. The        October 2018. The delay in the offloading could be due to the itinerary (Asia-Australasia),

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                                                                                                                                                                                                                                Plan
                                                                Metal Bright cleaner is not on the approved list of       which made it challenging to meet the dateline dictated by ECN/21/2018. Anyway, I was not
                                                                chemicals to be used on board the vessel.                 on board at that time. Nevertheless, the vessel had previously isolated the chemical in the
                                                                                                                          Hazardous waste locker and quarantined away from deck/hull approved cleaning chemical,
                                                                                                                          waiting to be offloaded and has never been used as a Deck /Hull Cleaner. Also, ECN the 21st
                                                                                                                          of August 2018, stated “Use of Company-approved spot cleaners(Never Specified which are
                                                                                                                          approved Spot cleaners) were not subject to this procedure. These products may be used on
                                                                                                                          open deck areas ONLY if they are immediately polished, wiped off and/or allowed to air dry,
                                                                                                                          and are used in such a way that there is no chance of the product/ residue reaching open deck
                                                                                                                          scuppers and drains”. The full pail of unapproved chemicals was offloaded on
                                                                                                                          02/APRIL/2019 in the port of Darwin. A discussion was carried out with the personnel
                                                                                                                          involved to reiterate the importance of procedure ENV-1103 and proper use of chemicals with
                                                                                                                          the regards of the environmental protection. Metal Brite has been removed from Amos, so it
                                                                                                                          cannot be ordered again. A survey was carried out on the vessel to ensure no additional
                                                                                                                          unauthorized chemicals are kept onboard. EVP of Fleet Ops directive: survey and remove all
                                                                                                                          MetalBright found onboard before end of April for all HA Group fleet.
          73.         Majestic Princess*      ECP Section       The ship is controlling portable pumps & hoses to         Root Cause Analysis indicated ECP language is open to interpretation - discussion are ongoing In Progress
                        (03.28.2019)            IX.B.1          mitigate vulnerabilities of oily waste disposal           with the CAM on the matter of the ECS and the number of seals and control of portable pumps
                                                                identified in the initial assessment done for the ship.   in the context of the ECS. There is general agreement that the number of seals should be
                                                                The ECP authorizes the use of “seals, locks or            reduced to be more manageable. Revise the ECP to clarify the use of virtual locks and control
                                                                welds”, it does not authorize the use of a virtual        of portable pumps in context to the ECS. Ship visits are underway, and vulnerability
                                                                locks that control portable pump usage.                   assessments are being updated, resulting in a reduction of the number of
                                                                                                                          flanges/connections/etc requiring seals. ECP description of the ECS and the related VA are
                                                                                                                          subject to discussion between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                          the ECS is an important topic in these discussions. Pending resolution of that discussion
                                                                                                                          preventive action to be updated and addressed.
          74.         Majestic Princess*      ECP Section       An inventory of ECS Seals revealed that eleven (11)       The Root Cause Analysis indicated investigation in progress. An investigation commenced       In Progress
                        (03.28.2019)            IX.B.4          “TMS ECS Paper Seals” used on the sample lines of         Monday, April 15th. Sr Mgr, Maritime Investigation, to submit a report once the investigation
                                                                the COWS were not properly accounted for when             is completed. Preventive Action Plan is dependent on the outcome of the Investigation Report.
                                                                they were removed for maintenance. The used seals
                                                                were not properly returned to the C/E for storage.
                                                                Entries were not made in the ECS log for
                                                                replacement of seals on dates the maintenance was
                                                                performed.




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                      (Audit Date)                                                                                                                                                                                    & Preventive Action
                                                                                                                                                                                                                               Plan
     1.               Shore - ABG              ECP Section       With reference to the document HESS‐MAHMP‐               Root Cause Analysis indicted no formal procedure with regard to timelines for reporting.    In Progress
                      (08.18.2017)           III.B.1.; HESS:     1302‐A1 Internal Investigations Matrix,                  RAAS will update HMP 1303 to define O/L progress report frequency based on the
                                             HMP‐1302‐A1         investigations of severity level 4 are led by            investigation complexity (severity 1 through 4). Updated frequency will be provided and
                                                                 independent RAAS investigators, while severity           defined by three steps: 1. Evidence Gathering; 2. Analysis; and 3. Reporting. VP of RAAS
                                                                 level 3 investigations are generally Operating Line      will provide updates of all severity 3 and 4 investigations during quarterly EVP meeting.
                                                                 led investigations with RAAS providing independent
                                                                 assurance. Although the sampled investigations
                                                                 were found to be carried out in compliance with the
                                                                 internal policies and procedures, relying on
                                                                 investigators as employees of the company’s
                                                                 Operating Line seems to be a determinant cause of
                                                                 delay in the completion of multiple investigations.
                                                                 No timeline for investigation completion has been
                                                                 defined in the internal procedure but the status‐quo
                                                                 could potentially lead to a conflict of interest and
                                                                 affect the “independence” requirement. RAAS (Risk
                                                                 Advisory and Assurance) is an independent
                                                                 department which reports directly to Carnival
                                                                 Corporation’s Board of Directors. The following
                                                                 RAAS department personnel have been interviewed:
                                                                 Chief Audit Officer, Vice President, Investigations
                                                                 Director, and ABG Hess Audit and QA Director.
                                                                 Awareness and high level of commitment toward the
                                                                 ECP were evident for each interviewee. The
                                                                 procedures and policies followed with regard to
                                                                 audits and investigations were explained and
                                                                 sampled to verify the compliance with the ECP
                                                                 requirements. RAAS is constantly in contact with
                                                                 the MP&A department to review procedures and
                                                                 policies as results of audit finding and investigation
                                                                 results. Audit and QA department: In 2013 the
                                                                 RAAS auditing branch’s structure has been
                                                                 completely revised. Since then, teams of
                                                                 independent auditors reporting to RAAS were
                                                                 established and are currently present at each
                                                                 Operating Line. Audits and follow‐up visits are
                                                                 carried out on each vessel to ensure compliance with
                                                                 international regulations and internal processes and
                                                                 procedures. Each Operating Line has an ISO 14001
                                                                 certified EMS (Environmental Management System)
                                                                 which is audited as required by the international
                                                                 regulations. The January 2017 quarterly review
                                                                 report was provided and HESS audit results
                                                                 presented including trend analysis for each operating
                                                                 line and across the fleets with regard to
                                                                 Environmental findings. Investigation department:
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                      (Audit Date)                                                                                                                                                                                      & Preventive Action
                                                                                                                                                                                                                                Plan
                                                                The company’s internal procedures and policies for
                                                                investigations on vessel casualties, oil pollution
                                                                incidents, and open report reports were presented
                                                                and reviewed. Investigations on Environmental, as
                                                                well as Health Safety and Security, incidents are
                                                                carried out in accordance with the internal procedure
                                                                HMP 1303 – Event Investigation and the relevant
                                                                Internal Investigation Matrix which defines 4
                                                                severity levels.
     2.               Caribbean Princess      ECP Section       During the test of the RWO Static OWS, the               Root Cause Analysis indicated back pressure was too high on the discharge side of OWS.         In Progress
                      (02.06.2018)             VIII.B.2.d       quantity of water processed from the clean bilge tank    BCDB supplier arranged to check proper flow is established. Discharge pipework from OWS
                                                                was only 1.8 m3/hr. This was due to the fact that        is also being checked for blockages. Bilge system upgrades will be undertaken to change
                                                                during operation, a certain amount of the RWO            material and size of discharge pipework.
                                                                OWS effluent must be recirculated back to the clean
                                                                water bilge tank through a manual recirculation line.
                                                                The RWO Static OWS operates as designed and
                                                                meets the requirements of MARPOL and ECP, but it
                                                                will not operate at the rated capacity of 5 m3/hr.

     3.               CSMART                      N/A           Though not a prerequisite, pre‐reading for the course    Only pre-reading reference in LMS is to the EO1 Communications Reference Guide EO1             In Progress
                      (08.24.2018)                              was only completed by 2 out of 12 students.              Train the Trainer section. Revisit “Welcome to the Environmental Officer Course Phase II”
                                                                Information gathered for EO’s use should find a          page on the LMS. Recommend ongoing information provided by CSMART should be hosted
                                                                common platform for distribution. Recommend              on Carnival Corp Platforms for distribution to EO’s and available throughout the year. EOs
                                                                ongoing information provided by CSMART should            now have access to the Environmental HUB Discussion Forum. Use of Hub to be further
                                                                be hosted on Carnival Corp platforms for                 promoted by CSMART, OLTMs & ABG team. Participants who do the self-study are well
                                                                distribution to EO’s and available throughout the        prepared and help us keep to program running time. Make pre-reading a prerequisite. ABG
                                                                year                                                     team to progress efforts towards a 365 CPD learning and competency checking system for
                                                                                                                         EOs in order to assist both EOs development & OLTMs oversight throughout the 51 weeks
                                                                                                                         between CSMART efforts. Plus, allow value feedback on participant strengths and where to
                                                                                                                         improve in order to best direct CSMART efforts each year. HESS-MS and associated ECP &
                                                                                                                         ENV literature are already circulated on a CC platform and available whenever an EO is on a
                                                                                                                         tour.
     4.               Carnival Fantasy        ECP Section       It was observed that there are no markings to            Root Cause Analysis indicated the procedure in place is not effective and does not stipulate   In Progress
                      (09.16.2018)             VIII.B.2.h       visually indicate the locations of the vulnerabilities   that markings are mandatory. The ECS working group created to streamline ECS
                                                                that are controlled under the ECS making locating        implementation and record keeping. ENV 1204 will be revised to reflect mandatory marking
                                                                the vulnerability for weekly verification more           requirements. Once ENV 1204 is revised, a team from environmental operations will go
                                                                difficult – especially for a crew member that is new     onboard and ensure standard implementation of the procedures.
                                                                to the vessel. There are no requirements for the
                                                                locations to be marked in either the ECP or the
                                                                HESS. However, as some seals are in locations that
                                                                are not readily visible, the addition of some
                                                                markings that allow the crew to easily identify the
                                                                location of the sealed vulnerability should be
                                                                considered. Other vessels that have been audited are
                                                                utilizing a numbered bullseye painted near the
                                                                vulnerability. On those vessels, the number
                                                                corresponds to the number in the Vulnerability
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                      (Audit Date)                                                                                                                                                                                           & Preventive Action
                                                                                                                                                                                                                                     Plan
                                                                Assessment and listed in the Critical Valves,
                                                                Fittings, and Tank Hatches List, Lock Log, and Seal
                                                                Log.
     5.               Shore - Carnival        ECP Section:      The Annual HESS Management Review (shore side)            CCL will revise the annual HESS Management Review (shore side) and Monthly HESS                    In Progress
                      Cruise Line             Attachment 2      and Monthly HESS Steering Committee report                Steering Committee report (vessel) to include ECP or environmental elements.
                      (10.02.2018)                              (vessel) are lacking ECP or environmental elements.
     6.               Shore - Carnival        ECP Section:      The Exception Request procedure “INT 1004 ‐               The Exception requests procedure will be evaluated to include procedures to address                In Progress
                      Cruise Line             Attachment 2      Exception Request” lacks tracking requirements. It        expiration or extension dates and will address how continual non‐compliance is to be managed
                      (10.02.2018)                              does not included procedures to address expiration        or tracked. A new system is being evaluated.
                                                                or extension dates nor does it address how continual
                                                                non‐compliance is to be managed or tracked.
     7.               Ventura                 ECP Section       During interviews several of the senior officers, Staff   Root Cause Analysis indicated no current policy requiring the crew to review regulation            In Progress
                      (10.24.2018)             III.A.14         Captain, Staff Engineer and EO stated that the            updates while on leave; therefore, there is no system allowing this to happen. Consider
                                                                number of Global Hess updates to read upon                introducing a system allowing officers on leave to access GHESS updates.
                                                                returning to the ship (new contract) can be very
                                                                challenging and that it would be nice if they had
                                                                access to the updates from their home computers
                                                                prior to returning to the ship.
     8.               Ventura                 ECP Section       The ECP training report (MISTRAL) for the period          Root Cause Analysis, along with Corrective and Preventive Actions, will be reported on             In Progress
                      (10.24.2018)             VIII.B.2.n       1 July 2018 to 27 September 2018 has an additional        within the next quarterly submission.
                                                                forty one (41) names not on the previous gap report
                                                                for the same timeframe. This requires the EO to
                                                                verify the training by crosschecking paper records,
                                                                which is time consuming.
     9.               Ruby Princess        ECP Section IX.G     The recent relocation of the White Box has altered        Root Cause Analysis indicated class approved Bilge Water Management Manual (BWMM)                  In Progress
                      (10.31.2018)                              the pressure requirements for the Oily Bilge Water        demonstrates the Centrifugal Oil Water Separator (COWS) should be used for internal
                                                                Treatment system. The new operating procedure             transfers. The only time the COWS will be used overboard will be during the monthly, annual
                                                                suggested by the manufacturer’s representative is to      test, an audit, and during an emergency due to the failure of the Static Oily water Separator
                                                                adjust the settings of the pressure regulating valve      (SOWS). Adjustments will be carried out only during these four occasions. In all of these
                                                                located inside the White Box before operating the         cases, authorized access will be granted to the Bilge Discharge Control Box (BCDB) in the
                                                                system. This requires routine access to, and              presence of the Environmental Officer, Chief Engineer, Company Representative and/or
                                                                adjustment of, the pressure regulator located in the      auditor under video surveillance. Control keys are required to access the (BCDB). In any of
                                                                White Box, increasing the risk of unauthorized            these cases, the OLCM will be notified of the COWS Test.
                                                                access and improper operation.
     10.              Carnival Horizon        ECP Section       Global HESS procedure OHS‐1302‐ (Contractor or            Root Cause Analysis indicated a lack of oversight. ABG is developing a standardized                In Progress
                      (11.03.2018)             VIII.B.2.q       Third Party Personnel) should be reviewed for             approach (procedure) for contractor training. Once this procedure is rolled out, it will be
                                                                clarity on how environmental awareness should be          implemented fleet wide.
                                                                addressed in this procedure to meet ECP
                                                                requirements.
     11.              Carnival Elation     ECP Section V.B.3    ECP critical spare parts are not segregated in storage    Root Cause Analysis indicated no existing procedure requiring the ships to segregate ECP           In Progress
                      (12.16.2018)                              from routine engineering spare parts.                     critical spare parts from regular spare parts. CCL Shoreside Technical Department is to
                                                                                                                          evaluate the possibility of having the ships store the ECP critical spare parts separately given
                                                                                                                          the space restrictions onboard. Once this evaluation is complete, ships will be instructed
                                                                                                                          accordingly. A suggestion to ABG is to include this requirement in the HESS procedure ENV
                                                                                                                          1201.


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                                                                                                                                                                                                                                       Plan
     12.              Carnival Elation            N/A            During the interviews, the crew stated they are          OLCM will be sending out a written communication and a video message to the fleet to                In Progress
                      (12.16.2018)                               scared to make a mistake out of fear of getting fired.   highlight the company’s just culture and to reinforce blame culture will not be tolerated.
     13.              Sun Princess            ECP Section        HESS Policy ENV‐1204 Environmental Control               Root Cause Analysis indicated ENV-1204 does not provide guidance on maintaining a Master            In Progress
                      (01.08.2019)              IX.B.1           Systems does not require a “Master” list of current      Seal List. Environmental Officers were resourceful and created a list to make their required
                                                                 Seals or Locks in place. The policy only provides        weekly job of checking the seals easier. This observation requests we amend G-HESS to
                                                                 instructions and forms for when Seals are changed,       provide guidance to Environmental Officers for maintaining a separate Master Seal List.
                                                                 or Locks are opened. A separate uncontrolled             Presently, the Company is working with the CAM and ABSG to amend ECS guidance within
                                                                 Master Seal List is being maintained in spread sheet     the ECP. Address maintaining a separate Master Seal List by submitting a revision suggestion
                                                                 format for EO use.                                       to ENV-1204. Publish revised procedure in the G-HESS.
     14.              Sun Princess            ECP Section        Errors were noted on the following MARPOL                Root Cause Analysis indicated in 2016 a 1.4 M3 tank was removed which should have                   In Progress
                      (01.08.2019)             VIII.B.2.y        Certificates:                                            reduced the capacity from 131.4 to 130. The IOPP was incorrectly updated. The only way to
                                                                  The total capacity listed on the International Oil     prevent this is to double check the certificates when they are prepared by Lloyd’s surveyor.
                                                                 Pollution Prevention Certificate does not match the      Completed the replacement of Freon R22 to R438a on December 14, 2018. The TPA’s visit
                                                                 sum of the individual tank capacities.                   was on January 8, 2019. The Chief Engineer contacted Lloyd’s to update two certificates.
                                                                  The Record of Equipment for the International Air      One of these is the “Air Pollution Prevention Certificate,” Certificate No: MEL1601144,
                                                                 Pollution Prevention Certificate lists multiple          issued on November 16, 2016, and valid until November 29, 2020. Equipment 2.1.2 needs to
                                                                 systems that utilize R‐22 as a refrigerant. All the      be changed from R-22 to R438a. The other is the “International Oil Pollution Prevention
                                                                 listed equipment has been removed from the vessel        Certificate,”
                                                                 or converted to the use of other non‐ozone depleting     Certificate No: MEL1701145, issued on November 20, 2017, and valid until November 29,
                                                                 substances                                               2020. 3.3: the total volume of the holding tanks for the retention of oily bilge water is wrong.
                                                                                                                          It should be 130 metric cubes instead of 68.8 metric cubes. The updating of certificates should
                                                                                                                          be included in the work description to prevent this from happening again when projects take
                                                                                                                          place. A reminder could be included in the set-up of the new Modprop software as part of the
                                                                                                                          approval criteria for a modification.
     15.              Carnival Vista          ECP Section        The plastic drums located in the garbage room            Root Cause Analysis indicated no formal procedure or guidelines exist for this collection           In Progress
                      (01.11.2019)            VIII.B.2.j.iii     intended to collect and store the spent hazardous        process. Placed secondary containment for the drum collecting the used HB quat. Made a
                                                                 liquids were found without means of containment.         spill kit available by the area. Environmental operations to discuss with housekeeping shore
                                                                 During the course of the audit, housekeeping             side department the process in place to collect spent HB quat and come up with formal written
                                                                 personnel was noted pouring used product from            guidance to be included in the garbage management plan. The formal written guidance shall
                                                                 working bins into drums without using any spill          include instructions for proper storage and spill prevention methods.
                                                                 prevention means.
     16.              Carnival Vista          ECP Section        Multiple crew members were not aware of the              Root Cause Analysis indicated oversight by ship staff. Sent out a reminder to all to ensure         In Progress
                      (01.11.2019)             VIII.B.2.k        section “My Primary Document Updates” to review          crew members review the procedures listed in the section “My Primary Document Updates”
                                                                 changes to and new procedures within Global HESS         within Global HESS.
                                                                 that would keep them updated on all procedures
                                                                 including Environmental.
     17.              Carnival Liberty*       ECP Section        The food waste system modification to                    Root Cause Analysis indicated ineffective follow up by the technical team. Technical                In Progress
                      (01.13.2019)             VIII.B.2.G        accommodate the installation of the Exhaust Gas          operations manager to take actions to correct the above items, including updating all the
                                                                 Cleaning System (EGCS) is no longer reflected            documentation/manuals and also dismantling all the obsolete equipment. Tom will also ensure
                                                                 properly by the onboard manual. Several pumps and        that the ship is surveyed for any other such items that may exist and take actions to correct the
                                                                 associated piping and at least one overflow tank         same.
                                                                 remain in place, but not in use. This can potentially
                                                                 create numerous vulnerability points.
     18.              Carnival Liberty*       ECP Section        HESS Policy ENV‐1204 Environmental Control               Root Cause Analysis indicated the current format of ENV 1204 log is not efficient. A cross-         In Progress
                      (01.13.2019)              IX.B.1           Systems; missing elements and clear instructions.        brand ECS working group was formed to mitigate this issue of inconsistency in the
                                                                 ENV‐1204 does not require a “Master” list of current     implementation of the ECS program. The ECS working group is responsible for standardizing

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                                                                                                                                                                                                                                     Plan
                                                                 Seals or Locks in place. The policy only provides        the procedures ENV 1203 and ENV 1204 and effective implementation of the same fleet wide
                                                                 instructions and forms for when Seals are changed,       across all the brands. In regards to this, ENV 1204 will be revised to make the logs more
                                                                 or Locks are opened. A separate Master Seal List is      efficient. Once ENV 1204 has been revised and has been implemented on the ship, the EO
                                                                 being maintained in spread sheet format which is not     and CE on board will be responsible for maintaining the standard logs.
                                                                 controlled or consistent fleet wide.
     19.              Sea Princess            ECP Section        The HESS Contractor Procedure Checklist, does not        Root Cause Analysis indicated the department heads were unaware of the retention policy.           In Progress
                      (01.14.2019)             VIII.B.2.q        have a date completion block for verification            Instructional Notice ENV/01/2019 was issued on 14 Jan 19 defining the requirements for
                                                                 purposes. Additionally, it states that the form should   contractor environmental briefing and associated record retention requirements. Development
                                                                 only be retained for one (1) month.                      and implement Operating Lines specific procedures per the IN on contractor awareness.
     20.              Sea Princess            ECP Section        HESS Policy ENV‐1204 Environmental Control               Root Cause Analysis indicated the current guidance in ENV-1204 does not say anything about         In Progress
                      (01.14.2019)              IX.B.1           Systems does not require a “Master” list of current      creating and maintaining a separate Master List that the Environmental Officers are using to
                                                                 Seals or Locks in place. The policy only provides        facilitate their required weekly check of the seals. As there is no guidance for having or not
                                                                 instructions and forms for when Seals are changed,       having a separate Master List, the Environmental Officers were resourceful and created a list
                                                                 or Locks are opened. A separate uncontrolled             to make their required weekly job of checking the seals easier. This observation is requesting
                                                                 Master Seal List is being maintained in an external      that we amend G-HESS to provide guidance to the Environmental Officers concerning
                                                                 flash drive contained in the Seal Log in word‐format     maintaining a separate Master Seal List. Presently, Carnival Corporation is working with the
                                                                 for crew use. Additionally, the policy provides no       CAM and TPA to amend the ECS guidance found in the ECP. The big issue being discussed
                                                                 guidance for the crew on updating or managing the        is the use of portable pumps to protect vulnerabilities. The issue of maintaining a separate
                                                                 vulnerability assessment and any new vulnerabilities     Master Seal List will be addressed by submitting a document revision suggestion to ENV-
                                                                 or critical fittings identified onboard the vessel.      1204 in the G-HESS. Publish revised procedure in the G-HESS.
     21.              Sea Princess                N/A            HESS TEC‐1402 – Fuel Oil Bunkering and HESS              Root Cause Analysis indicated the bunkering of lube oil is different from the bunkering of fuel    Complete
                      (01.14.2019)                               Procedures for Bunkering Sludge require the crew to      oil, and these differences were taken into account when TEC-1402 and 1420 were developed,
                                                                 complete a bunkering plan (TEC‐1402‐A1). The             so it is no surprise that these two procedures have different requirements. The biggest
                                                                 procedures in TEC‐1420 for bunkering Lube Oil do         difference is in the volumes bunkered. The quantity of lube oil to be bunkered (usually
                                                                 not require the use of a bunkering plan. The             delivered by a truck) is much less than a typical amount of fuel oil to be bunkered that comes
                                                                 bunkering procedures outlined in the two documents       by a barge. With the less volume (weight) of lube oil coming onboard, there is less concern
                                                                 are not consistent with each other.                      about the ship’s stability and hull strength to consider. A fuel oil bunkering plan allows the
                                                                                                                          stability officer to load bunkers precisely in the various fuel tanks to maintain GM and hull
                                                                                                                          strength. Usually, there are only one or two lube tanks onboard to receive lube oil, so the need
                                                                                                                          for a bunker plan is not required. The second biggest difference is the paperwork required to
                                                                                                                          document the bunkering of fuel oil. Fuel oil samples need to be taken, sealed, and kept
                                                                                                                          onboard, sent to a laboratory and exchanged with the vendor, the bunker delivery note needs to
                                                                                                                          be checked and kept onboard for five years, fuel oil may be tested onboard, and fuel oil lab
                                                                                                                          reports are to be saved; lube oil bunkering has none of these requirements.
     22.              Pacific Princess*     ECP Section VIII     Could not perform the required OWS tests during          Root Cause Analysis indicated in preparation for normal maintenance cleaning the ship had          In Progress
                      (02.19.2019)               B.2.d           the audit; upon joining the ship on 19 February,         emptied the bilge tanks without foreknowledge of the upcoming unannounced third-party
                                                                 2019 for the unannounced ECP audit the auditors          audit. ECP does not take into account the possibility that with an unannounced audit there
                                                                 were informed that the ship did not have enough oily     may not be sufficient bilge water on board to conduct the required test. The CCM will be
                                                                 bilge water on board to run the OWS units. The           arranged with the TPA an additional visit that will allow the vessel to conduct the 1-hour
                                                                 source tanks had been emptied days before the audit      demonstration. The CCM is in discussion with the CAM on the procedure necessary to follow
                                                                 to allow for the annual source tank cleaning.            in the event that testing is not feasible due to the location of the vessel or the levels of the
                                                                                                                          Bilge Holding Tanks. Preventive Action will be prescribed at the conclusion of that
                                                                                                                          discussion.
     23.              Diamond Princess*       ECP Section:       The HESS Contractor Procedure Checklist, does not        Root Cause Analysis indicated HESS Contractor Procedure Checklist did not meet the                 Complete
                      (02.22.2019)             VIII.B.2.q        have a date completion block for verification            requirements of the ECP. HA Group to modify Contractor Brochure to meet the requirements
                                                                                                                          of OHS-1302 and ENV 01/2019. Publish changes to the HA Group fleet.

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                      Location Name           ECP Section                       Final Audit Finding                                                Corrective & Preventive Action Plan                                   Status of Corrective
                      (Audit Date)                                                                                                                                                                                       & Preventive Action
                                                                                                                                                                                                                                 Plan
                                                                purposes. Additionally, it states that the form should
                                                                only be retained for 1 month.
     24.              Diamond Princess*       ECP Section       During the recent dry dock the purifier sludge          Root Cause Analysis indicated Mod Prop did not include the removal of “and associated            In Progress
                      (02.22.2019)              IX.B.1          system was removed, however two (2) unused              equipment.” Shoreside included in their approval the comments, “Once removal is completed,
                                                                pumps remain in place. Pumps should be properly         please carry out a VA to ensure that nothing is missed.” Corrected while inspectors were still
                                                                controlled or removed.                                  onboard: removed both pumps and scrapped. Technical to verify that any PCL fleet with
                                                                                                                        obsolete Purifier Sludge Systems has verified a walkthrough following the removal of said
                                                                                                                        system to include the removal of the obsolete pumps/associated equipment. Where/if the
                                                                                                                        obsolete system is currently scheduled to be removed, then the Mod Prop to be updated to
                                                                                                                        reflect “and removal of associated equipment” to the proposal.
     25.              Diamond Princess*       ECP Section       ENV‐1204 does not require a “Master” list of current Root Cause Analysis indicted the current guidance in ENV-1204 does not say anything about           In Progress
                      (02.22.2019)             VIII.B.2.r       Seals or Locks in place. The policy only provides       creating and maintaining a separate Master List that the Environmental Officers are using to
                                                                instructions and forms for when Seals are changed,      facilitate their required weekly check of the seals. As there is no guidance for having or not
                                                                or Locks are opened. A separate Master Seal List is having a separate Master List, the Environmental Officers were resourceful and created a list
                                                                being maintained in spread sheet format which is not to make their required weekly job of checking the seals easier. This observation is requesting
                                                                controlled or consistent fleet wide.                    that we amend GHESS to provide guidance to the Environmental Officers concerning
                                                                                                                        maintaining a separate Master Seal List. ENV-1204-A1 is being updated to an excel
                                                                                                                        spreadsheet that will make the Critical Valves, Fittings, Tank Hatches List, Lock Log, and
                                                                                                                        Seal Log a more significant tool for updating and tracking for the EOs use in their weekly
                                                                                                                        checks. Publish revised procedure ENV-1204 in the GHESS.
     26.              Regal Princess*         ECP Section:      It was noted that during the test call, the hotline     Root Cause Analysis indicated hotline provider review: “Thank you for bringing this to our       In Progress
                      (02.24.2019)             VII.B.2.p        person was difficult to communicate with. The call      attention, we take their concerns very seriously. Our Contact Center operates on a “shared
                                                                lasted for about 10‐15 minutes for a simple test call. resource delivery model.” As such, we employ roughly 250 Communication Specialists who
                                                                                                                        take calls for more than 10,000 customer programs. With the variety of customer programs
                                                                                                                        managed daily, Communication Specialists are unable to memorize the nuances of specific
                                                                                                                        customer programs. To successfully manage varying customer configurations, NAVEX
                                                                                                                        Global requires all non-standard configurations to be application driven. However, in this
                                                                                                                        particular case, we can confidently assure the customer their experience was isolated, and we
                                                                                                                        will address it directly with the CS in question.” After receiving the feedback from the Regal
                                                                                                                        (at the time), we (Deputy Director Ethics & Compliance Programs) contacted the Chief Ethics
                                                                                                                        Officer at Carnival Corporation, Martha De Zayas. She contacted Ethispoint, who is the
                                                                                                                        Hotline provider, the Hotline provider conducted a review (Root Cause Analysis above). The
                                                                                                                        Hotline provider is addressing this issue directly with the problematic Customer Service
                                                                                                                        representative.
     27.              Maasdam*                ECP Section:      The HESS Contractor Procedure Checklist states          Root Cause Analysis indicated HESS Contractor Procedure Checklist did not meet the               Complete
                      (03.02.2019)             VIII.B.2.q       that the form should only be retained for 1 month but requirements of the ECP. HA Group to modify Contractor Brochure to meet the requirements
                                                                does not have a date completion block for               of OHS-1302 and ENV 01/2019. Publish changes to the HA Group fleet.
                                                                verification purposes.
     28.              Maasdam*                ECP Section:      Hotel Chemical Distribution Station used for            Root Cause Analysis indicated un-organized referral is due to unidentified hoses into one        In Progress
                      (03.02.2019)             VIII.B.2.g       cleaning guest cabins, bathrooms and other areas of     containment unit in the Hotel Chemical Distribution Station. Deck scuppers do not exist in the
                                                                the vessel is un‐organized. Multiple hoses are          general vicinity of the Hotel Chemical Distribution Station. The floor drain in the Hotel
                                                                draining into unmarked containers and have hoses        Chemical Distribution Station flows to the Grey Water System. Corrected immediately: each
                                                                that are in or over the wash basin that displays a sign hose has an empty jug for draining the chemical, both hose and the jug for draining the
                                                                “Do Not Throw Chemicals into the Sink.” It also         chemical are labeled as well. The secondary containment is in place. Pictures attached for
                                                                appears that the unmarked container could over‐flow reference. Housekeeping Chemical room set-up standard to be met across the HAL fleet.


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                      Location Name           ECP Section                      Final Audit Finding                                                 Corrective & Preventive Action Plan                                    Status of Corrective
                      (Audit Date)                                                                                                                                                                                        & Preventive Action
                                                                                                                                                                                                                                  Plan
                                                                and the chemicals could make entry to deck
                                                                scuppers.
     29.              Maasdam*                ECP Section:      ENV‐1204 only provides instructions and forms for       Root Cause Analysis indicated the current guidance in ENV-1204 does not say anything about        In Progress
                      (03.02.2019)             VIII.B.2.r       when Seals are changed, or Locks are opened. A          creating and maintaining a separate Master List that the Environmental Officers are using to
                                                                separate Master Seal List is being maintained in        facilitate their required weekly check of the seals. As there is no guidance for having or not
                                                                spread sheet format which is not controlled nor         having a separate Master List, the Environmental Officers were resourceful and created a list
                                                                consistent fleet wide.                                  to make their required weekly job of checking the seals easier. This observation is requesting
                                                                                                                        that we amend GHESS to provide guidance to the Environmental Officers concerning
                                                                                                                        maintaining a separate Master Seal List. ENV-1204-A1 is being updated to an excel
                                                                                                                        spreadsheet that will make the Critical Valves, Fittings, Tank Hatches List, Lock Log, and
                                                                                                                        Seal Log a greater tool for updating and tracking for the EOs use in their weekly checks.
                                                                                                                        Publish revised procedure ENV-1204 in the GHESS.
     30.              Maasdam*                ECP Section:      Bunker samples from recent bunker operations done       Root Cause Analysis indicated an ineffective procedure to assure the proper storage of            In Progress
                      (03.02.2019)              VIII.B.2        in January and February 2019 were not in sample         required fuel samples. Samples were all there but over two lockers and now organized and
                                                                locker but later found in another locker.               sample list updated by Inventory Specialist. Completed during Audit. Inventory Specialist to
                                                                                                                        conduct monthly inspections on the designated list of fuel samples in the locker for the period
                                                                                                                        of three months.
     31.              Maasdam*                ECP Section:      The ship’s ECP Audit Sampling Plan shows two (2)        Root Cause Analysis indicated that when the MADM was being assisted by office personnel,          In Progress
                      (03.02.2019)              IX.G.1          Blackwater overboard sample points (Port &              and they were implementing ECN-17-2018 and developing the ship’s sample plan, the ship
                                                                Starboard) that are no longer valid since the           was given incorrect guidance. The ECN (attached) says the following sampling points will be
                                                                blackwater piping system has been modified to           created for the following discharges, “Greywater and sewage systems while they are
                                                                accommodate a new system with overboard                 discharging overboard from a point as near as possible to the hull penetration, but inboard of
                                                                discharge points that were in the plan.                 the isolation valve (A sample will be required from each grey water and sewage overboard
                                                                                                                        discharge point).” The ECN implies that each discharge point ACTUALLY needs to be
                                                                                                                        functional. The MADM had two overboard discharges (port and starboard) for the black water
                                                                                                                        system, which were included in the sample plan, the only problem was that at some earlier
                                                                                                                        date the black water system was physically disconnected from these two overboard discharges.
                                                                                                                        When the original sample plan was developed, the two sample points were considered
                                                                                                                        discharge points; the argument that no sample could be taken from the sample points was not
                                                                                                                        appreciated. So the discharge valves and piping are there, but there is NO connection to the
                                                                                                                        black water system. Dep Dir, Environmental Cpl was onboard in March: verified that the
                                                                                                                        black water system was permanently disconnected, as that is when the Sample Plan was
                                                                                                                        updated, and the two sample points were removed. MADM’s sampling plan has been
                                                                                                                        amended. ModProp to include a checklist to account for impact to Sampling Plans.
     32.              Majestic Princess*    HESS: MAR1301       During the daily walk around of the open decks, it      Root Cause Analysis indicated an investigation in progress. The investigation commenced           In Progress
                      (03.28.2019)                              was noted on deck 17 starboard side, the hot tub was    Monday, April 15th. Sr Mgr, Maritime Investigation, to submit a report once an investigation
                                                                overflowing onto the deck and down the scupper          is completed. Preventive Action Plan is dependent on the outcome of the Investigation Report.
                                                                drain overboard for over an hour. The vessel’s
                                                                position was not in an environmentally sensitive area
                                                                at the time of discharge but no action was noted by
                                                                the crew to report the hot tub overflow.




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                Notice         Date of        Date of      Operating         Vessel                                  Summary of Incident                                               Analysis Summary and Action Plan                     Status of
               Number         Incident        Notice        Line /                                                                                                                                                                         Action Plan
                                                            Group
1.          #24-2019        02.06.2019     02.14.2019     HA Group        Seabourn       Due to the unexpected death of his father, the Environmental Officer (“EO”)       The EO who left on bereavement rejoined the ship in Picton,    Complete
                                                                          Encore         onboard the Seabourn Encore disembarked the ship on Wednesday, January            New Zealand on February 19, 2019.
                                                                                         30, 2019. A qualified replacement Environmental Officer was not able to join
                                                                                         the ship within seven days. Visa constraints, replacement unavailability, and
                                                                                         port logistics (some of which are non-proclaimed ports) prevented alternative
                                                                                         replacements joining the ship prior to February 19, 2019. In the interim, the
                                                                                         Staff Captain assumed the Environmental Officer’s duties.

2.          #25-2019*       Apr-19         05.24.2019     Costa Group     AIDAluna       The monthly Oily Water Separator (OWS) tests for the month of April 2019          A clarification email was circulated to the AIDA and Costa     In Progress
                                                                                         were not conducted due to a combination of equipment malfunctions, dry dock       fleets to ensure all understand the test can be completed in
                                                                                         overlap, and misunderstanding of a procedural requirement. AIDAluna was in        recirculation mode. A fleetwide communication with the same
                                                                                         dry dock for two of the four weeks in April 2019. On April 27, 2019 following     clarification is in development.
                                                                                         the drydock period, the ship’s static OWS malfunctioned due to a clogged
                                                                                         sample line. This failure was reported in the May 8, 2019 HESS Weekly Flash
                                                                                         Report to the CAM. On May 21, 2019 a technician from the equipment
                                                                                         manufacturer attended the ship, fixed the clogged sample line, and determined
                                                                                         part of the system (second step of filtration) would need to be replaced. Based
                                                                                         on this diagnosis, spare parts were ordered on May 22, 2019. Once received,
                                                                                         the system will be fixed accordingly. The monthly test was not conducted on
                                                                                         the ship’s centrifugal OWS in April 2019 due to the dry dock and
                                                                                         misunderstanding of the monthly test requirement. The ship misunderstood
                                                                                         that the monthly test could not be done via recirculation and was not traveling
                                                                                         outside of 12nm for a long enough period to perform the test. This
                                                                                         misunderstanding has since been clarified and the centrifugal OWS test was
                                                                                         performed on May 11, 2019.




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                  Date of         Date of      Operating         Vessel                                 Description of Incident                                                 Analysis Summary and Action Plan                            Status of
                Notification     Incident       Line /                                                                                                                                                                                     Action Plan
                                                Group
1.              03.15.2018     02.04.2018     CCL            Carnival        While underway within three nautical miles of the U.S. coast, approximately        CCL approved the plans to divert the recreational water facility           In Progress
                                                             Pride           27 cubic meters of pool water with a 3.6 ppm chlorine level was discharged         discharge to the grey water system. The changes are expected to be
                                                                             due to the malfunction of a pool control system. The control system was            implemented on all Sprit Class vessels before the end of August 2018.
                                                                             displaying an error message and the manual overboard valve for the pool was        UPDATE: The Pride will undergo modifications during drydock in
                                                                             open, allowing the discharge to occur in violation of VGP requirements. The        March 2019. Modifications for the other Spirit Class ships are under
                                                                             chart recorder was checked to confirm the location of the discharge. The           evaluation.
                                                                             National Response Coordination Center and local U.S. Coast Guard were
                                                                             advised. The pool computer was reset and is not showing any error. By
                                                                             default, the automatic valve will fail-safe open and the pool will dump. The
                                                                             incident was partially due to the ongoing need to have an open overboard valve
                                                                             for emergency response to a stability problem. As a preventative action, the
                                                                             possibility of diverting recreational water facility discharge to the grey or
                                                                             ballast water systems while the ship is inside environmentally restricted areas
                                                                             is being reviewed.
2.              03.15.2018     01.27.2018     CCL            Carnival        While the ship was alongside in Long Beach, CA, ballast water was discharged       Ballast water management plan was updated to reflect the California        In Progress
                                                             Splendor        in violation of California ‘Marine Invasive Species Program’ regulations. The      ballast water requirements. The ships no longer discharge ballast
                                                                             required ballast water reporting forms were also not sent on time to the           water in the port of Long Beach, California. This incident was
                                                                             National Ballast Information Clearinghouse and the California State Lands          discussed during monthly conference calls and a “Must See Notice”
                                                                             Commission due to an administrative oversight. The ship had relocated from         was sent out corporate wide. The RAAS investigation concluded that
                                                                             Florida and the improper discharge occurred during the ship’s first call in Long   the direct cause of the incident was that voyage planning and overview
                                                                             Beach. The improper discharge was identified by the new Staff Captain when         was not conducted as per procedural requirements. As a preventative
                                                                             reviewing the ballast water records. An initial investigation has found there      action, a Lessons learned note was sent out to the fleet, to raise ships
                                                                             was inadequate voyage planning for the relocation cruise. Ballast water            awareness regarding this issue. The note included importance of
                                                                             requirements had not been discussed during the voyage overview meeting.            voyage planning and correct process to develop and communicate a
                                                                             Relevant procedures were not followed and the Ballast Water Management             complete voyage plan and environmental schedule. Additionally,
                                                                             Plan had not been updated to reflect the relocation voyage or subsequent           CCL will develop a more robust ballast water management training
                                                                             voyages. Handovers of the Captain, Staff Captain and Voyage Officer had            program to ensure that all officers and engineers are well educated in
                                                                             been conducted just before or during the relocation voyage. The ship had           regards to ballast water requirements and ENV 1501. CCL will also
                                                                             taken on sea water ballast for stability purposes and this had been discharged     develop a short presentation on how a comprehensive voyage
                                                                             in port to allow bunkering of potable water and fuel. The CAM understands          overview should be conducted to meet the requirements of ENV 1001
                                                                             that this incident is a violation of California regulations only.                  and MAR 1301. Staff Captain Giuseppe Strano will be given a
                                                                                                                                                                positive performance for being diligent and raising this issue as soon
                                                                                                                                                                as he became aware of the situation. UPDATE: The investigation has
                                                                                                                                                                not been closed. Additionally, a voyage planning video is currently in
                                                                                                                                                                production.
3.              05.10.2018     02.25.2018     CCL            Carnival        While the ship was approaching New Orleans, LA, and inside three nautical          The proposed fleetwide repiping modifications are under evaluation.        Complete
                                                             Triumph         miles from land, the ship listed by approximately one degree, causing four         UPDATE: Drain lines for pools have been modified during the
                                                                             cubic meters of water to overflow from the main pool and spill overboard           March/April 2019 drydock to include an alternative discharge to grey
                                                                             through the scuppers. At the time of the violation of company requirements,        water holding tanks.
                                                                             the pool had been in ‘Beach Mode’ with a chlorine content of 3.47 ppm. The
                                                                             U.S. Coast Guard and National Response Coordination Center were notified.
                                                                             To prevent recurrence, the Captain and EO met with Hotel and Technical
                                                                             departments and it was agreed to maintain the pool in ‘Trunk Mode’ at all
                                                                             times. New guidelines have now been published for all CCL ships. Required
                                                                             piping changes are still a work in progress. The guidelines were delayed while
                                                                             public health/USPH investigations were completed.
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                  Date of         Date of      Operating         Vessel                                 Description of Incident                                                  Analysis Summary and Action Plan                            Status of
                Notification     Incident       Line /                                                                                                                                                                                      Action Plan
                                                Group
4.              05.10.2018     03.13.2018     CCL            Carnival        While the ship was docked in Cozumel, Mexico, the EO was advised that a             The findings from the LSA asset team are expected by June 10, 2018.        In Progress
                                                             Fantasy         lifeboat was missing an access hatch. It was confirmed that the hatch had been      Replacement and repair of the other lifeboats is expected to be
                                                                             in place following departure from Progreso, Mexico, the day prior. It is            complete by June 30, 2018. UPDATE: To date, the ship has not
                                                                             believed that the orange fiberglass hatch detached from the lifeboat during the     received the order of the three hatches. In the meantime, the Deck
                                                                             transit due to strong winds and was lost in violation of MARPOL Annex V. It         Officers are looking for any malfunctions or deficiencies during the
                                                                             is possible that the hatch closing handle may have been left open during recent     monthly checks of the lifeboats.
                                                                             lifeboat checks and operations. All relevant crew were advised to confirm
                                                                             correct closing of all hatch handles upon completion of lifeboat
                                                                             operations/maintenance and to report any malfunction or damage in a timely
                                                                             manner. All other lifeboats were inspected and 19 issues with similar handles
                                                                             were identified for subsequent replacement or repair. The issue has been
                                                                             forwarded to the shoreside LSA asset team for review.
5.              06.15.2018     04.09.2018     CUK            Queen Mary      While at anchor in Phuket, Thailand, a grey water tank overflowed directly          The Company is considering multiple preventative measures including        In Progress
                                                             2               overboard for approximately five minutes, resulting in five cubic meters of         modifying the pre-departure checklist to include a check of the
                                                                             grey water being discharged overboard in violation of company requirements.         capacity and filling rate of the grey and black water filling tanks,
                                                                             The discharge was stopped by switching the grey water filling to an alternate       adjusting the tank settings to allow for additional warnings prior to
                                                                             tank. The local port agent was informed of the discharge. The root cause of         overflow, and separating critical watch keeping functions. Decisions
                                                                             the incident was that the high level alarm was not addressed appropriately in       as to actions to take are expected to be completed by September 2018.
                                                                             the ECR, which was in red manning. During the interval between the alarm            UPDATE: The suggestion to modify the pre-departure checklist to
                                                                             sounding at 1849 and the incident occurring at 1900 there were an additional        include a check of the capacity and filling rate of the grey and black
                                                                             13 new alarms, including six general alarms on a diesel generator, which drew       water filling tanks has been submitted for inclusion in Global HESS.
                                                                             the focus of the watch keeping team. While the ECR was at red manning, the          A decision on the suggestion is expected before the end of October.
                                                                             Assistant Operator was located in the engine room. Details of the incident will     The project to adjust the tank settings to70% to allow for additional
                                                                             be shared with the fleet and teams reminded of the purpose of the Assistant         warnings prior to overflow is complete. Separating the critical
                                                                             Operator within ERM at red manning. The Operations Director must review             watchkeeping functions is complete and now in Global HESS
                                                                             the location of the Assistant Operator at red manning and, if necessary, bring      (TEC1201). The review of the alarm prioritization and reduction of
                                                                             him into the ECR to assist with alarm management. The CAM understands               alarm loading is ongoing with Valmarine and expected to be complete
                                                                             that this is incident was a violation of Company requirements only.                 by February 2019. Given the complexity of the project, the
                                                                                                                                                                 prioritization is postponed to dry dock when a complete upgrade will
                                                                                                                                                                 be conducted.
6.              07.06.2018     06.06.2018     CCL            Carnival        While the ship was approaching Belize and maneuvering in the channel, it            The ship is currently scheduled to undergo permanent repairs during        In Progress
                                                             Miracle         listed by approximately 1.5°, causing 45 liters of water to overflow from a         the next dry dock in January 2020.
                                                                             forward pool and drain into the sea. The violation of company requirements
                                                                             was reported to the Port Authority. No further action was requested. The
                                                                             current layout of the pool does not permit lowering the pool level. Near term
                                                                             preventative action was to remove the overflows by having the ships conduct a
                                                                             risk assessment based on forecasted weather, traffic, transit conditions prior to
                                                                             arrival. If the assessment reveals a likelihood that an overflow may occur, the
                                                                             potentially impacted facilities must be lowered, and if necessary closed. Long
                                                                             term, the ship is reviewing options to add permanent internal drainage, refilling
                                                                             lines, skim gutters or return lines at the calculated lower level.
7.              08.09.2018     07.01.2018     CUK            Queen Mary      While the ship was alongside at Brooklyn Cruise Terminal, NY, the Technical         The crewmembers identified alternative self-closing valves that could      In Progress
                                                             2               Stores Manager reported that water was overflowing into the harbor from one         address the design deficiency in the pool water system. Valmarine
                                                                             of the ship’s side vents. It was determined that the overflow of less than one      technicians attended the ships and confirmed that the valves can be
                                                                             cubic meter of chlorinated fresh water had come from one of the passenger           installed as proposed on the existing channels. Ship services engineer
                                                                             pools. The overflow occurred because there was a blackout on the ship which         is reviewing available valves to determine the best appropriate type for
                                                                             stopped the pool water circulating pump, causing drainage of water from the         the proposed installation. The work order is expected to be submitted
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                  Date of         Date of       Operating        Vessel                                  Description of Incident                                                   Analysis Summary and Action Plan                             Status of
                Notification     Incident        Line /                                                                                                                                                                                        Action Plan
                                                 Group
                                                                             deck into the buffer tank, which subsequently overflowed through the tank             by mid-September 2018. UPDATE: Given the complexity of the
                                                                             vent line. The incident was a violation of company regulations and a VGP              system, the work is expected to be completed before the end of
                                                                             violation and has been reported as such to the regional EPA office who have           September 2019.
                                                                             currently not replied to the report. It was also reported to the port authority via
                                                                             the agent on the day and required no corrective actions. An investigation was
                                                                             conducted and determined that the incident was a result of the pool circulation
                                                                             system design which lacks any non return or failsafe/closed valves. In the
                                                                             event of power failures, gravity causes water from the other deck level pools to
                                                                             drain back to the pool buffer tanks and overflow out via the tank vent lines.
                                                                             The ship has made local alterations to the software controlling the system to
                                                                             prevent similar overflows when the pool circulation pumps trip out in service,
                                                                             however these changes do not solve the problem in full power loss conditions
                                                                             because valve closure is power actuated. The port agent was informed and was
                                                                             tasked to notify the port authority as required. The ship has been advised that a
                                                                             thorough review of the ECS is scheduled at the end of August. The onboard
                                                                             team are still investigating both short term mitigation and long term preventive
                                                                             solutions. The manufacturer will be on board in Aug 2018 to investigate what
                                                                             is required to change the system. Also recorded as a Full Blackout.
8.              08.09.2018     07.03.2018     CUK            Queen Mary      While the ship was alongside in St John New Brunswick, Canada, the ship               The crewmembers identified alternative self-closing valves that could       In Progress
                                                             2               suffered a blackout during which the EO noticed water pouring from a tank             address the design deficiency in the pool water system. Valmarine
                                                                             vent. The overflow was determined to be approximately two cubic meters of             technicians attended the ships and confirmed that the valves can be
                                                                             chlorinated pool water from passenger pools which was stopped by restoring            installed as proposed on the existing channels. Ship services engineer
                                                                             main power. The valves and pump for pool recirculation had failed as a                is reviewing available valves to determine the best appropriate type for
                                                                             consequence of the blackout, which allowed the circulation pool water to drain        the proposed installation. The work order is expected to be submitted
                                                                             down into the pool buffer tank and overflow through the open vent lines. The          by mid-September 2, 2018. UPDATE: Given the complexity of the
                                                                             discharge of water was in violation of Company regulations. The port agent            system, the work is expected to be completed before the end of
                                                                             was instructed to notify the port authority on behalf of the ship. Without a          September 2019.
                                                                             system design alteration spills of this type will occur following every blackout.
                                                                             The CAM understands this incident was a violation of Company requirements
                                                                             only.
9.              08.09.2018     06.26.2018     CCL            Carnival        While the ship was alongside in Cozumel, Mexico, ten liters of water from the         Environmental Managers together with the Hotel Superintendent,              In Progress
                                                             Paradise        water park overflowed onto the deck and drained directly overboard via the            visited at least one ship from each class he visits took place on July 21
                                                                             scupper drains. The spill was caused because the ship was listing 0.5 degrees         and 22, 2018 to evaluate the need and benefit of Recreational Water
                                                                             to the port side to keep a safe angle for the gangway and the water park drains       Facility system modifications. Proposed modifications will be
                                                                             became overwhelmed. Furthermore, the housekeeping team did not apply                  considered fleet wide as applicable. The proposed fleetwide repiping
                                                                             effective cleaning methods and were removing water with squeegees toward              modifications are under evaluation. UPDATE: Technical
                                                                             the overboard drain. To prevent further spillage, the ship’s list was corrected       modifications will be considered during the ships’ scheduled drydocks.
                                                                             and the water park was closed and cleared of excess water. The chlorine and           The Paradise is currently scheduled to undergo drydock modifications
                                                                             pH content of the water was examined and found to be normal. The technical            in 2020.
                                                                             department inspected all drains which were all found to be in order. No issues
                                                                             were found with the movement of water into the drains when assessed during
                                                                             normal operation at sea. An entry was made in the Deck Log Book and
                                                                             authorities were notified. Pool attendants were advised to shut down the water
                                                                             park in the event of similar events. Housekeeping crewmembers that are
                                                                             responsible for the deck and pools have been directed to use wet vacuums or
                                                                             absorbents to recover pool water. Modifications to both onboard drain/return
                                                                             lines as well as operational procedures have been completed. Planning is
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                Notification     Incident        Line /                                                                                                                                                                                   Action Plan
                                                 Group
                                                                             underway on other operating line ships with modifications being done in
                                                                             service, but others will need to be completed in drydock. In the interim, the
                                                                             ships have been issued a reminder to apply the requirements from an earlier
                                                                             ECN (related to risk assessments) to all potential risks from listing, including
                                                                             from intentional listing while alongside or anchored. The ship‐specific actions
                                                                             taken to avoid this issue are being confirmed. The CAM understands this
                                                                             incident was a violation of Mexican requirements only.
10.             08.22.2018     07.08.2018     HA Group       Oosterdam       While the ship was en route to Kotor, Montenegro, approximately 98 cubic           Before the end of the year the following action items are expected to     In Progress
                                                                             meters of untreated sewage were discharged into Albanian territorial water         be completed: 1) the engineering team will undergo coaching to
                                                                             because the incorrect valve was opened by the EOOW. This MARPOL Annex              highlight lessons learned and best practices; 2) a report regarding the
                                                                             IV violation was caused because the EOOW was under a heavy workload and            incident will be communicated to the fleet for review by the
                                                                             time pressure and accidentally opened the untreated sewage valve instead of        engineering teams; and 3) a review of the valve layout in ABB to
                                                                             the grey water suction valve. The sewage and grey water valves are positioned      optimize usability and reduce the likelihood of accidental selection.
                                                                             next to each other on the operator computer screen. The port agent was             Additionally, a work load study will be carried out before the end of
                                                                             informed. A level three investigation by a Fleet Chief Engineer is currently       April 2019, to evaluate the current state of operations for the onboard
                                                                             underway and is expected to be completed within the next two weeks. The            technical and nautical departments. UPDATE: The final workload
                                                                             investigation will look at human factors as well as procedural execution,          study report is expected by the end of August 2019.
                                                                             supervision and systems layout.
11.             09.04.2018     09.01.2018     CCL            Carnival        A crewmember raised a compliant regarding the use of prohibited cleaning          The complaint was raised in a direct email from the crewmember to          Complete
                                                             Freedom         chemicals onboard the Carnival Freedom as well as other allegations related to    the Corporate Compliance Manager, Carnival Cruise line Operating
                                                                             workplace and safety violations. The complaint was raised in a direct email       Line Compliance Manager, and the Carnival Corporate Ethics &
                                                                             from the crewmember to the Corporate Compliance Manager, Carnival Cruise          Compliance Group. RAAS is leading the investigation into the
                                                                             line Operating Line Compliance Manager, and the Carnival Corporate Ethics         cleaning chemicals allegations with oversight from the CCL
                                                                             & Compliance Group. RAAS is leading the investigation into the cleaning           Environmental Department. CCL HR will investigate the remaining
                                                                             chemicals allegations with oversight from the CCL Environmental                   workplace allegations. UPDATE: The RAAS review concluded there
                                                                             Department. CCL HR will investigate the remaining workplace allegations.          was no evidence to suggest that Metal Brite had been decanted into
                                                                                                                                                               the empty drums of approved chemicals, or that Metal Brite had been
                                                                                                                                                               used onboard after it was removed from the approved chemical list.
12.             09.20.2018     08.05.2018     CUK            Queen Mary      The ship’s forward COWS was offline the previous week to clear blocked            Modification to the sample pipework was made with the approval of          Complete
                                                             2               sample pipework and to repair emergent leaks. Once the COWS returned to           CUK Technical Director, adding swage-lock fittings to the sample
                                                                             service on 05 August 2018, additional pinhole leaks were discovered on the        pipework between the OWS and the sample cooler. The modification
                                                                             sample pipework connecting the sample three-way valve to flushing three-way addressed a weakness of the design and allows for removal of a
                                                                             valve and OCM. The system was taken out of service. A repair was not              previously hard-piped section of the sample pipework that is prone to
                                                                             possible because the pipework was faulty. New parts were borrowed from the blockage. Additional paper seals were added to control the
                                                                             aft COWS unit which is still crated and awaiting installation. The system was vulnerability in the pipework. Replacement sample pipework to
                                                                             leak tested and returned to service the next day. Additional spare pipework has address the pinhole leaks has not yet been received and is now due to
                                                                             been ordered to replace the aft spare pipe and to maintain a stock of spares.     arrive January 21, 2019. UPDATE: The subject pipework has been
                                                                             An ORB entry was made.                                                            installed. The drawings have been updated.
13.             09.20.2018     07.14.2018     HA Group       Seabourn        The shaft of the feeding screw for the incinerator sheared. Temporary repairs     The Company is working with the shipyard and the manufacturer              In Progress
                                                             Encore          have been carried out and the incinerator is back in service. A Guarantee         regarding this equipment failure, and a course of action is not expected
                                                                             Failure Report has been submitted to the shipyard and manufacturer as it is       until early 2019. The ship will go into dry-dock on June 2, 2019.
                                                                             believed [sic] to be a design issue. The shoreside technical team is looking at a
                                                                             possible dry dock retrofit to resolve the issue.
14.             09.20.2018     08.13.2018     CCL            Carnival        While the ship was docked in Jacksonville, FL, a high level alarm activated       The Company identified pressure changes in the Engine Room as the          Complete
                                                             Elation         during the transfer of grey water from two grey water tanks into a ballast        root cause leading to sensors onboard the ships giving inaccurate
                                                                             water/grey water tank. The EOOW stopped the transfer pump immediately.            readings. Consequently, a project to replace sensors across the fleet

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                Notification     Incident        Line /                                                                                                                                                                               Action Plan
                                                 Group
                                                                             Approximately 60 liters of grey water were discharged overboard through the        has been initiated. UPDATE: The modification on two Fantasy Class
                                                                             air vent. The ballast/grey tank was taken out of service and closed for all        ships is complete. No additional modifications are planned.
                                                                             operations. Upon investigation it was noticed that the alarm notification was
                                                                             in error because of a faulty level transmitter. The alarm level is set at 80%.
                                                                             While the high level alarm went off, the tank level rose quickly, leading to its
                                                                             overflow which was observed and brought to the attention of the ECR at which
                                                                             time the transfer was stopped. The faulty transmitter was replaced and
                                                                             calibrated and the tank was put back into operation. The incident was reported
                                                                             to the U.S. Coast Guard, National Response Coordination Center and the
                                                                             Jacksonville Port Authorities. It was also recorded in the NAPA eLog. The
                                                                             Environmental Managers will identify the root causes of these incidents
                                                                             including investigating the correlation between equipment, alarm volume, ECR
                                                                             resources and training of engine personnel etc. A two week target for results
                                                                             has been set.
15.             09.20.2018     08.04.2018     HA Group       Veendam         While the ship was underway towards Boston, Massachusetts, it entered the       The level three investigation concluded failure to follow procedures     In Progress
                                                                             Stellwagen Bank National Marine Sanctuary while operating two diesel            and exercise due diligence as the root-cause of the incident.
                                                                             generators (DG) with EGCS. One DG was operating on MGO and the other            Contributing factors to the incident include: failure of the
                                                                             DG was operating on HFO. After 13 minutes, it was discovered that EGCS          environmental schedule to align with the foreseen geographical
                                                                             were being operated in contravention of Company policy and local regulations.   location of the vessel at the displayed times, the cancellation of the
                                                                             The EGCS for the DG on MGO was shut down immediately while the EGCS             Watch Keeping Engineers’/Technical daily meeting, and the
                                                                             on the other DG was shut down approximately 30 minutes later after a safe       possibility that outdated OVMS system provided a false sense of
                                                                             fuel changeover from HFO to MGO was completed. This violation was               security. The company is currently evaluating the report’s
                                                                             recorded in the Deck Logbook and the shoreside environmental department         recommendations and developing action plans. Prior to June 1, 2019,
                                                                             notified the National Oceanic and Atmospheric Administration of the incident.   the Group expects to complete the following recommended actions: 1)
                                                                             A level three investigation has been initiated to identify root causes. The     Consider a study of level three investigations to analyze the causes
                                                                             assigned investigator has been reviewing the relevant information provided by   behind non-conforming environmental incidents over the last 2-3 years
                                                                             the ship, and will join the ship on 18 August in Boston to conduct interviews   and develop formal action plans to address any identifiable trends; 2)
                                                                             and do a site inspection. A draft report is expected by the end of next week.   Revise the environmental schedule to allow Engine Operational Watch
                                                                                                                                                             Keeping teams to plan for discharges with a display that gives an
                                                                                                                                                             accurate timeline in relation to the geographical location; 3) Conduct a
                                                                                                                                                             review of environmental templates and update as required on HA
                                                                                                                                                             Group vessels; 4) Consider conducting a review of the current OVMS
                                                                                                                                                             and upgrade the OVMs as required; 5) Consider liaising with Maritime
                                                                                                                                                             Policy and Analysis Carnival Corporation to include a requirement in
                                                                                                                                                             the Engine Room Resource Management Manual for detailed Chief
                                                                                                                                                             Engineer night order to be entered in NAPA in the event the Watch
                                                                                                                                                             Keeping Engineers’/Technical Daily Meetings is not held, to provide
                                                                                                                                                             substitute guidance to the Engineering Operational teams. UPDATE:
                                                                                                                                                             Items 1-3 are complete. For Item 4, phase one is complete and has
                                                                                                                                                             been rolled out on all HAL ships. Phase two will be implemented on
                                                                                                                                                             all HAL ships by the end of 2019. Item 5, is currently pending.
16.             09.26.2018     08.19.2018     HA Group       Star Princess   While the ship was underway from Vancouver, Canada to Ketchikan, Alaska, a Further review confirmed that all officers acted in accordance with           Complete
                                                                             request from the Water Technician to discharge recreational water from the      their knowledge at the time and that the incident arose from potentially
                                                                             Jacuzzis overboard was denied by the Bridge. A review of the Recreational       conflicting policies, misunderstanding of the area of operation, and
                                                                             Water Facility log revealed that on two separate prior occasions while the ship failure to check the daily environmental schedule prior to discharging.
                                                                             was underway from Vancouver to Ketchikan, a discharge of recreational water Recommendations from the review included discussing the
                                                                             from Jacuzzis occurred inside Canadian waters one nautical mile from shore.     Environmental Schedule at the beginning of every trip and that a copy
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                Notification     Incident        Line /                                                                                                                                                                                     Action Plan
                                                 Group
                                                                             These discharges are a violation of Company requirements. A level three            should be available on the bridge. Additionally, the environmental
                                                                             investigation is underway to determine the exact time line, why the discharges     schedule should be checked prior to any relevant actions. HA Group
                                                                             occurred and how and why the current procedures did not ensure compliance          is currently reviewing the format of the environmental schedule to
                                                                             to company standards.                                                              ensure that it accurately reflects the vessel’s location. Planned release
                                                                                                                                                                of the latest HA Group daily environmental schedule is planned for
                                                                                                                                                                March 2019. UPDATE: A new version of the environmental schedule
                                                                                                                                                                is in HESS and is being used fleetwide.
17.             09.26.2018     08.16.2018     HA Group       Caribbean       While the ship was underway from Cozumel, Mexico to Fort Lauderdale,               The review revealed that the 8-12 watch standers had limited                In Progress
                                                             Princess        approximately 48 cubic meters of treated sewage was discharged overboard           experience on the Caribbean Princess and consequently should have
                                                                             while inside 12 nautical miles from the Mexican baseline, but outside of 4         been paired with other engineers with more experience. Technical
                                                                             nautical miles, in violation of Company policy. This discharge occurred            Operations is currently collaborating with HR to utilize the current PIP
                                                                             because the Engine Officer of the Watch (EOOW) mistakenly opened a                 procedure to develop a professional development plan for the 8-12
                                                                             discharge valve for a tank that contained treated sewage when instructed by the    watch standers. Also, Fleet Chief Engineers will spend time during
                                                                             Bridge to open the four nautical miles discharges. As soon as he realized his      2019 visits to discuss with motormen ERM principles and give
                                                                             mistake, the discharge was stopped. The importance of abiding by                   guidance accordingly. Additionally, the company is evaluating the
                                                                             environmental regulations was reinforced with the EOOWs to prevent                 feasibility of integrating legacy systems into IMAC. UPDATE: It has
                                                                             recurrence. An entry was made in the NAPA eLog. It was confirmed the ship          been agreed that the subject watch keeper cannot cover the second
                                                                             was 5.9 nautical miles from land, making this a Company, not a MARPOL              engineer position. Therefore, he has retaken ERM 2 and attended
                                                                             violation. As a corrective action, the Engine Officer of the Watch received a      Continuous Development ENG at CSMART. While working as a third
                                                                             written warning and this case has been discussed during the monthly                engineer, he will continue his onboard learning program with the first
                                                                             Environmental Meeting with the Engine department. As a preventative action         engineer. The company continues to work with Siemens regarding the
                                                                             the operating line is sending a communication to all operating line ships about    IMAC updates.
                                                                             the recent uptick in improper discharges and coordinating Brand
                                                                             President/EVP Fleet calls with ship leadership. The operating line is assessing
                                                                             if communications from the Bridge to the ECR concerning discharge
                                                                             restrictions were consistent with ENV1002.
18.             09.26.2018     08.14.2018     HA Group       Seabourn        While the ship was underway towards Sisimiut, Greenland, 13 cubic meters of        RAAS is currently reviewing proposed preventative actions. The          In Progress
                                                             Quest           clean bilge water was discharged overboard while the ship was outside 12           review is expected to be completed before December 2018. In
                                                                             nautical miles from the land. As per the Polar Code, bilge water may not be        response to the CAM request for additional information propounded
                                                                             discharged in Arctic Waters. The discharge was immediately stopped when            on September 24, 2018, “clean bilge water” means the bilge water was
                                                                             the violation was noticed. To prevent recurrence, the EO will provide              processed through the OWS. RAAS made the following
                                                                             additional training to all personnel involved in the environmental operation as    recommendations: 1) Consider shoreside support of vessel planned
                                                                             the incident was the result of a lack of adherence to the ENV-1001-F1              voyage tracks or a centralized database of approved environmental
                                                                             Worldwide Cruising Environmental Standards. The incident was reported to           scheduled based on way points; 2) An ABG review the current
                                                                             the Flag via the DPA and it was recorded in the Oil Record Book. The               environmental matrix suitability for supporting voyage planning and
                                                                             Environmental schedule for the voyage was incorrect, as it did not reflect the     development of alternative solution where possible; 3) HA Group to
                                                                             restrictions in place for the Polar region. This was an oversight in creation of   include in the work load study scope to include nautical operations and
                                                                             the schedule. The Environmental Officer has held training sessions with all        voyage planning process; 4) HA Group to consider contacting all fleet
                                                                             watch standers on how to read and understand the ENV 1001 matrix and the           ships scheduled to operate in the polar region and highlight Polar Code
                                                                             requirement to consult with the EO in any case of doubt.                           requirements; and 5) Review the current ENV-1001-F1 schedule for
                                                                                                                                                                areas of potential confusion. All action items are expected to be
                                                                                                                                                                completed before June 2019. UPDATE: Seabourn completed all of
                                                                                                                                                                the recommendations except for item 3. The final work load study
                                                                                                                                                                report is expected to be issued by the end of August 2019.
19.             10.02.2018     10.02.2018     HA Group       Westerdam       The Company notified the CAM the of the allegation that a Second Engineer          The Company is evaluating the incident and determining the next steps In Progress
                                                                             had created false entries in the Company’s Planned Maintenance System for          to address the issue of inaccurate entries. UPDATE: The Company
                                                                             work that was not actually performed. The entries include cleaning a filter        will conduct a time motion study of the planned maintenance required
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                                                 Group
                                                                             inside the White Box, cleaning the intermediate bilge tank, and testing bilge       to be completed for all disciplines in relation to the current headcount.
                                                                             level alarms. The allegations were reported to the Holland America Group            This is expected to be completed before July 2019.
                                                                             OLCM by the Westerdam Captain and Chief Engineer.
20.             10.11.2018     09.11.2018     HA Group       Westerdam       While the ship was underway in Glacier Bay National Park, approximately 100         The Department of the Interior issued a $250 fine and a $30            Complete
                                                                             cubic meters of grey water was discharged overboard via the vent line of the        processing fee in response to the incident. The Company paid the fine.
                                                                             void space as a result of a grey water transfer from tank to tank. The Junior       The human factors study is expected to be completed before the end of
                                                                             Engine Officer of the Watch (JOOW) in the ECR lined up the wrong                    November 2018. UPDATE: Upgrades have been made to the system
                                                                             destination tank (a tank usually used for ballast purposes), which was also         to make clearer distinctions to IMACs diagram components. The
                                                                             already full with fresh water. Because the tank was already in high-level           survey of Vista class ships to ensure compliance with liquid loading
                                                                             alarm, no further alarm was received. Once the Watchkeeper realized the             requirements is complete.
                                                                             mistake, the transfer was stopped and the valve was closed. The ship is sailing
                                                                             in Alaska, which requires keeping grey water on board for several days.
                                                                             Accordingly, a storage plan is made and followed, but internal transfers must
                                                                             be carried out in order to fill the tanks in the proper order. The JOOW was
                                                                             following instructions and was communicating with the Senior Watchkeeper
                                                                             and Officer of the Watch (who was in the engine room), but the wrong tank
                                                                             was lined up. The violation was reported to the local agent, Alaska
                                                                             Department of Environmental Conservation, National Park Service, and Ocean
                                                                             Rangers. An entry was made in the Engine Log Book. A Level Three
                                                                             investigation has been initiated with the investigator currently onboard.
                                                                             Queries concerning the incident include thinking aloud, valve identification,
                                                                             two-step verification, staff experience, staffing levels, & procedures &
                                                                             checklists. As part of efforts to better understand root causes, especially those
                                                                             seemingly involving human error, 10 ships are being visited with listening
                                                                             sessions conducted with leadership, deck and engineering teams. The subject
                                                                             ship was visited 19 September. These visits are in addition to a study being
                                                                             conducted by a human factors expect looking at environmental incidents and
                                                                             associated human factor causes.
21.             10.11.2018     09.08.2018     CCL            Carnival        Following arrival into Charleston, SC, the EOOW advised the Chief Engineer          The evaluation on whether it is feasible to implement new preventative In Progress
                                                             Ecstasy         (CE) that the overboard pH value of Diesel Generator (DG) #4 was not in             automation modifications that would create interlock features between
                                                                             compliance and could not be kept online while in port. During the two hours         the EGCS and DGs is still under review. A decision is expected
                                                                             of maneuvering prior to arrival, the load on a seawater dilution pump had been      before April 15, 2019.
                                                                             changed to try and increase the pH level. The CE instructed the EOOW to stop
                                                                             DG#4 and start another DG. By accident, the EOOW stopped the EGCS first,
                                                                             without stopping the DG. By the time the EOOW realized his error and shut
                                                                             down the DG, the engine had run on HFO without an EGCS inside VGP
                                                                             waters for 27 minutes. The incident was reported to the port authorities via the
                                                                             port agent and to the U.S. Coast Guard (USCG). The USCG called the ship
                                                                             and instructed them to notify the Environmental Protection Agency (EPA) and
                                                                             the National Response Coordination Center (NRCC). There was no response
                                                                             from the EPA. The NRCC provided the ship with a report number. Entries
                                                                             were made in the Oil Record Book, EGCS Record Book and Napa Log. As a
                                                                             preventive measure, the Chief Engineer conducted a meeting with all engineers
                                                                             stressing the importance of being more careful and vigilant in the future. It is
                                                                             being evaluated whether it is feasible to implement new preventative
                                                                             automation modifications that would create interlock features between the
                                                                             EGCS and DGs.
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                                                Group
22.             10.24.2018     09.20.2018     CCL            Carnival        While the ship was underway, a BCDB malfunctioned and no bilge water                A TMS Service Engineer issued a report on September 28. BCDB # 2          Complete
                                                             Sunshine        could be processed overboard directly from the Oily Water Separator (OWS).          remains out of service. TMS recommended that the crew replace the
                                                                             The flow was unstable and frothy, activating the flow switch limit and causing      3/4” inch pipe between WhiteBox 2 and the OWS with the same size
                                                                             oil content meter error readings, despite several cleaning and flushing             piping that runs through the WhiteBox to resolve the pressure issues.
                                                                             operations. The ship will replace the BCDB pressure regulating valve. The           It is also recommended that some form of de aeration is installed
                                                                             ship has tried several times to adjust the flow and backpressure in the system      between the OWS and WhiteBox 2 due to the two systems close
                                                                             and to replace the pressure regulating valve, but attempts have not been            proximity. The CCL Installation Team is developing a plan for repair.
                                                                             successful. The BCDB remains out of service and a manufacturer technical            UPDATE: The BCDB was returned to service on November 11, 2019.
                                                                             service has been scheduled for 27 September. These is no operational impact
                                                                             as the ship’s second BCDB is fully operational.
23.             10.24.2018     09.18.2018     HA Group       Zaandam         While the ship was alongside in Homer, AK, the ship experienced a blackout          After further review the company determined it was not feasible to add    In Progress
                                                                             which resulted in an overboard discharge of four cubic meters of brominated         the functionality of a “power to open” valve due to the limited space
                                                                             water from the forward pool. During the blackout, the suction pump for the          available in the swimming pool machinery room. The company is
                                                                             pool and its compensation tank was inoperable, which caused the                     currently evaluating if a non-return valve can be installed within the
                                                                             compensation tank to fill and the pool to overflow into the nearby overboard        compensation tank. Given the non-return valve is not a nonstandard
                                                                             scuppers. The violation of the EPA Vessel General Permit was reported to the        type a valve it is taking longer to source.
                                                                             Alaska Department of Environmental Conservation and the EPA. The ship
                                                                             and shoreside technical team are exploring the feasibility of installing a “power
                                                                             to open” valve on the high level drain line from the pool so, if a power failure
                                                                             does occur, the compensation tank cannot fill up and overflow from the high
                                                                             level drain line. Also recorded as a Full Blackout.
24.             11.13.2018     10.08.2018     CUK            Queen Mary      The sludge tank floor for the aft Centrifugal Oily Water Separator (COWS)           The tank was repaired and the COWS put back in service within five        Complete
                                                             2               failed due to corrosion that resulted in a hole in the tank. This caused a          days. A work order was raised for fault identification and repair. The
                                                                             nonmeasurable quantity of sludge to ingress to the tank top. Operation of the       aft COWS will be replaced with a new unit that does not utilize a
                                                                             aft COWS was suspended to keep more sludge from leaking out of the tank             sludge tank within the next six months. This tank was fabricated and
                                                                             floor, which will slow bilge water processing. The tank was repaired and the        installed in 2016, and its failure suggests a poor surface coating
                                                                             COWS put back in service within five days. An entry was made in the Oil             application. UPDATE: The sludge tank has been repaired. Further
                                                                             Record Book. A work order was raised for fault identification and repair. The       review confirmed the OWS is in good working condition, therefore
                                                                             aft COWS will be replaced with a new unit that does not utilize a sludge tank       replacement is no longer necessary.
                                                                             within the next six months. This tank was fabricated and installed in 2016, and
                                                                             its failure suggests a poor surface coating application.
25.             11.28.2018     11.20.2018     CCL            Carnival        A crewmember emailed CCM Christopher Donald alleging that the Food                  CCL launched a Company review of the allegation. The final report is      In Progress
                                                             Horizon         Operations Manager took no action after being notified that plastics, oil, and      expected to be issued before the end of January 2019. UPDATE: The
                                                                             paper had been found food waste shredder. The crewmember believed that as           final report is pending.
                                                                             a result of the inaction, the non-food items had been discharged at sea.
26.             11.28.2018     11.15.2018     HA Group       Crown           While the ship was underway, an EOOW noticed that entries in the Oil Record         The very preliminary investigative review appears to indicate the 2nd     Complete
                                                             Princess        Book (ORB) seemed different to what he had seen the previous day. An initial        Engineer was using an erasable pen, that the changes made to entries
                                                                             review indicated that the original entry may have been made with an erasable        reported were corrections to ORB entries that the EO had already
                                                                             ink pen and was later changed, using the eraser, by a 2nd Engineer. This pen        identified, and the erasable pen was not being used to hide illegal
                                                                             may have also been used by the same 2nd Engineer when making prior entries          transfers/discharges. The final report of the investigation is pending.
                                                                             in the ORB. The ORB was secured and a new ORB was started. An entry is              UPDATE: Based on the investigation’s recommendations, a case
                                                                             being made in the ORB where the erasable pen may have been used. The 2nd            study summarizing the findings of the investigation was issued. The
                                                                             Engineer was suspended from duty. The U.S. Coast Guard was notified. The            case study has been included in the Global HESS system. Maritime
                                                                             ship was already scheduled for a Coast Guard Port State Control Inspection in       Policy and Analysis updated ENV-1201 (A3) to include a statement
                                                                             Fort Lauderdale on 17 November. The ship’s Flag Administration was                  requiring all entries in the ORB to be recorded with indelible ink.
                                                                             notified and RAAS was engaged to conduct a Level 3 investigation. The very          Corporate Maritime Compliance included expectations when

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                                                                             preliminary investigative review appears to indicate the 2nd Engineer was         completing an ORB in the New Technical Environmental Toolbox Talk
                                                                             using an erasable pen, that the changes made to entries reported were             training. Further, Holland America Group uploaded the ORB
                                                                             corrections to ORB entries that the EO had already identified, and the erasable   computer based training package onto the GLADIS system.
                                                                             pen was not being used to hide illegal transfers/discharges. The investigation
                                                                             pends further documentation, review and analysis.
27.             11.28.2018     10.17.2018     HA Group       Oosterdam       While the ship was underway towards Dubrovnik, Croatia, the incinerator feed      The convey chain and carriers are not on the spare part list and not     Complete
                                                                             conveyor belt failed because a pin on the conveyor chain failed, which resulted   carried onboard. An Equipment Failure Report was submitted and a
                                                                             in the conveyor becoming misaligned and seizing as it jumped off the drive        new conveyor chain and carriers are on order. Current lead time for
                                                                             gear. The incinerator remains out of operation as temporary repairs to the        the new parts is 10 weeks from the vendor. UPDATE: The ship
                                                                             conveyor were unsuccessful. The convey chain and carriers are not on the          received the necessary parts to conduct a full overhaul of the
                                                                             spare part list and not carried onboard. An Equipment Failure Report was          incinerator in January 2019. The incinerator was returned to service.
                                                                             submitted and a new conveyor chain and carriers are on order. Current lead
                                                                             time for the new parts is 10 weeks from the vendor. Garbage will be offloaded
                                                                             in the upcoming ports until the incinerator is operational.
28.             11.28.2018     10.18.2018     CCL            Carnival        While the ship was alongside in Grand Turk, a housekeeping crewmember             Crewmembers will be interviewed to determine the root cause. The         In Progress
                                                             Breeze          drained a wet vacuum full of approximately 16 liters of soapy water into a        completion date for the interviews is expected to be in four months’
                                                                             deck scupper drain, as advised by the Assistant Housekeeping Manager. An          time given the crewmembers’ leave schedules.
                                                                             investigation revealed that the water contained approximately 30 milliliters of
                                                                             a chemical approved for internal use but not included in the approved chemical
                                                                             list for hull and open deck cleaning operations. The Ship Manager witnessed
                                                                             the incident and stopped the internal work operation immediately. All the
                                                                             remaining water containing the diluted chemical was taken to the garbage
                                                                             room and disposed of correctly. The MARPOL Annex V violation was
                                                                             recorded in the Garbage Record Book and NAPA eLog and was reported to the
                                                                             local agent to notify the authorities. All crewmembers joining the ship receive
                                                                             environmental awareness induction training, including the Environmental
                                                                             Awareness video, and also receive Enhanced Environmental Training not to
                                                                             pour any chemicals into ship drains. At each homeport Safety Briefing, all
                                                                             crewmembers and passengers are advised not to throw or discharge any
                                                                             material overboard. On 23 October, the Fleet Housekeeping Manager sent a
                                                                             message to all Hotel Directors, Housekeeping Managers and Laundry
                                                                             Managers, re-enforcing the proper method of disposal. This message was
                                                                             shared with all EOs. The root cause and preventive action will be determined.
29.             12.14.2018     11.04.2018     HA Group       Coral           During a scheduled U.S. Coast Guard (USCG) Annual Examination while the           The review confirmed no violation of MARPOL I occurred. All              Complete
                                                             Princess        ship was alongside in Guam, one deficiency was noted against the ISM Code.        possible contaminated grey water was retained onboard. The direct
                                                                             The ship does not have established procedures to pump water into a grey water     cause of the incident was procedural non-conformance. Indirect cause
                                                                             tank and no approved hoses are kept on board. This deficiency was raised          (root cause) is considered to be insufficient resources to work load
                                                                             after the USCG Port State Control inspectors witnessed a transfer of water        demands. The Company is considering defining standard coding to
                                                                             from a containment area under a condenser to a grey water tank sounding tube.     differentiate transfer hoses for easy visual identification. The
                                                                             The transfer operation is being reviewed and a company led investigation has      Company is also determining whether it is possible to offload pumps
                                                                             been initiated. Results pend. A preliminary review of the transfer operation      that are not required. These action items are expected to be completed
                                                                             suggests one of the hoses composing the line to transfer the sea water to the     by February 2019. UPDATE: As a preventative measure, an
                                                                             accommodation grey water tank was improperly used. The subject hose was           environmental notice was sent out on January 18, 2019 (ECN #1-
                                                                             labeled “sludge”. This was noticed by the Chief Stoker who stopped the            2019) to communicate changes to ENV-1203 and reestablish ENV-
                                                                             operation and placed the proper hose on the line immediately. The grey water      1205.
                                                                             tank was isolated and its contents were offloaded ashore during a sludge

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                                                                             offload. The grey water tank was cleaned and put back into service. Oil
                                                                             Record Book entries were completed.
30.             12.14.2018     10.31.2018     CCL            Carnival        While the ship was at anchor in Princess Cays Island, Bahamas, the Bridge           At this time there is no further information. The tank level sensors    In Progress
                                                             Ecstasy         look out noted water overflowing from a starboard side air vent. The OOW            will be replaced during the next scheduled drydock (September 30,
                                                                             notified the ECR and requested the EOOW stop the ballast/grey tank transfer         2019 to October 12, 2019).
                                                                             operation in progress. The overflow lasted for about five minutes and resulted
                                                                             in the discharge of at least 200 liters of grey water in violation of Company
                                                                             policy. The overflow occurred due to the failure of the tank level sensor on a
                                                                             ballast/grey tank. The Chief Engineer took the affected tank out of service
                                                                             until the sounding sensor issue is resolved. The tank remains out of service.
                                                                             Once the tank is back in service, sounding values will be frequently verified to
                                                                             identify any discrepancies. The incident was reported to the Island Manager
                                                                             by the ship agent and was recorded in the NAPA eLog. The tank level sensors
                                                                             on all of the ships of this class are being replaced. Most are being replaced in
                                                                             service. The remainder, which can only be replaced during drydock, will be
                                                                             replaced by the end of the next drydock cycle.
31.             01.02.2019     11.12.2018     CCL            Carnival        While the ship was alongside in Grand Turk, Turks & Caicos, two Advanced            Contractors are expected to complete repairs by Q2 2019.                In Progress
                                                             Conquest        Air Quality Systems (AAQS/EGCS) were taken out of service due to several
                                                                             sea water leaks from the DeSOx washing towers caused by acid corrosion and
                                                                             welding failure. The asset team is working on the repair action plan.
                                                                             Depending on availability, contractors are expected to be on board by Q2 2019
                                                                             to complete the repairs. In accordance with the recently completed AAQS
                                                                             reliability study, system components will be replaced with improved materials
                                                                             and welds repaired with enhanced procedures. With the ship’s third AAQS
                                                                             currently under maintenance, all AAQS are out of commission. MGO will be
                                                                             used in all ECAs. An entry was made in the NAPA eLog and an eNOA will be
                                                                             submitted before the next US port.
32.             01.02.2019     11.06.2018     HA Group       Seabourn        While the ship was alongside in Abu Dhabi, United Arab Emirates, the ship           The estimated lead time on delivery and installation is six months.     In Progress
                                                             Encore          experienced a malfunction of the incinerator. It was found that the gearbox
                                                                             was misaligned with the screw shaft, which appears to be a design flaw. The
                                                                             technical department onboard managed to complete temporary repairs and
                                                                             reinstate the incinerator. A permanent repair will require a new screw shaft,
                                                                             which is on order. A Guarantee Failure Report has been submitted.
                                                                             Temporary repairs have been completed. Lead time for the new screw shaft
                                                                             pends notification by the shipyard.
33.             01.02.2019     11.20.2018     HA Group       Maasdam         While the ship was alongside in Suva, Fiji, traces of oil were found in a ballast   A cleaning crew joined the ship on December 21, 2018. After the          In Progress
                                                                             water tank during a monthly inspection of the ballast water tanks. The tank         cleaning, repairs will be arranged and as well as the Class inspection.
                                                                             was empty and contained residual water with HFO contamination evident on            UPDATE: As a preventative measure, the company is evaluating
                                                                             the tank bulkheads. No immediate structural damage, cracks or pin holes were        whether to install an oil-in-water monitoring and detection system in
                                                                             found in the tank. The remaining tanks and ballast system are being inspected       the forward ballast tanks in order to detect ballast tank contamination.
                                                                             for contamination. No contamination of the aft ballast system or tanks was          The evaluation is expected to be completed by October 2019.
                                                                             noted. The forward section of ballast main has been blanked off to prevent
                                                                             discharge of tanks or further contamination risks. Details of tank discharge
                                                                             since the last inspection are being collated and an Oil Record Book entry has
                                                                             been made, along with notifications of the MARPOL Annex I violation to Flag
                                                                             and local authorities. The ship offloaded two-thirds of the tank contents in

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                                                                             Auckland. The remainder will be processed through the ship’s treatment plant.
                                                                             Until the tank is completely empty, a full inspection cannot be carried out to
                                                                             determine the source of the contamination. A further update will follow once
                                                                             available.
34.             01.02.2019     11.16.2018     CUK            Queen           While the ship was alongside in Southampton, an oil sheen was reported on the       As a preventative action, the existing oil in the starboard slewing        Complete
                                                             Victoria        aft starboard side of the ship. The oil sheen dispersed and no further sheen was    bearing housing will be replaced with grease, similar to the port
                                                                             observed. It was concluded that the oil sheen was generated as a result of          housing. Please note, after further review of the incident the ship
                                                                             maintenance on the starboard azipod slew bearing seal which required routine        confirmed the amount of oil lost. This accounts for difference in the
                                                                             greasing due to a recorded increase of oil loss through the seal (approximately     amounts reported in the email to the port authority sent at 1321 hours
                                                                             seven liters loss of oil over a four day period). The oil sheen resulted from 0.2   on November 16, 2018 and the incident report sent at 1718 hours later
                                                                             liters of oil being ejected from the seal as a result of the grease being pumped    that same day. Additionally, the initial report of a 3 cm loss (equating
                                                                             in. As a preventive action, the existing oil in the starboard slewing bearing       to 7 liters) does not appear to be correct. The ship conducted routine
                                                                             housing will be replaced with grease, similar to the port housing. Parts            maintenance on the pod on November 16, 2018 while alongside in
                                                                             required are on order. The MARPOL Annex I violation was reported to the             Southampton prior to the oil sheen from the estimated 0.2 liter oil loss
                                                                             port authorities via the local agent. An entry was made in the Oil Record           related to the grease being pumped into the seal. The preventative
                                                                             Book.                                                                               action remains in place and will be complete on delivery of the parts.
                                                                                                                                                                 Of note, no further leaks have been identified since the incident.
                                                                                                                                                                 Following further review, the ship will not utilize the grease used in
                                                                                                                                                                 the port side given the grease has a very high viscosity and cannot be
                                                                                                                                                                 treated to reduce water content. Additionally, it would be very
                                                                                                                                                                 difficult to remove once added and is not an EAL. As an alternative,
                                                                                                                                                                 the ship ordered a biodegradable EAL, the same lubricant that is in the
                                                                                                                                                                 ships propeller bearings and seals. This is scheduled for delivery in
                                                                                                                                                                 Singapore on March 24, 2019. An oil change of the system will be
                                                                                                                                                                 planned shortly thereafter. UPDATE: EAL grease has been applied to
                                                                                                                                                                 both slewing gears. Additionally, the crewmembers changed the oil in
                                                                                                                                                                 the system.
35.             01.02.2019     11.24.2018     CCL            Carnival        While the ship was transiting Bahamian archipelagic waters en route to Port         The RAAS-led investigation report and findings are pending.                In Progress
                                                             Conquest        Everglades, 258 cubic meters of ballast water were discharged in violation of       UPDATE: The final report is expected to be issued before March 1,
                                                                             the IMO Ballast Water Convention. Preliminary indications are that the              2019.
                                                                             EOOW failed to attend a meeting with the Bridge, failed to follow the
                                                                             instructions provided by the Bridge during the briefing at the start of the watch
                                                                             as well as the Chief Engineer’s standing orders and failed to inform the Bridge
                                                                             before conducting the discharge operation. After the initial report, it was
                                                                             disclosed by the EOOW that the Bridge OOW offered to cover up the
                                                                             occurrence and change the time and location of the discharge to indicate it had
                                                                             occurred in a permitted area. Approximately 10 minutes later, the Bridge
                                                                             OOW called the EOOW back, stating that he was going to report the violating
                                                                             discharge to the Staff Captain. The Bridge OOW made these communications
                                                                             from the Gyro room located inside the Bridge. This room is not fitted with
                                                                             VDR microphones. A RAAS-led investigation has been initiated.
36.             01.02.2019     11.17.2018     CCL            Carnival        While the ship was underway inside Mexican waters, approximately 45 cubic           At this time there is no further information. The entire hydraulic         Complete
                                                             Triumph         meters of pool water was discharged when a dumping valve did not close              system for controlling open/close will be replaced during drydock in
                                                                             completely. Although the pool forward pool was in recirculation mode, the           March 2019. UPDATE: All pool drain valves were replaced during
                                                                             forward pool dumping valve position was partially open due to debris in the         drydock.
                                                                             actuator and low hydraulic oil pressure. The valve was immediately closed
                                                                             manually. No manual overboard valve is fitted after the hydraulic pool
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                                                                             dumping valve. The violation of local regulations was reported to the
                                                                             Cozumel Harbor Master via the ship’s agent and was recorded in the NAPA
                                                                             eLog. After further investigation, it was noted that the failure was on the
                                                                             hydraulic oil distribution block. As a preventive measure, the entire hydraulic
                                                                             system for controlling open/close will be replaced during drydock in March
                                                                             2019.
37.             01.11.2019     12.08.2018     CCL            Carnival        During normal operation, the main drive shaft of the silo shredder was found       The delivery of the part is expected on January 28, 2019. UPDATE:         Complete
                                                             Inspiration     broken. The main drive shaft was recently repaired for the same issue. The         The silo conveyor is back in service and incinerator system is fully
                                                                             issue was caused by poor condition of the main drive shaft and this will not       operational.
                                                                             affect the new part. Delivery of the part has been expedited but the shredder
                                                                             continues to be out of service. There is no operational impact. An urgent
                                                                             order was submitted and the shaft should be delivered by January 2019. The
                                                                             silo system was put out of service. As a preventive measure, there will be a
                                                                             monthly check of the system during cleaning time.
38.             01.11.2019     09.30.2018     CCL            Carnival        While the ship was alongside in Baltimore, Maryland, crewmembers admitted          Upon return from vacation, the engineer will be interviewed regarding     In Progress
                                                             Pride           that they had been refilling the gravity tank of an azipod for two months          the incident and how the crewmembers determined the amount was
                                                                             without properly recording the operation and quantity of added oil in the Oil-     within the allowable amount. UPDATE: The engineer will be
                                                                             to-Sea-Interface (OTSI) Record Book. Roughly 122 liters of oil was added in        interviewed during the last week in February.
                                                                             the last two months, which is within the range approved by the manufacturer.
                                                                             The oil ended up in the sea as each OTSI system has an allowable amount of
                                                                             loss that is determined by the manufacturer. The oil used is not an
                                                                             environmentally acceptable lubricant so is not biodegradable. The amount
                                                                             leaked was within the allowable amount. No oil leakage was detected by
                                                                             divers during the Lloyd’s inspection on 21 September or during previous
                                                                             checks. The missing entries was due to an oversight by crewmembers. An
                                                                             entry was made in the Oil Record Book and further OTSI operations have been
                                                                             properly recorded. As a preventive action, all engineers involved in OTSI
                                                                             record keeping were retrained. While the engineer was trained on 27 July and
                                                                             checks were taking place weekly, the engineer was using a separate form to
                                                                             track the gravity tank activity. The engineer responsible had signed off the day
                                                                             after this was discovered which did not allowing for proper questioning about
                                                                             his personal disregard of the policy. Additionally, there was no historical data
                                                                             that would imply that there was an issue with the system so it would not have
                                                                             flagged as an issue that would have caused further investigation.
39.             01.11.2019     10.12.2018     CUK            Aurora          Following the previous incident of a high exhaust gas boiler (EGB) outlet          The request for the software update that would allow the low flow         In Progress
                                                                             temperature on a diesel generator (DG) and a small fire inside, the EGB was        alarm to activate regardless of valve control is pending due to further
                                                                             soot blown several times to clear and reduce the high temperatures. During         discussions with EcoSpray. In the meantime, crewmembers are noting
                                                                             this time two racks were closed as normal practice. The engine was restarted       in the watch handover log when valves are opened and closed for soot
                                                                             with EGCS back in operation. Due to human error and a lapse of                     blowing. UPDATE: EcoSpray have not agreed to the proposal given
                                                                             concentration the SEOOW did not reopen the rack valves when restarting the         any change to the software would be implemented across all
                                                                             DG or EGCS. Therefore for a period of eight hours there was no monitoring          installations. CUK will continue discussions with Eco Spray. In the
                                                                             of ECGS washwater PAH/turbidity and PH. The investigation found that as            meantime, local mitigation is in place to avoid a repeat incident.
                                                                             well as the oversight, when the valves are in manual control from the EGCS
                                                                             panel, the system does not alarm on Ecospray or IMAC for any low flow
                                                                             which would have indicated the loss of monitoring. As a corrective action for
                                                                             the oversight, watchkeepers will record soot blowing in the handover book and
                                                                             specifically state that racks were closed as a reminder during the handover to
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                                                                             check that they are now open. As a further preventative action a request has
                                                                             been made for a software update that would allow the low flow alarm to
                                                                             activate regardless of valve control. The incident falls under ‘E3.8 - Liquid
                                                                             Discharges: Non-Compliant EGCS Washwater (pH, PAH, Turbidity)’ which is
                                                                             a ‘complete failure or prolonged exceedance of limits of one or more of the
                                                                             regulated water sensor parameters of pH, PAH (differential), or turbidity
                                                                             (differential), which the ship has been unable to correct after six hours’. As
                                                                             ship does not know whether it exceeded the parameters during the eight hour
                                                                             period, the incident could be recorded as an event or as a near-miss.
40.             01.25.2019     12.15.2018     CUK            Queen           Due to the port Membrane Bio-Reactor (MBR) being out of commission and               After clearing starboard MBR pipework blockage, the MBR is back in      Complete
                                                             Victoria        the starboard MBR having pipe blockages, these issues, compounded by bad             service. The port MBR is remains out of service. The ship received
                                                                             weather, caused the level of the MBR buffer tank to come into high level.            the necessary parts on January 10, 2019; however issues persist with
                                                                             After exploring all options, and to prevent overflow on board the ship, it was       the PLC working correctly on the port MBR screen press. Ship’s staff
                                                                             decided to discharge the buffer tank overboard. The buffer tank is mainly            are currently attempting to configure this to work, but may need
                                                                             untreated sewage from the Evac units. Approximately 10 cubic meters of               further assistance from Wartsila (Hamworthy). UPDATE: The MBR
                                                                             sewage was discharged 79 nautical miles from the nearest baseline, in violation      screen press was fitted on March 17, 2019.
                                                                             of Company and CLIA policy. The Grey Water / Black Water Log was
                                                                             updated to reflect the event. The ship is awaiting the full report from the
                                                                             technician who attended the ship 13 - 19 December to carry out service and
                                                                             repair of the Port MBR unit. The parts brought were not programmed
                                                                             correctly, therefore the technician will need to return and replace with correctly
                                                                             programmed data. Additional parts are scheduled for delivery by 10 January
                                                                             2019. Once on board, the unit should be available after a few hours
                                                                             maintenance. Also recorded as a Pollution Prevention Equipment Failure.
41.             01.25.2019     12.14.2018     HA Group       Sea Princess    While the ship was underway towards Willis Island, Australia, 30 liters of           To prevent recurrence, all group ships received an industrial wet-vac   Complete
                                                                             water mixed with approximately 0.1 liters of internal use-approved chemical          for quick and efficient flood response.
                                                                             went overboard through a deck scupper. This incident occurred when, due to a
                                                                             flood in the Passenger Library caused by heavy weather, the accommodation
                                                                             team used shampoo/vacuum cleaners to collect the flood water and poured the
                                                                             waste down an outside deck scupper. The machines were previously used to
                                                                             shampoo carpets and the cleaner residue was washed out with the collected
                                                                             water when emptied. When the Manager witnessed this, operations were
                                                                             halted. Based on a review of the chemical properties of the carpet shampoo,
                                                                             this was not a conflict with MARPOL Annex V requirements, nor does the
                                                                             shampoo contain MARPOL Annex III hazardous substances. However, there
                                                                             is no specific statement that the chemical is MARPOL compliant and so the
                                                                             potential MARPOL Annex V violation was recorded in the Garbage Record
                                                                             Book. No report to local authorities was required because the ship was in
                                                                             international waters. Once the operation was stopped, the remaining water was
                                                                             taken to the garbage room and disposed through the grey water system, which
                                                                             is the usual routine for diluted carpet cleaning soaps. To prevent recurrence,
                                                                             all group ships will be supplied with at least one industrial wet-vac exclusively
                                                                             for quick and efficient flood response. This equipment is not equipped with
                                                                             tanks for cleaning product, so cannot be used for the cleaning of carpet, just the
                                                                             efficient evacuation of water. The fleet is expected to receive their wet-vac no
                                                                             later than the end of February 2019.

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                                                Group
42.             02.12.2019     12.24.2018     CCL            Carnival        During the monthly test of the Oily Water Separators (OWS) and Oil Content         Crewmembers rectified the issue and returned the system to service.   Complete
                                                             Liberty         Meters (OCM), a large water leak was experienced from an OWS steam heater          The delivery of the spare steam heater is pending. UPDATE: The
                                                                             body. The OWS is out of service. The cause of the leak is under investigation      steam heater was installed and the subject OWS is back in service.
                                                                             but is suspected to be caused by a crack on the steam heater body. As the part
                                                                             is not on the critical spare parts list (not a commonly replaced/damaged item) a
                                                                             new steam heater was requested, approved for air freight and is expected to
                                                                             arrive onboard within 10 days. Maintenance of the damaged steam heater is in
                                                                             progress. There was no operational impact as the ship’s other OWS is
                                                                             operational. An entry was made in the NAPA eLog.
43.             02.12.2019     11.25.2018     CCL            Carnival        While the ship was underway and discharging processed bilge water, the             The cell was replaced and the BCDB is back in service.                Complete
                                                             Splendor        quantity of water discharged per the tank sounding and the monitoring system
                                                                             differed by five cubic meters due to a malfunction of the monitoring system
                                                                             counter. The BCDB was set out of service and a spare counter was ordered
                                                                             because one was not available on board. As a preventive measure, tests and
                                                                             maintenance will continue to be carried out as per the Planned Maintenance
                                                                             System and as required per the ECP. There was no operational impact as the
                                                                             ship had a second BCDB available. Entries were made in the Oil Record Book
                                                                             and NAPA eLog.
44.             02.12.2019     12.30.2018     CCL            Carnival        On 01 January 2019, during a discussion with the Environmental Team Leader         The Carnival Horizon Modification Proposal has been submitted to      Complete
                                                             Horizon         (ETL), the EO was made aware of an overflow of waste water from the food           Lloyds and is still under evaluation. If approved, the plan will be
                                                                             waste discharge system in the Incinerator Room that occurred on 30 December        adopted for Carnival Vista. UPDATE: The proposal is not feasible
                                                                             2018. The ETL advised the EO that the floor was cleaned and the water was          because the event line cannot be modified without the risk of a
                                                                             collected in bins and returned to the food waste tank via the manual feeding       possible obstruction causing dangerous tank expansion. Therefore,
                                                                             station located in the Garbage Room. The cleaning was undertaken by the            the vessel has implemented a permanent bin to collect any possible
                                                                             Environmental Technician (ET) and ETL. The floor of the incinerator room is        food waste overflow
                                                                             a tank top and is considered as a bilge space, additionally the floor of the
                                                                             incinerator room drains directly into the bilge wells. CCTV footage was
                                                                             reviewed and it was noted that the ET and ETL cleaned the floor in the
                                                                             Incinerator Room by sweeping the water and collecting it in two plastic bins.
                                                                             A shipboard investigation was initiated as directed by the Environmental
                                                                             Compliance Director. The involved crewmembers were interviewed and it
                                                                             was identified that this type of overflow happens periodically during food
                                                                             waste discharges and is normally collected in plastic bags which prevents it
                                                                             from touching the floor. The water is then transferred directly back to the food
                                                                             waste system. However, on this occasion, the plastic bag broke and the waste
                                                                             water spilled on the floor. The crewmembers involved in the cleaning
                                                                             operation did not consider the water as bilge water as the floor of the
                                                                             incinerator room was clean and free of oil. The ETL and ET stated that
                                                                             approximately 100 liters of water were collected from the floor. The
                                                                             remaining water was collected directly from the overflowing pipe, without the
                                                                             liquid touching the floor. The MARPOL Annex I violation was entered in the
                                                                             Oil Record Book to account for the 100 liters of water from the floor that was
                                                                             disposed of overboard via the food waste system. All the discharges were
                                                                             conducted in international waters. The ship’s Flag Administration was
                                                                             notified. A retraining session will be conducted with all the Engine and Deck
                                                                             Team Members working in the respective area, to reiterate that any water
                                                                             touching tanks tops is considered as bilge water. All such overflows shall be
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                Notification     Incident        Line /                                                                                                                                                                                Action Plan
                                                 Group
                                                                             also reported to the ECR and logged in the NAPA log. The overflow pipe will
                                                                             be rerouted to a containment drum so any overflow of water will not touch the
                                                                             tank top. The respective area will be marked as “BILGE SPACE” and a notice
                                                                             will be posted explaining that any liquid touching the floor in the area will
                                                                             have to be processed as bilge water. The possibility of modifying the system’s
                                                                             design to avoid future overflows will be assessed by the Chief Engineer. Other
                                                                             sister ships are being surveyed to check if similar layouts exist.
45.             02.12.2019     12.23.2018     CCL            Carnival        While the ship was underway in international waters, sea water was noted to be     The Company received the sample and are determining preventative       In Progress
                                                             Fantasy         overflowing from a ballast water tank top into the ship’s bilge. It was            actions.
                                                                             suspected that the overflow was from a small crack on the tank top caused by
                                                                             corrosion. If water leaked into the ballast tank, it came through the crack in
                                                                             the tanktop, but the water that leaked into the bilge during this specific
                                                                             overflow was the only water in the area as normally the bilge in question is
                                                                             dry. Approximately 100 liters spilled into the bilge before crew deployed rags
                                                                             and absorbent pads and collected the water in buckets. The ballast tank was
                                                                             full of water and needed to be lowered in order to perform a repair.
                                                                             Accordingly, five cubic meters of sea water was released back into the sea.
                                                                             Because it is possible that water went back into the tank after touching the
                                                                             bilge, the water discharged could potentially have been contaminated with
                                                                             bilge water. This potential MARPOL Annex I violation was recorded in the
                                                                             Oil Record Book, Ballast Water Record Book (to account for ballast water
                                                                             movements), and NAPA eLog. Offload of the remaining ballast water in the
                                                                             tank was arranged However, due to time constraints, the entire quantity could
                                                                             not be offloaded and about 40 cubic meters remained in the tank. The
                                                                             remaining quantity was distributed to the bilges and processed as bilge water
                                                                             before discharge overboard. A sample from the tank was taken for laboratory
                                                                             analysis. Depending on the analysis. [sic] further notifications may be
                                                                             necessary. A Classification Surveyor boarded the ship on 24 December and
                                                                             issued a Condition of Class (CoC) for the tank. The ship made a temporary
                                                                             repair and the CoC remains. The ship’s Flag Administration was notified of
                                                                             the incident.
46.             02.12.2019     12.19.2018     HA Group       Emerald         While the ship was alongside in Los Angeles, CA, 2.5 cubic meters of Jacuzzi       The shoreside technical team is discussing solutions with the ship’s   Complete
                                                             Princess        recreational water were accidentally discharged overboard after a component        crew regarding the feasibility of changing the timer configuration
                                                                             failed during a power change-over following scheduled maintenance. The             versus manual overboard discharge. UPDATE: All vessels have
                                                                             timer failed during the power change-over which energized the solenoid             reverted to manual operation. Some vessels installed a key on the
                                                                             dumping valve, causing it to open and discharge the Jacuzzi contents. The          control cabinet to over-ride the timer while others installed manual
                                                                             violation of the EPA Vessel General Permit (VGP) was recorded in the VGP           valves to prevent any accidental discharges.
                                                                             Log Book and was reported to the EPA by the shoreside Environmental
                                                                             Department. This event will also be included as a non-compliant event in the
                                                                             ship’s annual VGP report. The timer has been replaced to ensure compliance
                                                                             with USPH requirements. To prevent recurrence of the incident, the shoreside
                                                                             technical team is reviewing the feasibility of changing the timer configuration
                                                                             and running tests under various scenarios on 03 January. Depending on the
                                                                             results, the shoreside technical team will either implement the proposed change
                                                                             throughout the fleet or develop and test an alternative method to prevent future
                                                                             similar incidents.

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                Notification     Incident       Line /                                                                                                                                                                                     Action Plan
                                                Group
47.             02.26.2019     01.05.2019     HA Group       Caribbean       While the ship was underway, issues were experienced with the static Oily             The spare parts were delivered and installed on January 26, 2019. The   In Progress
                                                             Princess        Water Separator (OWS). The second stage filtration was opened and the                 Level 3 Investigation is pending and expected to be completed before
                                                                             polishing filter was found missing, in violation of the approval certificate. The     the end of March 2019.
                                                                             Chief Engineer and Captain were informed, and the OWS isolated. The BCDB
                                                                             worked as designed and no non-compliant discharge occurred at any time. The
                                                                             ship will use its centrifugal OWS for processing/discharging and will offload
                                                                             bilge ashore when needed until the issue is resolved. An entry was made in the
                                                                             Oil Record Book. The initial review shows that a quarterly routine work order
                                                                             for the absorber filter element renewal/check was removed from this ship’s
                                                                             planned maintenance database in 2010 via a change request but is still active
                                                                             on all other group ships. It is unknown why the work order was removed. The
                                                                             ship previously reported issues with back pressure and that could be a
                                                                             contributing factor in why the filter elements were removed. The shoreside
                                                                             technical team is working with the OWS manufacture on the safety valve
                                                                             setting which could be set too low. Additionally, the shoreside technical team
                                                                             engaged with all ships in the fleet. Two further ships reported filter elements
                                                                             missing which have since been restored. All other ships confirmed that their
                                                                             filter elements were in place. The ship is awaiting delivery of parts required
                                                                             for the absorber filter and the static OWS remains isolated until the spare parts
                                                                             are received. A Level 3 Investigation is underway and the circumstances of
                                                                             the incident continue to be reviewed to identify the cause.
48.             02.26.2019     01.04.2019     CUK            Aurora          While underway, the starboard stern shaft bearing temperature increased above         Divers attended the ship in Barbados on January 25, 2019, and           Complete
                                                                             its normal operating threshold. Speed on the starboard shaft was reduced              replaced the damaged clamp ring to prevent further damage to the
                                                                             which reduced the temperature. Investigation determined an oil spillage               stern seal. Damage to bolts in seal face require a 48 hour alongside
                                                                             around the stern tube header tank and that the stern seal was leaking. A dive         repair to reestablish integrity of the outer seal. The Company is
                                                                             inspection was conducted on 07 January. The outer seal remains compromised            looking at options with OEM to complete the repair within next
                                                                             with damage to the bellows and clamping ring arrangement identified by the            month. EAL loss is approximately 10 liter a day. Flag and Class
                                                                             divers, which is causing the header tank acting on the lip seal void space to         remain informed. UPDATE: The seal was replaced during drydock.
                                                                             lose oil. The inner lip seals remain functional. The ship’s Classification
                                                                             Society and Flag Administration have been informed. Ship staff are
                                                                             monitoring stern bearing temperatures and header tank level pressures closely
                                                                             to maintain seal pressure with minimal oil consumption. There is a procedure
                                                                             in place on board to close the oil supply to lip seals when the shaft is stationary
                                                                             in port. Additionally a new header tanks will be installed just above the water
                                                                             line to limit leakage. The ship has sourced suitable environmentally acceptable
                                                                             lubricating oil for the header tank and system in the interim. The current leak
                                                                             rate is 30 liters per day. The Oil to Sea Interface log has been updated. The
                                                                             MARPOL Annex I violation is being recorded as a daily total in the Oil
                                                                             Record Book. Repairs to the bellows and clamp will be undertaken on receipt
                                                                             of stores. The impact on the current itinerary has been minimized. Also
                                                                             recorded as a Partial loss of propulsion.
49.             03.05.2019*    03.03.2019     HA Group       Caribbean       During the handover period, a newly joined EO noticed that six signatures in          The Level 3 investigation report is under review by IAG and HA          In Progress
                                                             Princess        the Hazardous Waste Log for disposals on 25 November 2018 were not his                Group.
                                                                             signature. The EO in Charge, Chief Engineer, Staff Chief Engineer and
                                                                             Captain were immediately informed. The initial review revealed that the waste
                                                                             disposal supervisor was unaware of the six signatures accompanying the date

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                Notification     Incident        Line /                                                                                                                                                                                    Action Plan
                                                 Group
                                                                             and port disposal entries made by a crewmember. RAAS is investigating the
                                                                             matter. Initial interviews have been completed.
50.             03.05.2019*    01.31.2019     HA Group       Caribbean       While the ship was alongside in Basseterre, St. Kitts, the static Oily Water       The unit is in service. The OWS was out of service from 19:37 hours        Complete
                                                             Princess        Separator (OWS) was found to be malfunctioning due to a leak drawing air           on January 31, 2019, to 14:30 hours on February 6, 2019.
                                                                             into the system and erratic pressure fluctuation of the three-way valve. The
                                                                             OWS remains out of service. Multiple sections of suction pipework are being
                                                                             fabricated to effect repairs. The centrifugal OWS is in operation and is
                                                                             functioning properly. Testing on the repaired static OWS will begin on 06
                                                                             February. An entry was made in the Oil Record Book.
51.             03.05.2019*    02.02.2019     HA Group       Diamond         While the ship was alongside, the communication cables between ECR and             The damaged cables were replaced, however the issue was not                Complete
                                                             Princess        incinerator room were damaged by contractors working on the Advanced Air           immediately resolved. The ship’s superintendent was embarked and
                                                                             Quality System (AAQS/EGCS) installation, which impacted the functionality          engaged with the Technical Team in troubleshooting. The initial
                                                                             of the incinerator, chute overboard valve and pulper system. The damaged           indications pointed towards a software issue, however, once the
                                                                             cables were replaced, however the issue was not immediately resolved. The          system was reset and restarted, the system came back to normal
                                                                             ship’s superintendent was embarked and engaged with the Technical Team in          operations. It was not possible to determine the cause of failure.
                                                                             troubleshooting. The initial indications pointed towards a software issue,         Waste offload is presently arranged for the next two port calls and will
                                                                             however, once the system was reset and restarted, the system came back to          be used as needed.
                                                                             normal operations. It was not possible to determine the cause of failure.
                                                                             Waste offload is presently arranged for the next two port calls and will be used
                                                                             as needed. The system was inoperable for five days.
52.             03.05.2019*    01.27.2019     CCL            Carnival        While the ship was underway in the North American Emission Control Area, a         CCL is evaluating the actions taken during the incident and the            In Progress
                                                             Miracle         fire in the incinerator silo and the consequent suppression release flooded the    physical arrangement on the position of the nozzles and control panels.
                                                                             main panel in the incinerator room and caused a shutdown of the three
                                                                             Advanced Air Quality Systems (AAQS/EGCS) that were running at that time,
                                                                             due to a loss of communication. The Compliance Computer lost
                                                                             communication with the system as well. The diesel generators running on
                                                                             AAQS were changed over to MGO. The ship is unable to establish exactly
                                                                             how long it took to changeover to MGO once the AAQSs shut down because
                                                                             the compliance computer was out of service. As a preventive measure, the
                                                                             ship will look into ways to protect all the AAQS components from water in a
                                                                             case of similar suppression system release. Entries were made in the NAPA
                                                                             eLog. The AAQS systems, including compliance computer, were back in
                                                                             operation 29 January. The incident is under review for fleetwide prevention.
                                                                             Also recorded as an Other Fire.
53.             03.05.2019*    01.25.2019     HA Group       Golden          While the ship was alongside in Adelaide, Australia, an Advanced Air Quality       The replacement inverter was installed on March 23, 2019. The              Complete
                                                             Princess        System (AAQS/EGCS) tripped and was taken out of service due to a failure of        system was returned to service.
                                                                             the main sea water pump. Upon review, it was established that the two fuses
                                                                             for the sea water pump had burned out due to an unknown reason. Spare fuses
                                                                             were not available onboard as the fuses are not in the recommended spare parts
                                                                             list, and are specific to the breaker. Spare fuses were ordered and received on
                                                                             board on 28 January. Two fuses were replaced but also burned out while the
                                                                             AAQS was off. Engineers are investigating the issue and suspect a
                                                                             malfunctioning inverter is to blame. The AAQS remains out of service but
                                                                             there has been no operational impact. The AAQS will be required by 15
                                                                             February when the ship nears Fiordland, New Zealand. Investigation and
                                                                             repairs continue at this time. An entry was made in the EGCS Log.

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                Notification     Incident        Line /                                                                                                                                                                                   Action Plan
                                                Group
54.             03.05.2019*    01.24.2019     Costa Group    Costa           While the ship was underway, the onboard garbage compactor was not                  The spare part was delivered and the compactor is now fully              Complete
                                                             Deliziosa       operating efficiently due to the failure of the main compressing plate. The         operational.
                                                                             garbage compactor was taken out of service. There is some operational impact
                                                                             as, without the ability to compact, garbage volume will increase and more
                                                                             space will be required in the ship’s marshalling area before landing ashore.
                                                                             Spare parts have now arrived on board and repairs are expected to be
                                                                             completed by 30 January.
55.             03.05.2019*    01.21.2019     HA Group       Amsterdam       While the ship was underway towards Port Everglades, FL, the incinerator was        Repairs have been made by the ship using fabricated parts to allow the   Complete
                                                                             put out of service due to a leaking ram and several damaged rollers. The            incinerator to be put back in service. A purchase order for original
                                                                             damages were identified as normal wear and tear of the system. Due to this,         spares is in place. The incinerator was put back in service on 26
                                                                             the ship was unable to process onboard shredded waste, therefore, such waste        January.
                                                                             was stored and offloaded ashore as necessary. Repairs have been made by the
                                                                             ship using fabricated parts to allow the incinerator to be put back in service. A
                                                                             purchase order for original spares is in place. The incinerator was put back in
                                                                             service on 26 January. An entry was made in the NAPA logbook.
56.             03.05.2019*    01.21.2019     CCL            Carnival        The incinerator was placed out of service because the flue gas fan electric         The spare part was available on board and the incinerator was put back   Complete
                                                             Victory         motor burned out. The spare part was available on board and the incinerator         in service on 23 January.
                                                                             was put back in service on 23 January. There was no operational impact. An
                                                                             entry was made in the NAPA eLog.
57.             03.05.2019*    01.18.2019     CUK            Queen           The ship was underway outside an emission control area (ECA) and running            Flow of the dilution pump was increased and the alarm cleared. Hours     Complete
                                                             Victoria        three Diesel Generators (DG), including one DG with an Advanced Air                 later, the same alarm appeared and the AAQS engineer was called to
                                                                             Quality System (AAQS/EGCS). The Senior EOOW received a PAH                          investigate. The probe was cleaned and flushed and the alarm cleared
                                                                             differential high alarm on the AAQS panel. Flow of the dilution pump was            but it activated again later. The ship changed over to MGO and the
                                                                             increased and the alarm cleared. Hours later, the same alarm appeared and the       affected DG and AAQS were stopped before entering the North
                                                                             AAQS engineer was called to investigate. The probe was cleaned and flushed          American ECA. A second DG is also unavailable because it is being
                                                                             and the alarm cleared but it activated again later. The ship changed over to        overhauled. With only one DG with AAQS available, additional
                                                                             MGO and the affected DG and AAQS were stopped before entering the North             MGO consumption was anticipated. No non-compliance occurred so
                                                                             American ECA. A second DG is also unavailable because it is being                   there was no requirement to notify any agency or authority. The PAH
                                                                             overhauled. With only one DG with AAQS available, additional MGO                    sensor was replaced with a spare unit onboard. The system was tested
                                                                             consumption was anticipated. No non-compliance occurred so there was no             satisfactorily on 28 January and the AAQS is now back in service.
                                                                             requirement to notify any agency or authority. The PAH sensor was replaced          The AAQS manufacturer has been advised. Annual calibration of all
                                                                             with a spare unit onboard. The system was tested satisfactorily on 28 January       water racks was completed in September 2018.
                                                                             and the AAQS is now back in service. The total time out of service was 40
                                                                             hours. The AAQS manufacturer has been advised. Annual calibration of all
                                                                             water racks was completed in September 2018.
58.             03.05.2019*    01.16.2019     HA Group       Zuiderdam       While the ship was alongside in Port Everglades, FL, an Advanced Air Quality        The repairs are complete and the AAQS is back in service.                Complete
                                                                             System (AAQS/EGCS) was shut down because the stack heating coils were
                                                                             out of order due to a broken temperature controller. The heating coils
                                                                             reduce/prevent carry-over effects, reducing damage to open deck areas. The
                                                                             system remains offline, and the ship will use MGO as necessary until the parts
                                                                             are delivered around 15 February and installed. The parts were not previously
                                                                             kept onboard as they are not deemed critical to run the AAQS.
59.             03.05.2019*    01.21.2019     HA Group       Amsterdam       While the ship was underway in the Wider Caribbean Region (WCR), the ship           The investigation concluded the following causes contributed to the      Complete
                                                                             discharged 1.98 cubic meters of non-comminuted food waste because the 25            event: loss of situational awareness, non-compliance with procedures,
                                                                             millimeter grid was missing from the chute. The WCR is a MARPOL Annex               ineffective/imprecise communications between functional teams, and
                                                                             V Special Area which prohibits the discharge of non-comminuted food waste.          system design. Based on the investigation’s recommendations, the

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                Notification     Incident        Line /                                                                                                                                                                                    Action Plan
                                                 Group
                                                                             The grid had been removed from the chute previously to allow the authorized        ship is utilizing the new HA Group environmental schedule to ensure
                                                                             discharge of non-comminuted waste before the ship entered the WCR.                 compliance with ENV-1001 and ENV-1002. The schedule has been
                                                                             Replacement of the 25 millimeter grid was overlooked. The MARPOL Annex             uploaded into Global HESS and formalized into procedure. Further, a
                                                                             V violation was recorded in the Garbage Record Book and was reported to the        lock controlled by the EO has been added to the grating to prevent the
                                                                             ship’s Flag Administration and the Port Everglades port agent. The OLCM            discharge of non-compliant food waste. Locks have been added to
                                                                             was notified and a Level 3 investigation is ongoing. Preliminary information       other ships with similar hatch/gate arrangements. Additionally, a
                                                                             indicates the environmental schedule was developed correctly by the EO and         protocol for communications relating to environmental discharges
                                                                             Voyage Planning Officer. Preventative actions will be developed at the             have been integrated in to ERM/BRM at CSMART.
                                                                             conclusion of the investigation when contributory and root causes have been
                                                                             identified.
60.             03.05.2019*    01.21.2019     CCL            Carnival        While the ship was alongside in Galveston, TX, oily sludge spilled into the sea    Ship’s crew shut off the transfer pump and closed the valve on the         Complete
                                                             Valor           during sludge transfer to a truck because the third party truck driver did not     delivery line. The truck driver and a group of crewmembers began
                                                                             check the level in the truck’s tank and promptly advise the ship to stop the       containing the spill using absorbent pads and the ship’s spill kit. Most
                                                                             transfer. The oiler who was standing by the shell door observed when the oily      of the oily sludge was contained on the pier, but approximately four
                                                                             sludge started leaking through the top hatch of the truck. Ship’s crew shut off    gallons entered the water between the ship’s side and the pier. A
                                                                             the transfer pump and closed the valve on the delivery line. The truck driver      cleaning squad arrived on the scene, took over the cleaning of the site,
                                                                             and a group of crewmembers began containing the spill using absorbent pads         and completed the cleaning before the ship’s departure. As a
                                                                             and the ship’s spill kit. Most of the oily sludge was contained on the pier, but   preventive measure, a communication was sent to the vendor and the
                                                                             approximately four gallons entered the water between the ship’s side and the       vendor has confirmed that it was internally addressed.
                                                                             pier. A cleaning squad arrived on the scene, took over the cleaning of the site,
                                                                             and completed the cleaning before the ship’s departure. The MARPOL Annex
                                                                             I violation was recorded in the NAPA eLog and Oil Record Book. The
                                                                             Terminal Manager, U.S. Coast Guard, National Response Center and Texas
                                                                             General Land Office were notified. As a preventive measure, a
                                                                             communication was sent to the vendor and the vendor has confirmed that it
                                                                             was internally addressed.
61.             03.05.2019*    01.10.2019     HA Group       Star Princess   While the ship was en route to Ushuaia, Argentina, the ship was discharging        The Level 3 investigation revealed that the following factors led to the   Complete
                                                                             treated sewage in line with ENV-1001 requirements for Chile. During this           incident: 1) deviation from the planned itinerary due to weather; 2)
                                                                             passage, the track crossed into Argentinian waters before crossing back into       non-compliance with ENV-1002 (communications and verification of
                                                                             Chilean water. Approximately one cubic meter of treated sewage was                 vessel location) and MAR-1201-F6 (watch hand over briefing); and 3)
                                                                             discharged while the ship was in Argentinian waters within three nautical          limitations with the environmental schedule (static versus dynamic).
                                                                             miles of land. The incident was discovered when conducting the voyage              Following the incident, a new version of the HA Group environmental
                                                                             overview for a subsequent cruise. The violation of Argentinian environmental       schedule template was issued to the fleet by email. The schedule is by
                                                                             requirements, MARPOL Annex IV, and Company Procedures was recorded in              waypoint instead of time and therefore should not be affected by
                                                                             the NAPA eLog. The Argentinian authorities are being notified. The incident        itinerary delays. Further, it has been reiterated with all relevant crew
                                                                             was not discovered onboard until 25 January when conducting a subsequent           the importance of checking the environmental schedules, tracks, and
                                                                             voyage plan. An ongoing Level 3 investigation was initiated. The track was         limits for all discharges.
                                                                             planned through Argentinian waters, however, the ship missed the prior port
                                                                             call due to severe weather. The transit was conducted earlier than expected,
                                                                             and a longer overnight stay was required in the next port requiring maximum
                                                                             holding capacity. There is no ECDIS for the area and paper charts are used
                                                                             along with radar. The cause of the incident appears to be improper discharge
                                                                             planning, however, the investigation is ongoing and the Environmental
                                                                             Schedule is being reviewed. Preventative actions may include reference to an
                                                                             Operational Directive covering best practices which was issued after the
                                                                             incident took place, as well as additional guidance for planning overboard
                                                                             discharges when paper charts are required.
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62.             03.05.2019*    01.30.2019     CCL            Carnival        While the ship was at anchor in Half Moon Cay, the main pool was reported          There was another partial dumping of Main Pool on February 15,             Complete
                                                             Elation         empty. The issue is under investigation. It is expected that an issue in the       2019. Further review revealed the main pool filling pump check valve
                                                                             electrical system caused the pool to dump into the sea. The main pool was          spring was broken. Crewmembers installed a new valve.
                                                                             refilled and set in automatic recirculation mode. The pool level did not
                                                                             decrease over the following eight hours, suggesting that the valves are holding.
                                                                             The Island Manager was informed of the discharge.
63.             03.05.2019*    01.27.2019     HA Group       Coral           While the ship was in dry dock in Freeport, Bahamas, a crewmember was              The line was flushed and the drum was emptied and cleaned before the Complete
                                                             Princess        disposing of a bucket of oily liquid, collected from the elevator pit, into the    system was put back in service. The crewmember was given
                                                                             crew area wash sink drain. The EO and Senior First Engineer contained the          additional training by the EO on the proper disposal of bilge water. To
                                                                             contamination from spreading to the grey water system. The seldom used sink        prevent recurrence and foster an environment of continuous
                                                                             drains into a plastic drum which is part of the bilge water accumulation           improvement, all technical personnel receive reoccurring training and
                                                                             reduction arrangement and is included in the Vulnerability Assessment. The         guidance in all facets of environmental stewardship including ECN’s,
                                                                             plastic drum collects the water from the sink and, via automatic submersible       Case Studies and discussions during meetings. An entry in the Critical
                                                                             pump, periodically transfers the water collected to the grey water system. The     Valves and Tank Hatches Lock log was made. No entry was made in
                                                                             submersible pump was put in “stop” mode to prevent automatic start. The            the Oil Record Book as the ship is in dry dock.
                                                                             water level in the drum indicated that no discharge took place between the
                                                                             liquid disposal and the pump inhibition. The line was flushed and the drum
                                                                             was emptied and cleaned before the system was put back in service.
                                                                             Approximately five liters of water was transferred to the bilge system and
                                                                             processed as bilge water. The crewmember was given additional training by
                                                                             the EO on the proper disposal of bilge water. To prevent recurrence and foster
                                                                             an environment of continuous improvement, all technical personnel receive
                                                                             reoccurring training and guidance in all facets of environmental stewardship
                                                                             including ECN’s, Case Studies and discussions during meetings. An entry in
                                                                             the Critical Valves and Tank Hatches Lock log was made. No entry was made
                                                                             in the Oil Record Book as the ship is in dry dock.
64.             03.05.2019*    01.24.2019     CCL            Carnival        While the ship was alongside in Cozumel, Mexico, one bucket of distillate          As a preventive measure, crewmembers receive TRG-2309 training in          Complete
                                                             Fantasy         water was put in the overboard drain by the Refrigeration Officer by mistake.      which the importance of following the correct procedures related to
                                                                             The Refrigeration Engineer was aware that distilled water was in the bucket        the environment is emphasized.
                                                                             and decided to pour in the drain as he did not see any visible trace of oil or
                                                                             chemical. This job was not discussed prior to being carried out, however the
                                                                             crewmember received training as per TRG-2309. No oil or chemicals were
                                                                             present in the bucket. The incident was reported to the port agent. As a
                                                                             preventive measure, crewmembers receive TRG-2309 training in which the
                                                                             importance of following the correct procedures related to the environment is
                                                                             emphasized.
65.             03.05.2019*    01.22.2019     CCL            Carnival        While the ship was underway to Cozumel, the ship experienced a partial power       The company reviewed the possibility of installing a fail safe to ensure   Complete
                                                             Valor           outage which prevented the main pool valve from being operated. The system         the pool switches to recirculation mode during a blackout and
                                                                             remained on sea-to-sea mode as the ship’s speed dropped below six knots.           concluded that due to safety reasons, this could not be done.
                                                                             Approximately five cubic meters of pool water were discharged into the sea in
                                                                             violation of company policy. The switch panel of the main pool remained with
                                                                             no power and it was not possible to switch to recirculation mode. The
                                                                             overboard valve was closed manually and the compensation tank valve was
                                                                             opened to simulate the recirculation arrangement. As a preventative measure,
                                                                             the possibility of installing a fail safe to ensure the pool switches to
                                                                             recirculation mode during a blackout is being reviewed. An entry was made in
                                                                             the NAPA eLog.
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                                                Group
66.             03.05.2019*    01.21.2019     CUK            Ventura         While the ship was alongside in Tobago, the EO witnessed a crewmember              The EO stopped the operation after the first bucket was poured. There     Complete
                                                                             pouring a bucket of approximately 10 liters of a used Virox sanitizing solution    were six further buckets of used Virox that the crewmember intended
                                                                             into an open drain in a trolley wash area. The EO stopped the operation after      to dispose down the drain. The involved crewmember was spoken to
                                                                             the first bucket was poured. There were six further buckets of used Virox that     regarding their actions. The ECR was informed and the scupper drain
                                                                             the crewmember intended to dispose down the drain. The supervisor was in           was traced to a ballast/grey water tank. This tank was quarantined
                                                                             attendance, but had their back turned to the crewmember at the time of the         pending advice on appropriate action. The OLCM advised that there
                                                                             incident. The crewmember involved was aware of the correct procedure, but          was no reason that the contents of the tank could not be discharged as
                                                                             did not follow it. The involved crewmember was spoken to regarding their           grey water. The ship waited until outside the Wider Caribbean Area
                                                                             actions. The ECR was informed and the scupper drain was traced to a                and then discharged the tank contents.
                                                                             ballast/grey water tank. This tank was quarantined pending advice on
                                                                             appropriate action. The OLCM advised that there was no reason that the
                                                                             contents of the tank could not be discharged as grey water. The ship waited
                                                                             until outside the Wider Caribbean Area and then discharged the tank contents.
                                                                             Used Virox is normally disposed of by placing it in a container in the
                                                                             dispensing area and then returning it to the garbage room for onward
                                                                             processing.
67.             03.22.2019*    02.16.2019     HA Group       Volendam        While the ship was underway to Callao, Peru, the static Oily Water Separator       The crewmembers received and installed the flow switch on March 4,        Complete
                                                                             (OWS) was taken out of service due to a faulty flow switch. A new flow             2019. The OWS is operational. The referenced part has been
                                                                             switch has been ordered for urgent delivery. The OWS will remain out of            recognized as an ECP critical spare part.
                                                                             service until the spare is received and installed. The ship’s bilge processing
                                                                             capacity is not impacted as the centrifugal OWS remains operational.
                                                                             Previously, this part was not considered a critical spare. It has since been
                                                                             requested in the planned maintenance system to have this part recognized as a
                                                                             critical spare for all ships in the fleet. An entry was made in the Oil Record
                                                                             Book.
68.             03.22.2019*    02.15.2019     CCL            Carnival        The centrifugal Oily Water Separator (OWS) could not process oily bilge            The OWS was placed out of service on Feb 12th for the first time. On      Complete
                                                             Sensation       water because the Oil Content Meter (OCM) showed a high PPM value due to           Feb 18th after replacing the cell and other maintenance it seemed to be
                                                                             a bowl malfunction. The bowl’s intermediate kit was replaced, the constant         working, but after one day the same issues re-occurred and the
                                                                             pressure diaphragm valve was checked and cleaned, and the OCM was                  crewmembers placed the unit out of service. On Feb 21st the
                                                                             replaced. The OWS is still out of service and a technician is scheduled to         technician found two faulty parts which were re-ordered. On March
                                                                             attend the ship on 21 February. There was no operational impact as the second      11th a Lloyds and USCG officer were on board to issue a temporary
                                                                             OWS was in service. An entry in the Oil Record Book was made. As a                 IOPP certificate On that same day the parts were delivered and
                                                                             preventive measure, the OWS will be tested and operated regularly.                 replaced. On Mar 12th, after testing the OWS in recirculation and
                                                                                                                                                                with the USCG valve, the crewmembers placed it back in service.
                                                                                                                                                                There were no overboard discharges between March 11 and March 16.
                                                                                                                                                                On Mar 16th, Lloyds and USCG boarded the ship to reissue the IOPP
                                                                                                                                                                certificate.
69.             03.22.2019*    02.15.2019     CCL            Carnival        Following a volume variance in bilge water overboard discharges through an         The OWS “B” bowl was not tightening properly. The crewmembers             Complete
                                                             Splendor        Oily Water Separator (OWS) when comparing the Oil Record Book and the              corrected this issue by replacing the centripetal pump complete, disc,
                                                                             digital recorder, the OWS was taken out of service due to suspected                non-return valve. The OWS was out of service from 09:18 hours on
                                                                             mechanical malfunctions. It was suspected that the OWS bowl is not                 February 15, 2019 to 16:30 hours on February 24, 2019.
                                                                             tightening properly and was therefore recirculating the treated bilge water into
                                                                             the sludge tank. An entry was made in the Oil Record Book and NAPA eLog.
                                                                             There was no operational impact as the ships other OWS is operational. The
                                                                             OWS was dismantled, cleaned and re-assembled and tested in recirculation
                                                                             mode. A back pressure issue was identified on the line leading to the BCDB.
                                                                             The flow meter and check valve on the BCDB line were replaced and the unit
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                                                 Group
                                                                             tested again in recirculation mode with satisfactory results. The OWS was
                                                                             tested again on 21 February and an issue with the discharge pressure was
                                                                             identified, requiring the feed pump to be replaced. Bilge variance checks will
                                                                             be conducted to confirm efficient operation of the OWS.
70.             03.22.2019*    02.14.2019     CUK            Arcadia         While the ship was underway from Lautoka to Noumea, the centrifugal Oily             The OWS is now operational. The technical investigation produced         Complete
                                                                             Water Separator (OWS) failed while conducting a monthly operational test.            no conclusive results, and the monthly test as per ENV1201 was
                                                                             The ship has accordingly lost the ability to use one of three OWS units. The         carried out with no issue.
                                                                             ship will identify the cause of the failure and rectify the defect. Investigations
                                                                             are still ongoing. The OWS feed pump was found to be defective and was
                                                                             replaced, however the OWS is still not functioning to the required standard.
                                                                             Recorded in Oil Record Book.
71.             03.22.2019*    02.14.2019     HA Group       Coral           While the ship was underway from Cabo San Lucas, Mexico to San Francisco,            Crewmembers received and installed the new heating element on            Complete
                                                             Princess        California, the static Oily Water Separator (OWS) became inoperable due to a         March 3, 2019. The OWS is operational.
                                                                             malfunction of the heating element and therefore was put out of service as a
                                                                             precaution. Spare parts were ordered. The centrifugal OWS is confirmed
                                                                             operational and the ship is able to process bilge water. A spare heating
                                                                             element is not kept on board nor considered a critical part. This part typically
                                                                             has a long operating life before replacement is needed. Additionally, the static
                                                                             OWS can technically operate without the heating element. The purpose of the
                                                                             heating element is to preheat the water/oil around the sensor electrode in the
                                                                             middle of the separator to avoid sticking / coating of the electrode fingers with
                                                                             oil. It is typically only needed in cold water conditions. A fault of the heating
                                                                             element does not directly impair the process of oil separation. The ship will
                                                                             receive a new heating element on 02 March. An entry was made in the Oil
                                                                             Record Book.
72.             03.22.2019*    02.08.2019     CCL            Carnival        During the EO’s unannounced round observing the Oily Water Separator                 As a control measure, only the watchstanders will have the overboard     Complete
                                                             Triumph         (OWS), alarms activated when the Oil Content Meter (OCM) read 15 ppm, but            password. There is no evidence the parameters or ppm setting
                                                                             the three way valve did not close until it read 16 ppm. The ship had vendor          changed before February 2, 2019. The parameters or settings were
                                                                             technicians on board on 02 February to adjust the alarm and it was suspected         changed by the Vendor Technicians on February 2, 2019.
                                                                             that there might be an issue with the setting. The OWS was set out of service
                                                                             pending a visit from a vendor’s technician. An entry was made in the Oil
                                                                             Record Book. On the 12 February the alarm parameters were adjusted by the
                                                                             Chief Engineer and the OWS was tested in recirculation mode before being
                                                                             returned to service. A technician visit was not necessary to verify the
                                                                             corrective action. During this incident, the ship had a second OWS in
                                                                             operation. No bilge water greater than 15ppm was discharged overboard. The
                                                                             control measure of password protecting the compliance parameters is being
                                                                             evaluated.
73.             03.22.2019*    02.06.2019     HA Group       Diamond         While the ship was underway, the centrifugal Oily Water Separator (OWS)              The Centrifugal oil water separator malfunctioned due to an incorrect    Complete
                                                             Princess        failed. The OWS was taken out of service and repairs are in progress. The            breaker connection that caused the equipment to rotate in the opposite
                                                                             cause of the failure was initially determined to be a malfunctioning breaker. A      direction as designed. On the February 10, 2019, the OWS was
                                                                             new breaker was installed, however the OWS is continuing to malfunction.             returned to service with no additional repair required.
                                                                             Additional troubleshooting is underway at this time. Early indications point to
                                                                             improper wiring on the new breaker. The ship is also equipped with a static
                                                                             OWS and will continue to process bilge water normally. An entry was made
                                                                             in the Oil Record Book.

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                                                Group
74.             03.22.2019*    02.05.2019     HA Group       Nieuw           While the ship was underway, a centrifugal Oily Water Separator (OWS) was            The setting was successfully changed back, the alarm cleared, and the   Complete
                                                             Statendam       taken out of service due to an error code. The vendor was contacted for              OWS was returned to normal operation.
                                                                             troubleshooting. Upon review, it was discovered that the signal range had
                                                                             changed, possibly after powering off, and it had resulted in the error. The
                                                                             setting was successfully changed back, the alarm cleared, and the OWS was
                                                                             returned to normal operation. The OWS was out of service for three days
                                                                             without impact on bilge processing capacity as a second onboard OWS was
                                                                             still operational. An entry was made in the Oil Record Book.
75.             03.22.2019*    02.01.2019     CUK            Ventura         While the ship was alongside in Southampton, a service vendor’s technician           The OWS and BCDB were put out of service. An entry was made in          Complete
                                                                             was on board to undertake the annual calibration of Oil Content Meter (OCM)          the Oil Record Book. The OCMs were changed with spares and
                                                                             cells. The OCM cells for the centrifugal Oily Water Separator (OWS), BCDB            returned to service having been out of service for 50 hours.
                                                                             and one spare did not zero on fresh water and therefore failed calibrations.
                                                                             The OWS and BCDB were put out of service. An entry was made in the Oil
                                                                             Record Book. The OCMs were changed with spares and returned to service
                                                                             having been out of service for 50 hours. The failed OCMs are to be landed for
                                                                             repair. The ship still has spare parts for the OWS and the one BCDB onboard.
76.             03.22.2019*    02.15.2019     HA Group       Emerald         While the ship was underway towards Ensenada, Mexico, the pulper computer            Further review determined the fault was not with PLC but with the       In Progress
                                                             Princess        system failed and could not be restarted. The ship’s electricians tried to restore   HMI (human machine interface). The ship will transfer the spare HMI
                                                                             the system, and attempts were made to install and initialize a spare controller      to the vendor for programming. Shoreside is evaluating whether it is
                                                                             but the attempts were unsuccessful. As a result, the pulper is currently out of      possible to improve the purchasing process for these parts.
                                                                             service. Food waste production will be collected in designated storing areas
                                                                             and offloaded ashore. The pulper system remains out of service at this time. It
                                                                             was identified that the failure was due to a malfunctioning Programmable
                                                                             Logic Controller (PLC). The ship has a spare PLC onboard, however, the
                                                                             spare had not been pre-programmed and therefore is not ready for installation.
                                                                             The system can technically be run in manual mode, however, the shoreside
                                                                             team advised not to do so. The issue of the spare PLC not being pre-
                                                                             programmed is being assessed by the shoreside technical team.
77.             03.22.2019*    02.09.2019     CCL            Carnival        A noisy bearing and faulty bearing cover were detected on the flue gas fan of        Crewmembers determined the flue gas fan was imbalanced and the          Complete
                                                             Triumph         an incinerator. The fan and incinerator were set out of service. Maintenance is      impeller cracked. After welding, the incinerator was successfully
                                                                             ongoing and, once complete, the plant will be tested. An eNOA was sent due           returned to service on February 12, 2019.
                                                                             to the length of needed repairs and an entry was made in the NAPA eLog.
                                                                             With the incinerator still out of service, additional offloads are being
                                                                             coordinated.
78.             03.22.2019*    02.10.2019     CCL            Carnival        While the ship was docked in Miami, FL, grey water and ballast water were            The automation system communication was restored on 11 February         Complete
                                                             Magic           accidentally discharged overboard in violation of the Vessel General Permit          and is back to normal operation. As a preventive measure, a meeting
                                                                             and operating line policy. An alarm on the automation system showed a                was conducted with all engineers to discuss lessons learned from this
                                                                             miscommunication of the valve remote control system. Unfortunately, while            incident. Once the cause of the common grey water valve being open
                                                                             trying to restore the communication, the main channel failed, causing the            is identified, a note was sent out to the fleet. The note included
                                                                             complete loss of the remote control of the 32 valves (fresh water, ballast water,    instructions to Chief Engineers that a written contingency plan is
                                                                             grey water) controlled by the unit. As the ship had to discharge ballast water       issued to ensure that correct valves are opened while checking that
                                                                             in port, the Chief Engineer (CE) decided to temporarily operate the valves           common grey water valves are closed.
                                                                             locally while waiting for technical information from the supplier. While
                                                                             discharging ballast water, the common valve for the grey water tank was in the
                                                                             open position for three minutes and consequently 7.3 cubic meters of water
                                                                             were discharged. Once recognized by the Staff Chief Engineer, the valve was

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                                                                             immediately closed. The ballast water discharge operation was conducted by
                                                                             the EOOW who gave the orders to the engine cadet to operate the specific
                                                                             ballast water valves locally. A review of VDR records indicated that the cadet
                                                                             opened the specific ballast water valves correctly while following closed loop
                                                                             communication with the EOOW and confirming that the correct valves were
                                                                             opened. However, the cadet did not verify that the common grey water valves
                                                                             were in closed position before starting the ballast water discharge as he was
                                                                             not instructed to do so. It is not clear at this time how the common grey water
                                                                             valve was open and the cause is being investigated. The assistant watch leader
                                                                             was not involved in the ballast water discharge operation as he was busy with
                                                                             fuel bunkering and fresh water loading. All the watch engineers including the
                                                                             cadet were trained and familiarized on how to operate the valves locally.
                                                                             However, there was no written contingency plan in place to ensure and check
                                                                             that the correct valves were opened and the common grey water valves were
                                                                             closed during ballast water discharge. The violation of VGP regulations was
                                                                             reported to the U.S. Coast Guard and the National Response Center and was
                                                                             recorded in the NAPA eLog. The automation system communication was
                                                                             restored on 11 February and is back to normal operation. As a preventive
                                                                             measure, a meeting was conducted with all engineers to discuss lessons learned
                                                                             from this incident. Once the cause of the common grey water valve being
                                                                             open is identified, a note will be sent out to the fleet. This note will also
                                                                             include instructions to Chief Engineers that a written contingency plan is
                                                                             issued to ensure that correct valves are opened while checking that common
                                                                             grey water valves are closed.
79.             03.22.2019*    02.06.2019     HA Group       Zuiderdam       While recovering a tender when alongside in Port Everglades, FL, a telescopic       The cause of the cylinder failing was found to be human-error. The         Complete
                                                                             cylinder failed on the forward davit, causing an estimated 10 liters of hydraulic   isolation valve on the hydraulic lifeboat retrieval system was
                                                                             oil to spill onto the deck and into the water. The MARPOL Annex I violation         inadvertently closed by a manufacturer’s contractor while the lifeboat
                                                                             was reported to the National Response Center, U.S. Coast Guard, the local           was deployed and not properly checked/reopened by crewmembers
                                                                             harbor master and the State of Florida Emergency Management Agency. An              prior to recovery of the lifeboat. Hoisting the lifeboat with the
                                                                             Oil Record Book entry was made. The cause of the cylinder failing was found         isolation valve closed caused an over-pressurization of the hydraulic
                                                                             to be human-error. The isolation valve on the hydraulic lifeboat retrieval          system, resulting in rupture of the cylinder. All valves are clearly
                                                                             system was inadvertently closed by a manufacturer’s contractor while the            marked and there are clear procedures in place to first check if all the
                                                                             lifeboat was deployed and not properly checked/reopened by crewmembers              valves are in the correct position before hoisting/lowering a lifeboat.
                                                                             prior to recovery of the lifeboat. Hoisting the lifeboat with the isolation valve   The Group Safety Department released a reminder on proper
                                                                             closed caused an over-pressurization of the hydraulic system, resulting in          procedures for lifeboat operations.
                                                                             rupture of the cylinder. All valves are clearly marked and there are clear
                                                                             procedures in place to first check if all the valves are in the correct position
                                                                             before hoisting/lowering a lifeboat. The Group Safety Department will release
                                                                             a reminder on proper procedures for lifeboat operations.
80.             03.22.2019*    02.13.2019     HA Group       Seabourn        While the ship was alongside in Gustavia, Saint Barthelemy, a passenger was         As a preventive measure, passengers are informed about Company             Complete
                                                             Odyssey         observed emptying the contents of a bag over their balcony into the water.          policies regarding items going overboard in the informational booklet,
                                                                             After reviewing the incident and interviewing the passenger, it was revealed        the safety/emergency video that plays in passenger staterooms on
                                                                             that the bag contained clean, fresh water ice that the passenger had been using     embarkation day, part of the script read by the Cruise Director during
                                                                             to soothe a sore knee. The passenger was informed that Company policy did           the Emergency Drill, the Health and Safety section of the book located
                                                                             not allow anything to go overboard. The event was recorded in the Garbage           in every stateroom, and via signage in strategic locations throughout
                                                                             Record Book and was reported to the port authorities. As a preventive               the open-deck areas.
                                                                             measure, passengers are informed about Company policies regarding items
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                                                 Group
                                                                             going overboard in the informational booklet, the safety/emergency video that
                                                                             plays in passenger staterooms on embarkation day, part of the script read by
                                                                             the Cruise Director during the Emergency Drill, the Health and Safety section
                                                                             of the book located in every stateroom, and via signage in strategic locations
                                                                             throughout the open-deck areas.
81.             03.22.2019*    02.03.2019     CUK            Ventura         While the ship was alongside in Amsterdam, the incoming watch completed            An additional check to TEC-1201 A1 - Arrivals Checklist for closing       Complete
                                                                             their pre-watch rounds and discovered that the aft boiler blow down valve was      of boiler overboard valves is now available on Global HESS.
                                                                             leaking by. This meant that the boiler had been blowing down slightly since
                                                                             the last planned blowdown was carried out earlier that day. This resulted in
                                                                             the blow down of approximately 15 cubic meters of boiler water in violation of
                                                                             Company policy. The blow down valve was fully closed and the overboard
                                                                             valve was closed as well. The watchkeeping personnel will ensure valves are
                                                                             closed fully and that blowdown lines are checked after each operation to
                                                                             ensure valves are not passing. An additional check to TEC-1201 A1 - Arrivals
                                                                             Checklist for closing of boiler overboard valves will be added by 21 February.
82.             03.22.2019*    01.29.2019     Costa Group    AIDAluna        While the ship was underway inside the Exclusive Economic Zone (EEZ) of            As a corrective action, the EEZ was entered into the ECDIS, the on        Complete
                                                                             Turks & Caicos, the ship discharged permeate and biomass outside 12 nautical       board environmental schedule was modified to better clarify the
                                                                             miles at a speed between six and ten knots. According to ENV-1001-F1, the          requirements, and training was arranged regarding the Turks & Caicos
                                                                             minimum speed during the discharge should have been at least 10 knots.             EEZ with all OOWs and EOOWs. After this incident, all entries in the
                                                                             Further investigation revealed that the EEZ was not marked on the ECDIS and        Sewage and Grey Water Discharge log book since the beginning of the
                                                                             the on board environmental schedule was misinterpreted by the OOW. As a            season in November through this area were rechecked. It was found
                                                                             corrective action, the EEZ was entered into the ECDIS, the on board                that all previous overboard discharges inside the Turks & Caicos EEZ
                                                                             environmental schedule was modified to better clarify the requirements, and        had been in accordance with the procedure (i.e. outside 12 nautical
                                                                             training was arranged regarding the Turks & Caicos EEZ with all OOWs and           miles and at a speed of more than 10 knots). No official information
                                                                             EOOWs. After this incident, all entries in the Sewage and Grey Water               could be identified about this regulation, and the assumption was
                                                                             Discharge log book since the beginning of the season in November through           therefore made that it was a Corporate Policy rather than statutory,
                                                                             this area were rechecked. It was found that all previous overboard discharges      hence no authorities were informed at the time of internal reporting.
                                                                             inside the Turks & Caicos EEZ had been in accordance with the procedure (i.e.      The late external reporting of the event was due to the lack of
                                                                             outside 12 nautical miles and at a speed of more than 10 knots). No official       understanding of the source of the requirements. Once this was
                                                                             information could be identified about this regulation, and the assumption was      clarified through coordination with shore management, the authorities
                                                                             therefore made that it was a Corporate Policy rather than statutory, hence no      were informed through the agent on 12 February.
                                                                             authorities were informed at the time of internal reporting. The late external
                                                                             reporting of the event was due to the lack of understanding of the source of the
                                                                             requirements. Once this was clarified through coordination with shore
                                                                             management, the authorities were informed through the agent on 12 February.
83.             03.25.2019*    02.28.2019     HA Group       Koningsdam      While the ship was underway to Kralendijk, Bonaire, the centrifugal Oily           An overhaul was initiated and the OWS was offline for 72 hours. The       Complete
                                                                             Water Separator (OWS) was stopped due to a bowl closing failure caused by          OWS is now back up and fully operational. As the ship’s other OWS
                                                                             dirt. An overhaul was initiated and the OWS was offline for 72 hours. The          remained online, there was no operational impact.
                                                                             OWS is now back up and fully operational. As the ship’s other OWS
                                                                             remained online, there was no operational impact. An entry was made in the
                                                                             Oil Record Book.
84.             03.25.2019*    02.25.2019     CUK            Ventura         While the ship was underway from Port Canaveral to Grand Turk, the BCDB            The required spares were onboard and the unit was repaired and            Complete
                                                                             Oil Content Meter (OCM) was not achieving zero on fresh water. The single          returned to service. There was no operational impact while the unit
                                                                             BCDB was shut down. The ship was unable to discharge processed oily bilge          was out of service for approximately 45 hours. On inspection,
                                                                             water overboard. An entry was made in the Oil Record Book and a work order         scratches on the internal surface of the reading cell caused the issue.
                                                                             was raised to investigate the malfunction. The required spares were onboard

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                                                 Group
                                                                             and the unit was repaired and returned to service. There was no operational
                                                                             impact while the unit was out of service for approximately 45 hours.
85.             03.25.2019*    02.23.2019     CCL            Carnival        The Oily Water Separator (OWS) failed on 23 February and could not be used         A TMS technician resolved the OWS issue and returned it to service        Complete
                                                             Sunshine        to process bilge water because the Oil Content Meter (OCM) display                 on March 3, 2019. The OWS was out of service for 27 days, 17 hours,
                                                                             constantly indicated alarms for low flow. The ship has noticed fluctuations in     and 35 minutes.
                                                                             output bilge flow or pressure and a considerable amount of air which
                                                                             concentrates in the OCM, causing these alarms. The OCM was replaced and
                                                                             the sample flow switch was also replaced. The automatic suction filter was
                                                                             inspected and cleaned. However, the issue persists. The OWS remains out of
                                                                             service and a technical service visit was requested for 03 March to
                                                                             troubleshoot the issue. The OWS is expected to be back in service soon after
                                                                             the service vendor’s visit. The ship’s second OWS remains fully operational
                                                                             to process daily expected. Any additional bilge water will be discharged
                                                                             ashore, if needed.
86.             03.25.2019*    02.21.2019     Costa Group    AIDAdiva        During a routine check of the Eurotherm BDCB [sic] recorder while the ship         The involved tank levels were re-checked four times to be sure that       Complete
                                                                             was alongside in Cartagena, it was observed that, on two recent discharges of      discharged volumes were correct, and all tests confirmed the measured
                                                                             bilge water through the BCDB, the variance was greater than 10%. The first         tank levels matched the discharged amounts recorded in the Oil
                                                                             discharge variance was over 70% and the variance of the second discharge was       Record Book. An entry was made in the Oil Record Book. The cause
                                                                             over 1100%. The Chief Engineer and the Captain were immediately informed.          was a malfunction of the recorder, resulting in displaying incorrect
                                                                             The involved tank levels were re-checked four times to be sure that discharged     values. The issue was resolved onboard therefore a service visit was
                                                                             volumes were correct, and all tests confirmed the measured tank levels             not needed.
                                                                             matched the discharged amounts recorded in the Oil Record Book. An entry
                                                                             was made in the Oil Record Book. The cause was a malfunction of the
                                                                             recorder, resulting in displaying incorrect values. It was decided that no bilge
                                                                             water will be discharged overboard until repairs are completed. A service visit
                                                                             is pending. Bilge water will continue to be discharged ashore until repairs are
                                                                             complete.
87.             03.25.2019*    02.25.2019     HA Group       Seabourn        While the ship was underway towards Milford Sound, New Zealand, the                The engineer fixed the AAQS and it is now in service. The shoreside       Complete
                                                             Encore          Advanced Air Quality System (AAQS) shut down due to a high pressure alarm          technical team ultimately decided not to keep spares of the gas
                                                                             on the outlet pipe of the scrubber tower for a diesel generator (DG). Two gas      analyzer onboard because the parts are extremely sensitive to vibration
                                                                             analyzers and two sensors were found inoperable and two small leaks were           and could be rendered inoperable.
                                                                             found. The AAQS was being tested, prior to the ship’s relocation to European
                                                                             waters in May 2019, in an area where the use of low Sulphur fuel is not
                                                                             required, so there was no regulatory violation when the AAQS shut down.
                                                                             Currently, AAQS #1 is fully operational after being inoperable for four days
                                                                             total prior to repair. As this was only a test of the AAQS systems, spare parts
                                                                             were pulled from AAQS #2 in order to fix and subsequently re-test AAQS #1.
                                                                             To bring AAQS #2 back online, additional spare parts have been ordered.
                                                                             These spare parts are scheduled to be delivered to the ship on 27 March. Spare
                                                                             gas analyzers are typically not kept onboard. The shoreside technical team is
                                                                             working with the ship to evaluate if these spare parts should be kept onboard
                                                                             going forward.
88.             03.25.2019*    02.22.2019     HA Group       Zuiderdam       Routine maintenance and cleaning of the strainer located before the grease trap    The system remains fully operational however the grease trap was          Complete
                                                                             was carried out. The strainer was put back in place and the grease trap was de-    isolated to avoid further leakage. An internal review revealed no
                                                                             isolated. After ten minutes, three cubic meters of mixed grey water and            evidence of mechanical issues. The collected wastewater was
                                                                             sewage was noted overflowing from the grease trap into the rule bilge. The

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                                                 Group
                                                                             system remains fully operational however the grease trap was isolated to avoid      transferred to the sludge collecting tank via the automatic pump unit
                                                                             further leakage. An internal review revealed no evidence of mechanical issues.      for offload at the next opportunity.
                                                                             An entry was made in the Oil Record Book. The collected wastewater was
                                                                             transferred to the sludge collecting tank via the automatic pump unit for
                                                                             offload at the next opportunity.
89.             03.25.2019*    02.20.2019     HA Group       Noordam         While the ship was in port, the incinerator was taken out of service because the    The cable was installed and the incinerator is now in service.               Complete
                                                                             upper and lower feed gate sensors were indicating open simultaneously, which
                                                                             was causing the incinerator to trip. No issue with the sensors was evident upon
                                                                             review. The fault is intermittent and likely caused by deterioration of the
                                                                             wiring. The ship will offload waste ashore as necessary until the ordered spare
                                                                             parts are received and the incinerator is back in operation. The parts were not
                                                                             previously identified as a critical spare part due to zero previous consumption,
                                                                             therefore would not be expected as a required spare. The incinerator remains
                                                                             out of service with the required parts scheduled to arrive around 27 February.
90.             03.25.2019*    02.26.2019     HA Group       Diamond         While the ship was alongside in Okinawa, Japan, approximately three gallons         The Food and Beverage Director noticed that there was oil on the floor       Complete
                                                             Princess        of cooking oil were accidentally drained down a scupper. An internal review         underneath the DFF and under the nearby oven. He immediately
                                                                             revealed that the drain valve of the Deep Fat Fryer (DFF) was left open and the     instructed the crew members working in the area to place papers and
                                                                             drain’s container under the DFF was not in place. Both of these oversights          rags to prevent any remaining oil from draining down the
                                                                             were due to human error in not following proper procedures as outlined in the       scupper. The transfer pump of the associated Grey Water (GW)
                                                                             DFF Workplace Risk Assessment. This allowed oil to spill on the floor and           collecting tank was immediately stopped, to keep oil from ending up
                                                                             drain into the scupper. The Food and Beverage Director noticed that there was       in the galley GW tank and being pumped overboard. The grease traps
                                                                             oil on the floor underneath the DFF and under the nearby oven. He                   and GW collecting tank were inspected. No oil was found in the
                                                                             immediately instructed the crew members working in the area to place papers         grease traps, but there was oil visible on the surface of the water in the
                                                                             and rags to prevent any remaining oil from draining down the scupper. The           GW collecting tank. The GW collecting tank was isolated and
                                                                             transfer pump of the associated Grey Water (GW) collecting tank was                 cleaned. The remaining water in the collecting tank was transferred to
                                                                             immediately stopped, to keep oil from ending up in the galley GW tank and           the sludge tank via a portable pump. In addition, the galley GW
                                                                             being pumped overboard. The grease traps and GW collecting tank were                double bottom tank will remain isolated and will be inspected for
                                                                             inspected. No oil was found in the grease traps, but there was oil visible on the   traces of oil as the GW collecting tank is routinely transferred to this
                                                                             surface of the water in the GW collecting tank. The GW collecting tank was          tank. The line leading from the GW collecting tank to the galley GW
                                                                             isolated and cleaned. The remaining water in the collecting tank was                double bottom tank was flushed. To prevent reoccurrence, all crew
                                                                             transferred to the sludge tank via a portable pump. In addition, the galley GW      members working in the galleys were retrained using this near miss as
                                                                             double bottom tank will remain isolated and will be inspected for traces of oil     a lesson learned. During the event, no oil was discharged overboard.
                                                                             as the GW collecting tank is routinely transferred to this tank. The line leading
                                                                             from the GW collecting tank to the galley GW double bottom tank was
                                                                             flushed. To prevent reoccurrence, all crew members working in the galleys
                                                                             were retrained using this near miss as a lesson learned. During the event, no
                                                                             oil was discharged overboard. An entry was made in the Oil Record Book.
91.             03.25.2019*    02.17.2019     HA Group       Star Princess   While the ship was at anchor in Chacabuco, Chile and less than one nautical         After the internal review, it is believed the system opened the drain        Complete
                                                                             mile from nearest land, the Sanctuary Pool discharged because the pool dump         valve of Spa Pool after the reboot of server 1 due to an old server
                                                                             command was executed automatically after a reboot of the standby control            command. The issue has been resolved and there have been no similar
                                                                             server which was “frozen”. 60 cubic meters of recreational facility water was       incidents.
                                                                             discharged to sea. The violation of Company policy was reported to the port
                                                                             agent to inform the port authorities, and was recorded in the NAPA eLog. An
                                                                             internal review of the incident is underway. An initial assessment indicates the
                                                                             valve functions properly in both local and remote operation, and no dump
                                                                             command was recorded in the automation system event log. A final
                                                                             assessment is pending.
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                                                Group
92.             04.10.2019*    03.11.2019     HA Group       Regal           During the monthly test of the BCDB while the ship was at anchor in Princess       The review revealed the ship had stock of two different types of        Complete
                                                             Princess        Cays, Bahamas, the Fleet Chief Engineer found two push-button override             Solenoid Valves onboard because they had the same part number.
                                                                             solenoid valves on the Oil Content Meter (OCM) flushing line. Upon review          One type had a manual push button for bypass and the other did not.
                                                                             by the Chief Engineer (CE) and EO, it was found that the valves were installed     The part numbers were changed in AMOS to distinguish between the
                                                                             on 11 January and 14 January due to the failure of the original solenoid valves.   two parts. The Grand Princess, Royal Princess, Golden Princess, and
                                                                             Identical replacement valves were not onboard at the time and only the push        Majestic Princess have the incorrect Solenoid Valve in stock onboard.
                                                                             button override valves were onboard. The installation of a non-authorized          Those ships are receiving instructions to remove those inventories by
                                                                             solenoid valve was completed by the CE in charge in January 2019. The              May 15, 2019. UPDATE: All the subject inventories have been
                                                                             incorrect valves were fitted as there were limited options available, due to a     removed.
                                                                             lack of correct valves onboard. The incoming CE was not aware because no
                                                                             mention was made on the Chief Engineer Handover form nor was the
                                                                             incoming EO informed at the end of February. The service vendor visited the
                                                                             ship on 11 February, inspected all OCMs and ancillary equipment and issued a
                                                                             revalidation certification. The vendor overlooked the non-standard installation
                                                                             during recertification. Despite the solenoids being fitted with override push
                                                                             buttons, they could not be used to maintain a fresh water flow through the
                                                                             OCM during a discharge as their operation closes the three-way valve,
                                                                             recirculating discharge back to the dirty bilge tank. This was proven at the end
                                                                             of the monthly BCDB test. No improper discharges or operations did or could
                                                                             have resulted. Entries were made in the Oil Record Book in January 2019.
                                                                             Entries were made and work orders had been raised, but no specific note was
                                                                             added to explain why non-standard valves were installed. The proper parts
                                                                             were installed on 11 March and the system was restored one hour and 40
                                                                             minutes after discovery. Entry in the Oil Record Book was made. An
                                                                             investigation is underway and full results pend.
93.             04.10.2019*    02.09.2019     HA Group       Grand           While the ship was underway, a static Oily Water Separator (OWS) failed due        The OWS was stopped while the stator was replaced. The OWS was          Complete
                                                             Princess        to a worn out pump stator. The OWS was stopped while the stator was                put back in service on 10 February. The OWS was out of service for
                                                                             replaced. The OWS was put back in service on 10 February. The OWS was              one day without impact on bilge processing capacity as a second
                                                                             out of service for one day without impact on bilge processing capacity as a        onboard OWS was still operational.
                                                                             second onboard OWS was still operational. An entry was made in the Oil
                                                                             Record Book.
94.             04.10.2019*    01.26.2019     Costa Group    Costa           During the monthly operational test of all Oily Water Separators (OWS) and         All spare parts have been replaced and are available onboard.           Complete
                                                             Atlantica       their corresponding Oil Content Meters (OCM), the OCM installed on one
                                                                             OWS was continuously reading as “fresh water” even when the fresh water
                                                                             flushing valve was closed. Immediate technical assessments identified the
                                                                             cause of the malfunction as a failure of the cable of the OCM’s measuring cell
                                                                             sensor. A new OCM was installed. The system was successfully tested and
                                                                             set back to full service the following day. The failed device will be
                                                                             disembarked for repair. No undesired / unplanned discharges to sea occurred
                                                                             at any time. An entry was made in the Oil Record Book.
95.             04.10.2019*    03.14.2019     CCL            Carnival        While the ship was alongside in Puerto Plata, Dominican Republic, an               The repair by the shoreside contractor is pending. The ship continues   In Progress
                                                             Conquest        Advanced Air Quality System (AAQS) was taken out of service due to several         to use MGO to ensure compliance.
                                                                             sea water leaks from the DeSOx Washing Tower caused by construction
                                                                             problems. A shoreside contractor is scheduled to join the ship and repair the
                                                                             tower around 22 June. In the meantime, the ship will use MGO to ensure
                                                                             compliance.

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                                                Group
96.             04.10.2019*    03.12.2019     CCL            Carnival        The shredder of a food waste system was taken out of service because the shaft     The system has been repaired and returned to service on 16 March.           Complete
                                                             Spirit          was bent and the cutting element and spacer were worn out. Work is in
                                                                             progress to try to put the system back in service with the spare parts available
                                                                             on board, but a requisition was issued for a new shredder. The system has
                                                                             been repaired and returned to service on 16 March.
97.             04.10.2019*    03.08.2019     HA Group       Queen           The ship was unable to discharge food waste outside 12 nautical miles because      Ship staff removed the pump impeller for inspection, but the pumps          Complete
                                                             Elizabeth       the food waste discharge pumps from the food waste tank were not operating         were found to be in order. A blockage in the discharge line, caused by
                                                                             and rendered the pulper system out of service. Ship staff removed the pump         volume of waste, was subsequently found and cleared. The food
                                                                             impeller for inspection, but the pumps were found to be in order. A blockage       waste discharge system was placed back in service on 10 March.
                                                                             in the discharge line, caused by volume of waste, was subsequently found and
                                                                             cleared. The food waste discharge system was placed back in service on 10
                                                                             March. This was reported as a mechanical failure and no environmental
                                                                             impact occurred.
98.             04.10.2019*    02.07.2019     HA Group       Island          While the ship was underway, 11 cubic meters of seawater leaked from the           The valve replacement occurred on February 28, 2019. The                    Complete
                                                             Princess        antifouling system of an Advanced Air Quality System (AAQS/EGCS) into the          equipment is fully operational.
                                                                             ship’s bilge. The water started to leak after the AAQS was started, due to a
                                                                             broken gasket on the antifouling system cover. The main valve on the sea
                                                                             chest was stuck in the open position, and a blind plate was placed between
                                                                             flanges to stop the ingress of the water into the bilge. The broken gasket was
                                                                             replaced on 08 February. The valve replacement is scheduled for 28 February.
                                                                             The water collected was transferred by the bilge pump into the bilge settling
                                                                             tank. An entry was made in the Oil Record Book.
99.             04.10.2019*    01.26.2019     CUK            Aurora          A burner on an incinerator failed to fire on start-up, meaning the incinerator     The burner on the defective incinerator has been repaired and tested.       Complete
                                                                             could not reach the required temperature to burn garbage. The ship switched
                                                                             to using its second incinerator but, as the two incinerator systems share a
                                                                             common uptake, it took five hours to change over the exhaust ducting and
                                                                             ready the second incinerator. This only amounted to a loss of around two
                                                                             hours operation, due to ship’s position and routing. The burner on the
                                                                             defective incinerator has been repaired but has yet to be tested. Testing will
                                                                             again require the uptake sections to be swapped over.
100.            04.10.2019*    01.26.2019     CCL            Carnival        While the ship was underway inside the North American Emission Control             The AAQS on DG#3 was out of service from January 26, 2019 to                In Progress
                                                             Ecstasy         Area, the Advanced Air Quality Systems (AAQS/EGCS) for two Diesel                  February 4, 2019. The fleetwide change to place all important spare
                                                                             Generators (DG) shut down. The AAQSs were restarted but the systems did            parts for the AAQS on the critical spare parts list will be completed by
                                                                             not respond. The two affected DGs were changed to MGO. The Staff ETO               July 31, 2019.
                                                                             commenced troubleshooting once the DGs were running on MGO. One
                                                                             AAQS started to work properly, but the second AAQS continued to shut off
                                                                             immediately due to a direct ground fault. Further investigation revealed
                                                                             problems with cabling and with a pressure transmitter. There was no spare
                                                                             pressure transmitter on board, and a requisition was issued. A suggestion was
                                                                             made to shoreside to place all important spare parts for the AAQS on the
                                                                             critical spare part list which would allow the vessel to maintain a minimum
                                                                             quantity to ensure AAQS systems can remain operational. Shoreside will
                                                                             evaluate the recommendation according to the criticality methodology. An
                                                                             entry was made in the EGCS Record Book and NAPA eLog.
101.            04.10.2019*    03.08.2019     CUK            Queen           While alongside in Melbourne, Australia, an electrical burning smell was           The contactor was subsequently replaced, allowing the boiler to be          Complete
                                                             Elizabeth       discovered near the aft boiler control panel. After isolating the panel, the       returned to service. As a result of this incident, the water level in the

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                                                 Group
                                                                             source of the smell was found to be a failed contactor for a combustion air fan.    boiler reached the upper limit, requiring that the boiler be blown down
                                                                             The contactor was subsequently replaced, allowing the boiler to be returned to      while in port in violation of company requirements.
                                                                             service. As a result of this incident, the water level in the boiler reached the
                                                                             upper limit, requiring that the boiler be blown down while in port in violation
                                                                             of company requirements.
102.            04.10.2019*    03.07.2019     CUK            Queen           While the ship was at anchor in Port Arthur, Tasmania, approximately 150 to         As a preventive action, the pool fitters have been reinstructed           Complete
                                                             Elizabeth       200 liters of water were discharged from the forward starboard pontoon during       regarding topping up the pool compensation tanks, taking into
                                                                             tender operations. The ECR confirmed all valves to the pool were closed and         consideration any possible list of the ship whilst in port.
                                                                             the pool technician confirmed that the valves were closed from the local
                                                                             position. Further investigation revealed that water was overflowing from the
                                                                             forward pools because the compensating tank was full and therefore not
                                                                             allowing for the natural overflow from the pool when in use. The
                                                                             compensating tank had been topped up by the pool technician just before the
                                                                             incident. The violation of company policy was reported to the port agent. The
                                                                             compensation tank had been set to the correct level but a slight ship list while
                                                                             alongside caused the overflow to occur. As a preventive action, the pool fitters
                                                                             have been reinstructed regarding topping up the pool compensation tanks,
                                                                             taking into consideration any possible list of the ship whilst in port.
103.            04.10.2019*    02.01.2019     CCL            Carnival        While the ship was alongside in Freeport, Bahamas, several liters of pool water     The ship went into drydock the week after the incident and the crack      Complete
                                                             Pride           leaked overboard from a crack in the wall around a pool. When the ship              was permanently repaired.
                                                                             slightly listed to the starboard side, water leaked from the crack and discharged
                                                                             overboard through the scuppers. The list was due to the port not being
                                                                             completely enclosed and exposed to ocean waves/currents. It was established
                                                                             that the crack was on a welded joint which had weakened over time due to ship
                                                                             vibrations and passenger movement. The Pool and Deck Supervisor blocked
                                                                             the scuppers with rags to stop further water from going overboard. Absorbent
                                                                             pads and rags were placed next to the crack to absorb the leaking water. The
                                                                             crack was temporarily repaired. The crack will be permanently repaired during
                                                                             the upcoming dry dock. The pool remained full and operational. The violation
                                                                             of Company standards was reported to the port authority via the ship agent and
                                                                             was recorded in the NAPA eLog. As a preventive measure, other similar
                                                                             structural joints were inspected to avoid similar incidents in the future.
                                                                             Reporting of this event was delayed due to the EO seeking clarification on
                                                                             categorization and being under the impression a NAPA entry was required
                                                                             before submitting the IR. This has since been clarified. As the ship was in dry
                                                                             dock, NAPA and info ship were not fully operable, contributing to the delay.
104.            04.10.2019*    10.28.2017     CCL            Carnival        A. On October 28, 2017, the vessel CARNIVAL IMAGINATION arrived in                  The Parties entered settlement negotiations regarding the                 Complete
                                                             Imagination     California waters within the City of Long Beach with ballast water inside four      Commission’s enforcement actions.
                                                                             ballast water tanks. B. Before arriving in the City of Long Beach,
                                                                             CARNIVAL IMAGINATION sourced ballast water into empty tanks at
                                                                             various locations in the Pacific Ocean. Ballast water from four tanks was
                                                                             taken on less than 100 nautical miles from land. C. After arriving in waters
                                                                             within the City of Long Beach, CARNIVAL IMAGINATION discharged
                                                                             ballast water from the above-mentioned four ballast water tanks on October 28,
                                                                             2017. D. The Commission alleges, as separate violations, each of the four
                                                                             discharges of ballast water sourced less than 200 nautical miles from land and
                                                                             initiated preliminary enforcement actions, pursuant to California Code of
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                                                                             Regulations (CCR), title 2, section 2299.01 et seq. for the alleged violations of
                                                                             California Public Resources Code section 71204.3, subd.(c). On May 15,
                                                                             2018, the Commission notified Carnival of these four potential violations, all
                                                                             of which are classified as Major (1) violations pursuant to of CCR, title 2,
                                                                             section 2299.03, subd. (a)(1), for a combined maximum potential penalty of
                                                                             $80,000, pursuant to CCR, title 2, section 2299.04, subd. (a)(1).E. The Parties
                                                                             entered settlement negotiations regarding the Commission’s enforcement
                                                                             actions. F. In consideration of the nature, circumstances, extent, and gravity of
                                                                             the violation; Carnival’s past and present efforts to prevent, abate, or clean up
                                                                             conditions posing a threat to the public health and safety of the environment;
                                                                             and Carnival’s ability to pay the proposed civil penalty, the Parties agreed that
                                                                             a penalty of $36,000 is appropriate to resolve the alleged violations. G. Upon
                                                                             reaching a tentative settlement, the Commission suspended enforcement
                                                                             actions, pending execution of this Agreement. H. The Parties believe that
                                                                             litigating this matter through an administrative law proceeding would be
                                                                             protracted and costly with uncertain results and that this Agreement is in the
                                                                             best interests of the Parties. I. The Commission is authorized to enter into this
                                                                             Agreement pursuant to California Public Resources Code section 71216,
                                                                             subdivision (d), and CCR, title 2, section 2299.06, subdivision (b).
105.            04.19.2019*    April 11-15,   CCL            Carnival        During a CAM vessel visit to the Carnival Valor regarding the presence of           The new Incident Analysis Group is investigating the incident.            In Progress
                               2019                          Valor           non-food items, including possible plastic items, in the food waste tank. The
                                                                             CAM Team did not observe any overboard discharge of these non-food items.
                                                                             After the presence of non-food items in the tank was brought to the ship’s
                                                                             attention, the crew suspended food waste discharges and proceeded to
                                                                             manually remove and sort the contents of the tank. The new Incident Analysis
                                                                             Group is investigating the incident.
106.            04.26.2019*    03.23.2019     CUK            Ventura         The ship’s only BCDB was not indicating flow and the monitor was not                The unit was out of service for a total of 34 hours 17 minutes.           Complete
                                                                             showing zero on fresh water. The BCDB was set out of service and a work             Although the repair was completed earlier, it was not able to be tested
                                                                             order was raised. The display was replaced as it had faded over time and was        until the ship was back at sea.
                                                                             difficult to read. When the equipment was tested with the new display, it
                                                                             zeroed correctly on fresh water. An entry was made in the Oil Record Book.
                                                                             The unit was out of service for a total of 34 hours 17 minutes. Although the
                                                                             repair was completed earlier, it was not able to be tested until the ship was
                                                                             back at sea.
107.            04.26.2019*    03.19.2019     CCL            Carnival        While the ship was carrying out the monthly operational test of the Oily Water      The BCDB was returned to service on April 2, 2019.                        Complete
                                                             Fascination     Separators and BCDBs, the port side BCDB failed due to low flow rate. The
                                                                             cause of the low flow rate is under investigation. A service request for a
                                                                             vendor technician was issued. The involved BCDB was placed out of service.
                                                                             There was no operational impact as the second BCDB remained fully
                                                                             operational. An entry was made in the NAPA eLog. A technician is scheduled
                                                                             to join the ship on 01 April to troubleshoot and service the BCDB.
108.            04.26.2019*    03.28.2019     HA Group       Amsterdam       While the ship was underway towards Cochin, India, one of the Advanced Air          The issue with the VFD of the SW pump was resolved on April 3,            Complete
                                                                             Quality Systems (AAQS) was taken out of service due to a VFD failure on the         2019. The crewmembers restarted the settings and communication
                                                                             main sea water pump. There is no spare VFD onboard because the VFD is not           within the VFD.
                                                                             listed as one of the AAQS required spares. The ship is troubleshooting the
                                                                             problem with the technical team shoreside and the manufacturer. It is thought

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                                                 Group
                                                                             that the VFD has only lost settings and will be updated once the correct
                                                                             program is available and so does not need replacement. It is estimated the
                                                                             VFD update will be complete no later than 05 April. The ship is scheduled to
                                                                             enter the North Sea Emission Control Area on 22/23 April.
109.            04.26.2019*    03.25.2019     CCL            Carnival        The UV intensity of the BWTS dropped below 70%. Quartz tubes were                   The BWTS Maintenance Semi-Annual PMS is complete and inputted              Complete
                                                             Sunshine        cleaned but the wiper rings were found worn out, meaning the cleaning routine       into the InfoShip system.
                                                                             is ineffective. The ship is not able to remove the quartz tubes in order to
                                                                             access the wiping rings. The ship does not have enough spare tube seals to
                                                                             replace the seals on both sides of the retaining inserts nor are there sufficient
                                                                             spare wiper rings. The maintenance program schedule for this equipment is as
                                                                             per manufacturer manual, however there is no planned maintenance item
                                                                             assigned. As a preventive measure, the manufacturer conducted a service 29
                                                                             March- 01 April on several components, including the replacement parts
                                                                             brought onboard by the technician. It was confirmed that the BWTS is now
                                                                             fully operational.
110.            04.26.2019*    03.09.2019     CCL            Carnival        While the ship was alongside in Mobile, AL, the OOW instructed the EOOW             After further evaluation, it has been confirmed that the ship already      Complete
                                                             Fantasy         to start discharging treated ballast water (BW) from tank BW #8 as per the          has a self-priming air system installed on the pump and it had not been
                                                                             Staff Captain’s bulk liquids movement orders and ship’s Environmental               working at the time of the incident. The self-priming air ejector for
                                                                             Schedule. The EOOW used water from BW #16 to prime the ballast water                ballast pump has been repaired and is now fully functional. The
                                                                             pump before starting the discharge from BW #8. The priming water was                consideration for “feasibility of using a technical water connection for
                                                                             consequently discharged overboard via the BWTS. The water in BW #16 was             the purpose of priming the pump” is now moot.
                                                                             treated by the BWTS on intake, however this water did not meet the 72 hours
                                                                             holding criteria required to discharge inside U.S. waters. The EOOW was not
                                                                             aware of this parameter not being met. On observing that the water level in the
                                                                             BW #16 was falling, the OOW instructed the EOOW to stop the operation.
                                                                             Approximately 10 cubic meters of treated ballast water that did not meet the 72
                                                                             hours hold time was discharged in port. Local U.S. Coast Guard (USCG) was
                                                                             informed and an USCG officer attended the ship. Entries were made in the
                                                                             Ballast Water Record Book and NAPA E log. Local port authorities were also
                                                                             notified. BW #16 was not planned to be discharged in port. All other tanks
                                                                             that were planned to be discharged were the tanks that met the 72 hours
                                                                             holding criteria for treated ballast water. All the OOW’s and EOOW’s earlier
                                                                             received manufacturer training on how to operate the system. After the
                                                                             incident, a meeting was held with the EO, Captain, CE and all other involved
                                                                             in the ballast water operations to discuss lessons learned and preventive
                                                                             actions. Every time the OOW instructs the EOOW to discharge ballast water,
                                                                             he/she will advise the EOOW if the priming tank meets the 72 hours holding
                                                                             criteria. Captain’s and CE’s standing orders were updated to reflect the same.
                                                                             A written test for the operation and use of the BWTS is being developed for
                                                                             immediate implementation. Additionally, Technical Operations are looking at
                                                                             the feasibility of using a technical water connection for the purpose of priming
                                                                             the pump on all ships with similar arrangements for priming.
111.            04.26.2019*    03.26.2019     CCL            Carnival        While the ship was underway, 322 cubic meters of ballast water were                 The investigation report, findings, and recommendations are pending.       In Progress
                                                             Freedom         discharged within 12 nautical miles of the Belize coastline. The ballast water
                                                                             tank that was discharged had been loaded the night before more than 12
                                                                             nautical miles off the Mexican Coast and with more than 200 meters under the
                                                                             keel. The de-ballasting was conducted due to the OOW believing that there
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                                                 Group
                                                                             was an issue with the stability (8.39 meters, when the maximum allowed draft
                                                                             was 8.42). The ship was producing fresh water and the OOW believed that the
                                                                             upcoming two hours of fresh water production could increase the draft to the
                                                                             maximum limit. It was later determined that this was not possible. After
                                                                             review of the VDR, the OOW was advised during the watch handover that they
                                                                             were inbound 12NM and no discharges or ballast operations were allowed
                                                                             inside the waters of Belize. After the discharge took place, the OOW made the
                                                                             appropriate log entries but the discharge was not immediately discussed. Later
                                                                             in the day, the OOW revisited the discharge and realized that the discharge
                                                                             violated local regulations. At this time, the OOW reported the incident to the
                                                                             EO and Captain who then relayed the information to the Port Authority. An
                                                                             investigation was conducted by the Environmental Manager on 31 March and
                                                                             it was confirmed that all preventive measures were in place, watch handover
                                                                             clearly outlined requirements, and the discharge itself was challenged and the
                                                                             OOW still proceeded with the discharge. The OOW has since been counseled
                                                                             by the Captain. The Captain has also held training with all deck officers to
                                                                             review the incident. IAG will attend the ship to conduct an investigation
                                                                             following which further actions will be determined.
112.            04.26.2019*    03.22.2019     CUK            Queen           While the ship was alongside in Picton, New Zealand, the security team              The crew reviewed the levels in the compensation and the water has         Complete
                                                             Elizabeth       observed water being discharged from the starboard side. This was reported to       been reduced to the minimum level.
                                                                             the Chief Engineer, EO and Captain. The ECR confirmed that all valves were
                                                                             closed to all pools. An estimated 200 liters of fresh water was discharged from
                                                                             the hydropool compensating tank. The violation of Company policy was
                                                                             reported to the port agent to inform the port authorities, if necessary. The
                                                                             hydropool compensating tank is comparatively small in relation to the size of
                                                                             the hydropool. The compensating tank easily overflows when the hydropool is
                                                                             close to or at maximum capacity of people in the pool. A review to identify if
                                                                             the hydropool should be allowed to be used while the ship is at anchor, in port
                                                                             or in restricted areas, is ongoing. The review will also consider review options
                                                                             for diverting external scuppers into grey water drain lines.
113.            04.26.2019*    03.22.2019     HA Group       Seabourn        While the ship was alongside in Thilawa, Myanmar and engaged in grey water          To prevent reoccurrence, Port Operations will verify with local            Complete
                                                             Ovation         discharge operations from the port side bunker station to the shoreside truck,      vendors that suitable facilities are available when a request to offload
                                                                             the vendor’s hose disconnected, resulting in a spill of approximately 30 liters     is submitted and accepted, including hose testing certification.
                                                                             of grey water into the sea. During the operation, a minor leak was noted into
                                                                             the bunker station and, while the crewmember was in the process of activating
                                                                             the emergency shutdown, the hose disconnected. The cleanup of the bunker
                                                                             station was conducted using mops and buckets and was then transferred into
                                                                             the shoreside truck. The review revealed that the securing bolt thread on the
                                                                             hose flange was heavily worn. This could not be observed when the discharge
                                                                             operation first started. The violation of Company standards was recorded in
                                                                             the NAPA eLog, as well as the Sewage and Grey Water Log and was reported
                                                                             to the local agent. To prevent reoccurrence, Port Operations will verify with
                                                                             local vendors that suitable facilities are available when a request to offload is
                                                                             submitted and accepted, including hose testing certification.
114.            04.26.2019*    02.10.2019     CCL            Carnival        While the ship was docked in Miami, Florida, treated sewage was accidentally        All watch engineers were trained on how to operate the valves locally;     Complete
                                                             Magic           discharged overboard in violation of MARPOL Annex IV and Company                    however, there was no written contingency plan in place to check that
                                                                             requirements. An automation system alarm showed a miscommunication of               correct valves were opened and common treated sewage valves were
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                                                 Group
                                                                             the valve remote control system. While trying to restore communication, the        closed during ballast water discharge. As a preventive measure, a
                                                                             main channel failed, causing the complete loss of the remote control of the 32     meeting was conducted with all engineers to discuss lessons learned
                                                                             valves (fresh water, ballast water, and sewage) controlled by the unit. As the     from this incident. A note was sent out to the fleet including
                                                                             ship had to discharge ballast water in port, the Chief Engineer decided to         instructions to Chief Engineers that a written contingency plan be
                                                                             temporarily operate the valves locally while awaiting technical information        issued to ensure that correct valves are opened while checking that
                                                                             from the supplier. While discharging ballast water, a common valve for a           common treated sewage valves are closed.
                                                                             treated sewage tank was in the open position for three minutes, resulting in 7.3
                                                                             cubic meters of treated sewage being discharged. The assistant watch leader
                                                                             was not involved in the ballast water discharge operation as he was busy with
                                                                             fuel bunkering and fresh water loading. All watch engineers were trained on
                                                                             how to operate the valves locally; however, there was no written contingency
                                                                             plan in place to check that correct valves were opened and common treated
                                                                             sewage valves were closed during ballast water discharge. The violation of
                                                                             MARPOL Annex IV and Company requirements was reported to the U.S.
                                                                             Coast Guard and the National Response Center and was recorded in the NAPA
                                                                             eLog. As a preventive measure, a meeting was conducted with all engineers to
                                                                             discuss lessons learned from this incident. A note was sent out to the fleet
                                                                             including instructions to Chief Engineers that a written contingency plan be
                                                                             issued to ensure that correct valves are opened while checking that common
                                                                             treated sewage valves are closed.
115.            04.26.2019*    04.07.2019     CCL            Carnival        While the ship was underway in the Bahamas, the Environmental Team Leader          The chute is controlled by padlock and the keys are kept on the             Complete
                                                             Victory         (ETL) approached the EO and asked if the ship could offload hard food waste        Bridge. The entire Environmental Team has been retrained and the
                                                                             in Miami. It was discovered that during the Leader Environmental Special           keys from the chute were moved under the Captain’s supervision. Use
                                                                             Projects visit that the ship was discharging mixed food waste (soft and hard)      of the chute will need to be approved by the Captain. As a further
                                                                             through the food waste chute by removing the strainer. An investigation could      preventive measure, the ship conducted training with all team
                                                                             not conclude how long this practice has been going on. The chute is controlled     members involved in food waste separation to emphasize the need for
                                                                             by padlock and the keys are kept on the Bridge. The entire Environmental           proper segregation at the source. The strainer was welded to avoid
                                                                             Team has been retrained and the keys from the chute were moved under the           removal.
                                                                             Captain’s supervision. Use of the chute will need to be approved by the
                                                                             Captain. As a further preventive measure, the ship will conduct training with
                                                                             all team members involved in food waste separation to emphasize the need for
                                                                             proper segregation at the source. The strainer will be welded to avoid removal.
                                                                             The ship’s voyages are in the Wider Caribbean Region, a MARPOL Annex V
                                                                             special area. The ship has considered a food waste shedder for hard food items
                                                                             instead of offloading ashore however the system is currently not suitable on the
                                                                             ship. The operating line is currently investigating into other solutions.
116.            04.26.2019*    04.14.2019     CCL            Carnival        During routine cleaning of the Crew, Main and Lido Galley filters, paper and       All drain covers and missing drain bells were secured and new drain         Complete
                                                             Breeze          plastic were found. Drain bells were had been removed during cleaning,             bells were ordered to replace missing ones. Involved crew were
                                                                             allowing plastic and food waste to fall into grey water drains and obstruct pipe   trained not to remove drain bells. Entries were made in NAPA eLog.
                                                                             lines. All drain covers and missing drain bells were secured and new drain         As a result of similar findings on other ships, the operating line issued
                                                                             bells were ordered to replace missing ones. Involved crew were trained not to      two Environmental Notices, one directing changes to pulper
                                                                             remove drain bells. Entries were made in NAPA eLog. As a result of similar         operations, securing, supervision and training. The other directed a
                                                                             findings on other ships, the operating line issued two Environmental Notices,      complete technical review, to include inspection, servicing and
                                                                             one directing changes to pulper operations, securing, supervision and training.    cleaning of the entire food waste treatment and transport system on
                                                                             The other directed a complete technical review, to include inspection, servicing   every ship. Pulper stations were placed out of service and food waste
                                                                             and cleaning of the entire food waste treatment and transport system on every      was held onboard pending completion of all EN tasks. Training was
                                                                             ship. Pulper stations were placed out of service and food waste was held           conducted with involved crew regarding Food Waste Management. A
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                                                 Group
                                                                             onboard pending completion of all EN tasks. Training was conducted with           list of all food waste units and a food waste disposal log was created to
                                                                             involved crew regarding Food Waste Management. A list of all food waste           ensure oversight/control of food waste disposal operations. Pulpers
                                                                             units and a food waste disposal log was created to ensure oversight/control of    were secured by padlocks and key control was assigned to the Food
                                                                             food waste disposal operations. Pulpers were secured by padlocks and key          Operations Manager. All operating line ships have now completed the
                                                                             control was assigned to the Food Operations Manager. All operating line ships     tasks included in the two Environmental Notices.
                                                                             have now completed the tasks included in the two Environmental Notices.
                                                                             During the required technical review, non-food items (plastic, cutlery, metal
                                                                             items, pieces of towel) were found stuck inside food waste shredder systems
                                                                             and food waste tanks due to improper waste segregation and lack of
                                                                             supervision. Furthermore, six pulper station covers were missing and two
                                                                             were damaged.
117.            04.26.2019*    04.19.2019     CCL            Carnival        During a technical review, after emptying the food waste tank, the inspection     The operating line issued two Environmental Notices, one directing          Complete
                                                             Dream           hatch and the magnetic traps located in the Recycling Center were cleaned and     changes to pulper operations, securing, supervision and training.
                                                                             inspections were performed. 40 pieces of silverware, 70 beer bottle caps, one     Training was conducted with involved crew regarding Food Waste
                                                                             piece of a surface scraper and a few pieces of hard bone were recovered from      Management. A list of all food waste units and a food waste disposal
                                                                             the tank and discarded in appropriate bins by the Environmental Technician.       log was created to ensure oversight/control of food waste disposal
                                                                             As a result of similar findings on other ships, the operating line issued two     operations. Pulpers were secured by padlocks and key control was
                                                                             Environmental Notices, one directing changes to pulper operations, securing,      assigned to the Food Operations Manager or their senior most
                                                                             supervision and training. The other directed a complete technical review, to      assistant. All operating line ships have completed the tasks included
                                                                             include inspection, servicing and cleaning of the entire food waste treatment     in the two Environmental Notices and have confirmed in the CMS.
                                                                             and transport system on every ship. Pulper stations were placed out of service
                                                                             and food waste was held onboard pending completion of all EN tasks.
                                                                             Training was conducted with involved crew regarding Food Waste
                                                                             Management. A list of all food waste units and a food waste disposal log was
                                                                             created to ensure oversight/control of food waste disposal operations. Pulpers
                                                                             were secured by padlocks and key control was assigned to the Food Operations
                                                                             Manager or their senior most assistant. All operating line ships have
                                                                             completed the tasks included in the two Environmental Notices and have
                                                                             confirmed in the CMS.
118.            04.26.2019*    04.06.2019     CCL            Carnival        During the EO’s spot check before the discharge of food waste, many non-          The non-food items were removed immediately and placed in their             Complete
                                                             Elation         food items like plastic straws, rubber bands, fruit stickers, tea bags, sugar     respective bins. As a preventive measure, all team members were
                                                                             sachets, etc. were found in red bins due to improper waste segregation by team    retrained on food waste segregation at source. As a result of a similar
                                                                             members. The non-food items were removed immediately and placed in their          findings on other ships, the operating line issued two Environmental
                                                                             respective bins. As a preventive measure, all team members were retrained on      Notices, one directing changes to pulper operations, securing,
                                                                             food waste segregation at source. As a result of a similar findings on other      supervision and training. The other directed a complete technical
                                                                             ships, the operating line issued two Environmental Notices, one directing         review, to include inspection, servicing and cleaning of the entire food
                                                                             changes to pulper operations, securing, supervision and training. The other       waste treatment and transport system on every ship. Pulper stations
                                                                             directed a complete technical review, to include inspection, servicing and        were placed out of service and food waste was held onboard pending
                                                                             cleaning of the entire food waste treatment and transport system on every ship.   completion of all EN tasks. Training was conducted with involved
                                                                             Pulper stations were placed out of service and food waste was held onboard        crew regarding Food Waste Management. A list of all food waste
                                                                             pending completion of all EN tasks. Training was conducted with involved          units and a food waste disposal log was created to ensure
                                                                             crew regarding Food Waste Management. A list of all food waste units and a        oversight/control of food waste disposal operations. Pulpers were
                                                                             food waste disposal log was created to ensure oversight/control of food waste     secured by padlocks and key control was assigned to the Food
                                                                             disposal operations. Pulpers were secured by padlocks and key control was         Operations Manager or their senior most assistant. All operating line
                                                                             assigned to the Food Operations Manager or their senior most assistant. All       ships have completed the tasks included in the two Environmental
                                                                             operating line ships have completed the tasks included in the two                 Notices and have confirmed this in the CMS.
                                                                             Environmental Notices and have confirmed this in the CMS.
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                Notification     Incident       Line /                                                                                                                                                                                      Action Plan
                                                Group
119.            04.26.2019*    04.12.2019     CCL            Carnival        While the ship was underway towards Galveston, Texas, the food waste                The Food Manager was notified of the issue and he held a meeting           Complete
                                                             Freedom         system was blocked due to large amounts of silverware and plastic in the            with this team to highlight the importance of proper separation of
                                                                             system. The amount of silverware and plastic found in the system indicated          garbage from food waste. The Food Department will monitor the
                                                                             that the garbage separation was not being undertaken properly. The Food             Food Waste System closely in order to avoid situations like this from
                                                                             Manager was notified of the issue and he held a meeting with this team to           recurring. As a result of a similar findings on other ships, the
                                                                             highlight the importance of proper separation of garbage from food waste. The       operating line issued two Environmental Notices, one directing
                                                                             Food Department will monitor the Food Waste System closely in order to              changes to pulper operations, securing, supervision and training. The
                                                                             avoid situations like this from recurring. As a result of a similar findings on     other directed a complete technical review, to include inspection,
                                                                             other ships, the operating line issued two Environmental Notices, one directing     servicing and cleaning of the entire food waste treatment and transport
                                                                             changes to pulper operations, securing, supervision and training. The other         system on every ship. Pulper stations were placed out of service and
                                                                             directed a complete technical review, to include inspection, servicing and          food waste was held onboard pending completion of all EN tasks.
                                                                             cleaning of the entire food waste treatment and transport system on every ship.     Training was conducted with involved crew regarding Food Waste
                                                                             Pulper stations were placed out of service and food waste was held onboard          Management. A list of all food waste units and a food waste disposal
                                                                             pending completion of all EN tasks. Training was conducted with involved            log was created to ensure oversight/control of food waste disposal
                                                                             crew regarding Food Waste Management. A list of all food waste units and a          operations. Pulpers were secured by padlocks and key control was
                                                                             food waste disposal log was created to ensure oversight/control of food waste       assigned to the Food Operations Manager or their senior most
                                                                             disposal operations. Pulpers were secured by padlocks and key control was           assistant. All operating line ships have completed the tasks included
                                                                             assigned to the Food Operations Manager or their senior most assistant. All         in the two Environmental Notices and have confirmed this in the
                                                                             operating line ships have completed the tasks included in the two                   CMS.
                                                                             Environmental Notices and have confirmed this in the CMS.
120.            04.26.2019*    04.19.2019     CCL            Carnival        During the inspection and cleaning of the food waste systems on board, non-         The non-food items were removed and disposed of accordingly. As            Complete
                                                             Freedom         food items were found in the food waste tank and in the magnetic trap. The          per Company Environmental Notice #64, the pulper systems will now
                                                                             non-food items included silverware, beer caps, and plastic. The non-food            be locked and controlled by the Food Operations Manager or his
                                                                             items were removed and disposed of accordingly. An entry will be made in            senior assistant. A log entry will be required each time a pulper is
                                                                             the NAPA eLog. As per Company Environmental Notice #64, the pulper                  used. In addition to this, any non-food item that is identified must be
                                                                             systems will now be locked and controlled by the Food Operations Manager or         removed and documented immediately in the newly implemented log.
                                                                             his senior assistant. A log entry will be required each time a pulper is used. In   The EO must be informed for any further notification which is
                                                                             addition to this, any non-food item that is identified must be removed and          required. The crewmembers will be retrained and reminded of the
                                                                             documented immediately in the newly implemented log. The EO must be                 importance of proper food waste segregation. As a result of a similar
                                                                             informed for any further notification which is required. The crewmembers will       findings on other ships, the operating line issued two Environmental
                                                                             be retrained and reminded of the importance of proper food waste segregation.       Notices, one directing changes to pulper operations, securing,
                                                                             As a result of a similar findings on other ships, the operating line issued two     supervision and training. The other directed a complete technical
                                                                             Environmental Notices, one directing changes to pulper operations, securing,        review, to include inspection, servicing and cleaning of the entire food
                                                                             supervision and training. The other directed a complete technical review, to        waste treatment and transport system on every ship. Pulper stations
                                                                             include inspection, servicing and cleaning of the entire food waste treatment       were placed out of service and food waste was held onboard pending
                                                                             and transport system on every ship. Pulper stations were placed out of service      completion of all EN tasks. Training was conducted with involved
                                                                             and food waste was held onboard pending completion of all EN tasks.                 crew regarding Food Waste Management. A list of all food waste
                                                                             Training was conducted with involved crew regarding Food Waste                      units and a food waste disposal log was created to ensure
                                                                             Management. A list of all food waste units and a food waste disposal log was        oversight/control of food waste disposal operations. Pulpers were
                                                                             created to ensure oversight/control of food waste disposal operations. Pulpers      secured by padlocks and key control was assigned to the Food
                                                                             were secured by padlocks and key control was assigned to the Food Operations        Operations Manager or their senior most assistant. All operating line
                                                                             Manager or their senior most assistant. All operating line ships have               ships have completed the tasks included in the two Environmental
                                                                             completed the tasks included in the two Environmental Notices and have              Notices and have confirmed this in the CMS.
                                                                             confirmed this in the CMS.
121.            04.26.2019*    04.18.2019     CCL            Carnival        As per Environmental Notice #65, the food waste tank and its magnet were            As a result of a similar findings on other ships, the operating line       Complete
                                                             Glory           opened for inspection and cleaning. Solid non-food waste items (silverware          issued two Environmental Notices, one directing changes to pulper
                                                                             and china) were found inside. This was likely due to lack of attention during       operations, securing, supervision and training. The other directed a
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                Notification     Incident        Line /                                                                                                                                                                                        Action Plan
                                                 Group
                                                                             food waste segregation. As a result of a similar findings on other ships, the         complete technical review, to include inspection, servicing and
                                                                             operating line issued two Environmental Notices, one directing changes to             cleaning of the entire food waste treatment and transport system on
                                                                             pulper operations, securing, supervision and training. The other directed a           every ship. Pulper stations were placed out of service and food waste
                                                                             complete technical review, to include inspection, servicing and cleaning of the       was held onboard pending completion of all EN tasks. Training was
                                                                             entire food waste treatment and transport system on every ship. Pulper stations       conducted with involved crew regarding Food Waste Management. A
                                                                             were placed out of service and food waste was held onboard pending                    list of all food waste units and a food waste disposal log was created to
                                                                             completion of all EN tasks. Training was conducted with involved crew                 ensure oversight/control of food waste disposal operations. Pulpers
                                                                             regarding Food Waste Management. A list of all food waste units and a food            were secured by padlocks and key control was assigned to the Food
                                                                             waste disposal log was created to ensure oversight/control of food waste              Operations Manager or their senior most assistant. All operating line
                                                                             disposal operations. Pulpers were secured by padlocks and key control was             ships have completed the tasks included in the two Environmental
                                                                             assigned to the Food Operations Manager or their senior most assistant. All           Notices and have confirmed this in the CMS.
                                                                             operating line ships have completed the tasks included in the two
                                                                             Environmental Notices and have confirmed this in the CMS.
122.            04.26.2019*    04.18.2019     CCL            Carnival        While the ship was alongside in Cozumel, Mexico, the food waste tanks and             The tanks and trap were cleaned. The system was put of service by          Complete
                                                             Horizon         magnetic trap were inspected for non-food items as per company                        isolating the power on each disposal hatch and the system will remain
                                                                             Environmental Notice #65. Two rags were found in one of the two food waste            out of service until further controls are applied that will additionally
                                                                             tanks and 12 pieces of silverware were found in the magnetic trap. These              prevent accidental discharge of non-food items into the sea. As a
                                                                             items were caught by the system components that keep non-food items from              result of a similar findings on other ships, the operating line issued two
                                                                             being accidentally discharged with food waste. The tanks and trap were                Environmental Notices, one directing changes to pulper operations,
                                                                             cleaned. The system was put of service by isolating the power on each                 securing, supervision and training. The other directed a complete
                                                                             disposal hatch and the system will remain out of service until further controls       technical review, to include inspection, servicing and cleaning of the
                                                                             are applied that will additionally prevent accidental discharge of non-food           entire food waste treatment and transport system on every ship. Pulper
                                                                             items into the sea. As a result of a similar findings on other ships, the             stations were placed out of service and food waste was held onboard
                                                                             operating line issued two Environmental Notices, one directing changes to             pending completion of all EN tasks. Training was conducted with
                                                                             pulper operations, securing, supervision and training. The other directed a           involved crew regarding Food Waste Management. A list of all food
                                                                             complete technical review, to include inspection, servicing and cleaning of the       waste units and a food waste disposal log was created to ensure
                                                                             entire food waste treatment and transport system on every ship. Pulper stations       oversight/control of food waste disposal operations. Pulpers were
                                                                             were placed out of service and food waste was held onboard pending                    secured by padlocks and key control was assigned to the Food
                                                                             completion of all EN tasks. Training was conducted with involved crew                 Operations Manager or their senior most assistant. All operating line
                                                                             regarding Food Waste Management. A list of all food waste units and a food            ships have completed the tasks included in the two Environmental
                                                                             waste disposal log was created to ensure oversight/control of food waste              Notices and have confirmed this in the CMS.
                                                                             disposal operations. Pulpers were secured by padlocks and key control was
                                                                             assigned to the Food Operations Manager or their senior most assistant. All
                                                                             operating line ships have completed the tasks included in the two
                                                                             Environmental Notices and have confirmed this in the CMS.
123.            04.26.2019*    04.20.2019     CCL            Carnival        Prior to filling the pulpers, galley stewards, under the supervision of Galley        All non-food items found in the red bins were immediately removed           Complete
                                                             Imagination     Supervisors, found the following non-food items in 19 red bins labelled “Food         and placed into the designated waste containers according to the
                                                                             Only”: eight tea sachets, four sugar sachets, two coffee stirrers, four forks, five   Garbage Management Plan. An email was sent by the Hotel Director
                                                                             plastic coffee cup lids, one plastic water bottle cap, and five plastic bags. The     to all department managers requesting that training be delivered to all
                                                                             cause of this incident is improper waste segregation. There is no evidence that       onboard team members regarding the prohibited non-food items found
                                                                             any non-food items were discharged overboard. An entry was made in the                in the red bins. As a further preventive measure, shipboard command
                                                                             NAPA eLog. All non-food items found in the red bins were immediately                  will increase supervision at the sites to ensure proper waste
                                                                             removed and placed into the designated waste containers according to the              segregation at the source. As a result of a similar findings on other
                                                                             Garbage Management Plan. An email was sent by the Hotel Director to all               ships, the operating line issued two Environmental Notices, one
                                                                             department managers requesting that training be delivered to all onboard team         directing changes to pulper operations, securing, supervision and
                                                                             members regarding the prohibited non-food items found in the red bins. As a           training. The other directed a complete technical review, to include
                                                                             further preventive measure, shipboard command will increase supervision at            inspection, servicing and cleaning of the entire food waste treatment
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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             the sites to ensure proper waste segregation at the source. As a result of a       and transport system on every ship. Pulper stations were placed out of
                                                                             similar findings on other ships, the operating line issued two Environmental       service and food waste was held onboard pending completion of all
                                                                             Notices, one directing changes to pulper operations, securing, supervision and     EN tasks. Training was conducted with involved crew regarding Food
                                                                             training. The other directed a complete technical review, to include inspection,   Waste Management. A list of all food waste units and a food waste
                                                                             servicing and cleaning of the entire food waste treatment and transport system     disposal log was created to ensure oversight/control of food waste
                                                                             on every ship. Pulper stations were placed out of service and food waste was       disposal operations. Pulpers were secured by padlocks and key
                                                                             held onboard pending completion of all EN tasks. Training was conducted            control was assigned to the Food Operations Manager or their senior
                                                                             with involved crew regarding Food Waste Management. A list of all food             most assistant. All operating line ships have completed the tasks
                                                                             waste units and a food waste disposal log was created to ensure                    included in the two Environmental Notices and have confirmed this in
                                                                             oversight/control of food waste disposal operations. Pulpers were secured by       the CMS.
                                                                             padlocks and key control was assigned to the Food Operations Manager or
                                                                             their senior most assistant. All operating line ships have completed the tasks
                                                                             included in the two Environmental Notices and have confirmed this in the
                                                                             CMS.
124.            04.26.2019*    04.19.2019     CCL            Carnival        During an inspection of all food waste tanks, flushing of the lines, and           The Waste Disposal Log, identification and marking of the food         Complete
                                                             Liberty         inspection of cutlery trap, several non-food items (cutlery, broken china,         feeding stations and related locking mechanism were implemented.
                                                                             toothpicks, rags) were found inside the silo and cutlery trap. There was no        The necessary training was conducted with all departments involved
                                                                             evidence that any non-food items went overboard. The requested modification        with food handling. The Captain sent a very clear message to the
                                                                             to put a metal partition before the suction pipe penetration was not carried out   involved departments about the importance of proper food segregation
                                                                             due to the original design of the collecting tank and the silo. However, the       and close supervision during the disposal of food waste. As a further
                                                                             Waste Disposal Log, identification and marking of the food feeding stations        preventive measure, frequent inspections and repetitive reminders
                                                                             and related locking mechanism were implemented. The necessary training was         during departmental meetings will be carried out. As a result of a
                                                                             conducted with all departments involved with food handling. The Captain sent       similar findings on other ships, the operating line issued two
                                                                             a very clear message to the involved departments about the importance of           Environmental Notices, one directing changes to pulper operations,
                                                                             proper food segregation and close supervision during the disposal of food          securing, supervision and training. The other directed a complete
                                                                             waste. An entry was made in the NAPA eLog. As a further preventive                 technical review, to include inspection, servicing and cleaning of the
                                                                             measure, frequent inspections and repetitive reminders during departmental         entire food waste treatment and transport system on every ship. Pulper
                                                                             meetings will be carried out. As a result of a similar findings on other ships,    stations were placed out of service and food waste was held onboard
                                                                             the operating line issued two Environmental Notices, one directing changes to      pending completion of all EN tasks. Training was conducted with
                                                                             pulper operations, securing, supervision and training. The other directed a        involved crew regarding Food Waste Management. A list of all food
                                                                             complete technical review, to include inspection, servicing and cleaning of the    waste units and a food waste disposal log was created to ensure
                                                                             entire food waste treatment and transport system on every ship. Pulper stations    oversight/control of food waste disposal operations. Pulpers were
                                                                             were placed out of service and food waste was held onboard pending                 secured by padlocks and key control was assigned to the Food
                                                                             completion of all EN tasks. Training was conducted with involved crew              Operations Manager or their senior most assistant. All operating line
                                                                             regarding Food Waste Management. A list of all food waste units and a food         ships have completed the tasks included in the two Environmental
                                                                             waste disposal log was created to ensure oversight/control of food waste           Notices and have confirmed this in the CMS.
                                                                             disposal operations. Pulpers were secured by padlocks and key control was
                                                                             assigned to the Food Operations Manager or their senior most assistant. All
                                                                             operating line ships have completed the tasks included in the two
                                                                             Environmental Notices and have confirmed this in the CMS.
125.            04.26.2019*    04.18.2019     CCL            Carnival        All the food waste tanks and silos located on Deck B and C and the magnetic        The items were segregated and discarded in appropriate bins by the       Complete
                                                             Magic           traps located in the Recycling Center were inspected and cleaned. Silverware,      Environmental crew. The food waste was offloaded on 21 April. As
                                                                             beer bottle caps, shells, broken china, and bones were found. The items were       per Company Environmental Notice #65, the pulper and manual
                                                                             segregated and discarded in appropriate bins by the Environmental crew. The        feeding hatches are now locked and a pulper chute/manual feeding
                                                                             food waste was offloaded on 21 April. As per Company Environmental Notice          hatch food waste disposal log has been implemented. Training was
                                                                             #65, the pulper and manual feeding hatches are now locked and a pulper             also provided to food department crewmembers. An entry was made
                                                                             chute/manual feeding hatch food waste disposal log has been implemented.           in the Garbage Record Book. As a result of a similar findings on other
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                  Date of         Date of       Operating        Vessel                                 Description of Incident                                                 Analysis Summary and Action Plan                         Status of
                Notification     Incident        Line /                                                                                                                                                                                 Action Plan
                                                 Group
                                                                             Training was also provided to food department crewmembers. An entry was            ships, the operating line issued two Environmental Notices, one
                                                                             made in the Garbage Record Book. As a result of a similar findings on other        directing changes to pulper operations, securing, supervision and
                                                                             ships, the operating line issued two Environmental Notices, one directing          training. The other directed a complete technical review, to include
                                                                             changes to pulper operations, securing, supervision and training. The other        inspection, servicing and cleaning of the entire food waste treatment
                                                                             directed a complete technical review, to include inspection, servicing and         and transport system on every ship. Pulper stations were placed out of
                                                                             cleaning of the entire food waste treatment and transport system on every ship.    service and food waste was held onboard pending completion of all
                                                                             Pulper stations were placed out of service and food waste was held onboard         EN tasks. Training was conducted with involved crew regarding Food
                                                                             pending completion of all EN tasks. Training was conducted with involved           Waste Management. A list of all food waste units and a food waste
                                                                             crew regarding Food Waste Management. A list of all food waste units and a         disposal log was created to ensure oversight/control of food waste
                                                                             food waste disposal log was created to ensure oversight/control of food waste      disposal operations. Pulpers were secured by padlocks and key
                                                                             disposal operations. Pulpers were secured by padlocks and key control was          control was assigned to the Food Operations Manager or their senior
                                                                             assigned to the Food Operations Manager or their senior most assistant. All        most assistant. All operating line ships have completed the tasks
                                                                             operating line ships have completed the tasks included in the two                  included in the two Environmental Notices and have confirmed this in
                                                                             Environmental Notices and have confirmed this in the CMS.                          the CMS.
126.            04.26.2019*    04.19.2019     CCL            Carnival        As part of the CMO’s request, both food waste tanks were inspected and             Both tanks were cleaned to ensure none of the non-food items would        Complete
                                                             Pride           cleaned and a few non-food items were found including various small pieces of      be discharged overboard. As a preventive measure, a meeting/training
                                                                             broken china, one fork, an unidentified piece of metal and a few beer caps.        was carried out with all personnel responsible for feeding, operating,
                                                                             This resulted due to the failure of unidentified crewmembers to properly           and supervising the pulper system operations. Fleet wide pulper
                                                                             segregate waste and the failure of the pulper system operators to notice the       stations are locked and a galley supervisor must be present to monitor
                                                                             non-food items. Due to the large number of pulpers onboard, the ship has           the feeding of food waste into the pulper. All 11 pulper stations are
                                                                             experienced difficulty scheduling supervision to all locations. Both tanks were    locked, however, only six of them will actually be used for food waste
                                                                             cleaned to ensure none of the non-food items would be discharged overboard.        disposal and only at specific times when galley supervisors are
                                                                             As a preventive measure, a meeting/training was carried out with all personnel     available. The feeding of the pulper and name of galley supervisor
                                                                             responsible for feeding, operating, and supervising the pulper system              will be recorded in a dedicated log. As a result of a similar findings on
                                                                             operations. Fleet wide pulper stations are locked and a galley supervisor must     other ships, the operating line issued two Environmental Notices, one
                                                                             be present to monitor the feeding of food waste into the pulper. All 11 pulper     directing changes to pulper operations, securing, supervision and
                                                                             stations are locked, however, only six of them will actually be used for food      training. The other directed a complete technical review, to include
                                                                             waste disposal and only at specific times when galley supervisors are available.   inspection, servicing and cleaning of the entire food waste treatment
                                                                             The feeding of the pulper and name of galley supervisor will be recorded in a      and transport system on every ship. Pulper stations were placed out of
                                                                             dedicated log. As a result of a similar findings on other ships, the operating     service and food waste was held onboard pending completion of all
                                                                             line issued two Environmental Notices, one directing changes to pulper             EN tasks. Training was conducted with involved crew regarding Food
                                                                             operations, securing, supervision and training. The other directed a complete      Waste Management. A list of all food waste units and a food waste
                                                                             technical review, to include inspection, servicing and cleaning of the entire      disposal log was created to ensure oversight/control of food waste
                                                                             food waste treatment and transport system on every ship. Pulper stations were      disposal operations. Pulpers were secured by padlocks and key
                                                                             placed out of service and food waste was held onboard pending completion of        control was assigned to the Food Operations Manager or their senior
                                                                             all EN tasks. Training was conducted with involved crew regarding Food             most assistant. All operating line ships have completed the tasks
                                                                             Waste Management. A list of all food waste units and a food waste disposal         included in the two Environmental Notices and have confirmed this in
                                                                             log was created to ensure oversight/control of food waste disposal operations.     the CMS.
                                                                             Pulpers were secured by padlocks and key control was assigned to the Food
                                                                             Operations Manager or their senior most assistant. All operating line ships
                                                                             have completed the tasks included in the two Environmental Notices and have
                                                                             confirmed this in the CMS.
127.            04.26.2019*    04.18.2019     CCL            Carnival        Food waste system tanks #1 and #2 were inspected in order to assess the            All non-food items were removed from the soft food waste which was Complete
                                                             Spirit          presence of any non-food items in the tanks. Approximately three kilograms         being discharged to the pulper units. The food tanks were emptied and
                                                                             of non-food items including plastics, paper, metal objects and broken china        cleaned. As a result of a similar findings on other ships, the operating
                                                                             were found in the tanks. All non-food items were removed from the soft food        line issued two Environmental Notices, one directing changes to
                                                                             waste which was being discharged to the pulper units. The food tanks were          pulper operations, securing, supervision and training. The other
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                Notification     Incident        Line /                                                                                                                                                                                 Action Plan
                                                 Group
                                                                             emptied and cleaned. As a result of a similar findings on other ships, the        directed a complete technical review, to include inspection, servicing
                                                                             operating line issued two Environmental Notices, one directing changes to         and cleaning of the entire food waste treatment and transport system
                                                                             pulper operations, securing, supervision and training. The other directed a       on every ship. Pulper stations were placed out of service and food
                                                                             complete technical review, to include inspection, servicing and cleaning of the   waste was held onboard pending completion of all EN tasks. Training
                                                                             entire food waste treatment and transport system on every ship. Pulper stations   was conducted with involved crew regarding Food Waste
                                                                             were placed out of service and food waste was held onboard pending                Management. A list of all food waste units and a food waste disposal
                                                                             completion of all EN tasks. Training was conducted with involved crew             log was created to ensure oversight/control of food waste disposal
                                                                             regarding Food Waste Management. A list of all food waste units and a food        operations. Pulpers were secured by padlocks and key control was
                                                                             waste disposal log was created to ensure oversight/control of food waste          assigned to the Food Operations Manager or their senior most
                                                                             disposal operations. Pulpers were secured by padlocks and key control was         assistant. All operating line ships have completed the tasks included
                                                                             assigned to the Food Operations Manager or their senior most assistant. All       in the two Environmental Notices and have confirmed this in the
                                                                             operating line ships have completed the tasks included in the two                 CMS.
                                                                             Environmental Notices and have confirmed this in the CMS.
128.            04.26.2019*    04.14.2019     CCL            Carnival        When the food waste collection tank was opened for inspection during an           The tank was cleaned and placed back in service. As a preventive        Complete
                                                             Valor           unannounced CAM visit, a piece of broken china was found. It was agreed by        measure, all pulpers will remain locked and food will be disposed only
                                                                             the ship’s management that this tank should be completely emptied, washed         under the supervision of galley supervisors. Further, if, during weekly
                                                                             and then put back in service. The food waste processing system was stopped        tank washing, non-food debris is found in the food tank, this will be
                                                                             in order to empty the food waste collection tank. The waste found in the tank     immediately reported to the Staff Captain. All operating line ships
                                                                             will be offloaded in port. Once the environmental technician and                  have completed the Environmental Notice where technical inspections,
                                                                             environmental team leader started to take food leftovers out of the tank, they    trainings and the new oversight procedures were implemented across
                                                                             discovered and retrieved two buckets of silver cutlery along with some more       the company. As a result of a similar findings on other ships, the
                                                                             china at the bottom below the overboard suction pipe. There was no evidence       operating line issued two Environmental Notices, one directing
                                                                             that any non-food items went overboard. Records indicate that the last time       changes to pulper operations, securing, supervision and training. The
                                                                             this tank was completely cleaned and emptied was in January 2016. The tank        other directed a complete technical review, to include inspection,
                                                                             was cleaned and placed back in service. As a preventive measure, all pulpers      servicing and cleaning of the entire food waste treatment and transport
                                                                             will remain locked and food will be disposed only under the supervision of        system on every ship. Pulper stations were placed out of service and
                                                                             galley supervisors. Further, if, during weekly tank washing, non-food debris is   food waste was held onboard pending completion of all EN tasks.
                                                                             found in the food tank, this will be immediately reported to the Staff Captain.   Training was conducted with involved crew regarding Food Waste
                                                                             All operating line ships have completed the Environmental Notice where            Management. A list of all food waste units and a food waste disposal
                                                                             technical inspections, trainings and the new oversight procedures were            log was created to ensure oversight/control of food waste disposal
                                                                             implemented across the company. As a result of a similar findings on other        operations. Pulpers were secured by padlocks and key control was
                                                                             ships, the operating line issued two Environmental Notices, one directing         assigned to the Food Operations Manager or their senior most
                                                                             changes to pulper operations, securing, supervision and training. The other       assistant. All operating line ships have completed the tasks included
                                                                             directed a complete technical review, to include inspection, servicing and        in the two Environmental Notices and have confirmed this in the
                                                                             cleaning of the entire food waste treatment and transport system on every ship.   CMS.
                                                                             Pulper stations were placed out of service and food waste was held onboard
                                                                             pending completion of all EN tasks. Training was conducted with involved
                                                                             crew regarding Food Waste Management. A list of all food waste units and a
                                                                             food waste disposal log was created to ensure oversight/control of food waste
                                                                             disposal operations. Pulpers were secured by padlocks and key control was
                                                                             assigned to the Food Operations Manager or their senior most assistant. All
                                                                             operating line ships have completed the tasks included in the two
                                                                             Environmental Notices and have confirmed this in the CMS.
129.            04.26.2019*    04.13.2019     CCL            Carnival        An inspection of the housekeeping pantries on Decks 1, 2 and 8 revealed that      At the housekeeping meeting the following day, the importance of         Complete
                                                             Victory         food waste segregation was not being undertaken properly. Instruction was         food waste segregation at source was emphasized and further
                                                                             provided about how to properly segregate food waste. At the housekeeping          instruction was provided about how to properly segregate waste. It
                                                                             meeting the following day, the importance of food waste segregation at source     was imparted that only segregated food waste should be brought to the
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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             was emphasized and further instruction was provided about how to properly          galleys. Food waste segregation will continue to be monitored
                                                                             segregate waste. It was imparted that only segregated food waste should be         together with coaching and training. Inspection and monitoring of
                                                                             brought to the galleys. Food waste segregation will continue to be monitored       food waste segregation will be increased. As a result of a similar
                                                                             together with coaching and training. Inspection and monitoring of food waste       findings on other ships, the operating line issued two Environmental
                                                                             segregation will be increased. As a result of a similar findings on other ships,   Notices, one directing changes to pulper operations, securing,
                                                                             the operating line issued two Environmental Notices, one directing changes to      supervision and training. The other directed a complete technical
                                                                             pulper operations, securing, supervision and training. The other directed a        review, to include inspection, servicing and cleaning of the entire food
                                                                             complete technical review, to include inspection, servicing and cleaning of the    waste treatment and transport system on every ship. Pulper stations
                                                                             entire food waste treatment and transport system on every ship. Pulper stations    were placed out of service and food waste was held onboard pending
                                                                             were placed out of service and food waste was held onboard pending                 completion of all EN tasks. Training was conducted with involved
                                                                             completion of all EN tasks. Training was conducted with involved crew              crew regarding Food Waste Management. A list of all food waste
                                                                             regarding Food Waste Management. A list of all food waste units and a food         units and a food waste disposal log was created to ensure
                                                                             waste disposal log was created to ensure oversight/control of food waste           oversight/control of food waste disposal operations. Pulpers were
                                                                             disposal operations. Pulpers were secured by padlocks and key control was          secured by padlocks and key control was assigned to the Food
                                                                             assigned to the Food Operations Manager or their senior most assistant. All        Operations Manager or their senior most assistant. All operating line
                                                                             operating line ships have completed the tasks included in the two                  ships have completed the tasks included in the two Environmental
                                                                             Environmental Notices and have confirmed this in the CMS.                          Notices and have confirmed this in the CMS.
130.            04.26.2019*    04.18.2019     CCL            Carnival        While cleaning the food waste silo and the de-watering screw, non-food items       To comply with Environmental Notice #64, the whole pulper system         Complete
                                                             Vista           like plastic were found inside the food waste silo and de-watering screw. The      was cleaned. A refreshing training was given to all the crewmembers
                                                                             plastic was removed and the silo and de-watering screw were cleaned. It            working by the pulper. As a preventive measure, all measures
                                                                             cannot be confirmed whether any plastic went overboard. The silo is cleaned        required by Environmental Notice #64 are in place. As a result of a
                                                                             after every discharge. To comply with Environmental Notice #64, the whole          similar findings on other ships, the operating line issued two
                                                                             pulper system was cleaned. A refreshing training was given to all the              Environmental Notices, one directing changes to pulper operations,
                                                                             crewmembers working by the pulper. As a preventive measure, all measures           securing, supervision and training. The other directed a complete
                                                                             required by Environmental Notice #64 are in place. As a result of a similar        technical review, to include inspection, servicing and cleaning of the
                                                                             findings on other ships, the operating line issued two Environmental Notices,      entire food waste treatment and transport system on every ship. Pulper
                                                                             one directing changes to pulper operations, securing, supervision and training.    stations were placed out of service and food waste was held onboard
                                                                             The other directed a complete technical review, to include inspection, servicing   pending completion of all EN tasks. Training was conducted with
                                                                             and cleaning of the entire food waste treatment and transport system on every      involved crew regarding Food Waste Management. A list of all food
                                                                             ship. Pulper stations were placed out of service and food waste was held           waste units and a food waste disposal log was created to ensure
                                                                             onboard pending completion of all EN tasks. Training was conducted with            oversight/control of food waste disposal operations. Pulpers were
                                                                             involved crew regarding Food Waste Management. A list of all food waste            secured by padlocks and key control was assigned to the Food
                                                                             units and a food waste disposal log was created to ensure oversight/control of     Operations Manager or their senior most assistant. All operating line
                                                                             food waste disposal operations. Pulpers were secured by padlocks and key           ships have completed the tasks included in the two Environmental
                                                                             control was assigned to the Food Operations Manager or their senior most           Notices and have confirmed this in the CMS.
                                                                             assistant. All operating line ships have completed the tasks included in the two
                                                                             Environmental Notices and have confirmed this in the CMS.
131.            04.26.2019*    04.17.2019     Costa Group    AIDAdiva        While the ship was underway from Rotterdam to Hamburg, a visual inspection         The piece of plastic was immediately removed. Initial onboard            Complete
                                                                             of the processed food waste tanks revealed that a piece of a plastic bag was in    assessments identified the most probable cause to be a lack of
                                                                             the food waste tank. The piece of plastic was immediately removed. Initial         oversight during processing of food wastes through the Pulper System.
                                                                             onboard assessments identified the most probable cause to be a lack of             As a preventive measure, it was decided to place a “sorting table” in
                                                                             oversight during processing of food wastes through the Pulper System. As a         front of the pulper system located in the Recycling Center. Depending
                                                                             preventive measure, it was decided to place a “sorting table” in front of the      on the location of the pulper, this will be implemented fleetwide. A
                                                                             pulper system located in the Recycling Center. Depending on the location of        preventative training meeting was performed with all Galley Utilities,
                                                                             the pulper, this will be implemented fleetwide. A preventative training            the Kitchen Steward and the Hotel top management regarding the
                                                                             meeting was performed with all Galley Utilities, the Kitchen Steward and the       correct operations while using the Pulper System.

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                                                 Group
                                                                             Hotel top management regarding the correct operations while using the Pulper
                                                                             System.
132.            04.26.2019*    04.17.2019     Costa Group    AIDAluna        During a visual inspection of the processed food waste tank, plastic residue,     The spade installation is pending. However, in the meantime, all          In Progress
                                                                             pieces of green garbage bags and metal cutlery were found in the Food Waste       pulper stations are locked and closed so no material can enter the food
                                                                             Tank. The presence of non-food items in the tank was most likely caused by a      waste system.
                                                                             lack of oversight/ failure to follow existing regulations during the processing
                                                                             of food waste. There was no evidence that non-food items were discharged
                                                                             overboard. The tank was deep cleaned. As a preventive measure, it was
                                                                             decided that all food waste overboard discharges would be suspended until the
                                                                             tank was cleaned. All decentralized pulper systems were temporarily set out of
                                                                             service, impacting food waste shore discharge costs and onboard waste
                                                                             storage. Training was completed for engine and hotel crew. Tank cleaning
                                                                             has been completed. A blind spade will be installed.
133.            04.26.2019*    04.16.2019     Costa Group    AIDAvita        A visual inspection of the processed food waste tanks revealed that pieces of     The tank cleaning is complete.                                            Complete
                                                                             plastic were in the food waste tank. Initial onboard assessments identified the
                                                                             most probable root cause to be a lack of oversight during processing of food
                                                                             wastes through the pulper system. As a preventive measure, it was decided
                                                                             that all food waste overboard discharges would be suspended until the tank
                                                                             was cleaned. All decentralized pulper systems were temporarily set out of
                                                                             service, impacting food waste shore discharge costs and onboard waste
                                                                             storage. The content of the Food Tank was disposed to the port reception
                                                                             facility. A preventive training meeting was performed with all Galley and
                                                                             Food Waste Management crewmembers regarding how to correctly operate the
                                                                             Pulper/Food Waste Treatment Systems.
134.            04.26.2019*    04.16.2019     Costa Group    Costa           A visual inspection of the processed food waste tanks revealed a plastic item     A preventative training meeting was performed with all Galley             Complete
                                                             Atlantica       inside the tank. The plastic was immediately removed. Initial onboard             Utilities, the Kitchen Steward and the Hotel top management
                                                                             assessments identified the most probable root cause to be a lack of oversight     regarding the correct operations while using the Pulper System. In
                                                                             during processing of food wastes through the pulper. A preventative training      addition, a Standing Order was issued by the Captain to perform a
                                                                             meeting was performed with all Galley Utilities, the Kitchen Steward and the      visual inspection of all food waste silos once a day.
                                                                             Hotel top management regarding the correct operations while using the Pulper
                                                                             System. In addition, a Standing Order was issued by the Captain to perform a
                                                                             visual inspection of all food waste silos once a day. This will be performed by
                                                                             the EO and will be monitored by the Food and Beverage Director. The same
                                                                             action will only be implemented on the ship’s sister vessel where the design of
                                                                             the ship allows to check the food waste before discharge. The Environmental
                                                                             team is finalizing a complete fleet wide action map, that takes into
                                                                             consideration all different arrangements.
135.            04.26.2019*    04.18.2019     Costa Group    Costa           During a visual inspection of the processed food waste tanks, non-food items      A preventive training meeting was performed with Galley and Food          Complete
                                                             Deliziosa       (corks) were found inside the processed food waste tanks and immediately          Waste Management crewmember regarding how to correctly operate
                                                                             removed. Initial onboard assessments identified the most probable root cause      the Pulper/Food Waste Treatment Systems.
                                                                             to be lack of oversight during processing of food wastes through the pulper
                                                                             system. There was no evidence that non-food items were discharged
                                                                             overboard. A preventive training meeting was performed with Galley and
                                                                             Food Waste Management crewmember regarding how to correctly operate the
                                                                             Pulper/Food Waste Treatment Systems.


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                                                Group
136.            04.26.2019*    04.18.2019     Costa Group    Costa           During a visual inspection of the processed food tanks, non-food items (plastic   As a preventive measure, it was decided that all food waste overboard      Complete
                                                             Luminosa        caps, corks) were detected and immediately removed. Initial onboard               discharges would be suspended until the tank was cleaned. All
                                                                             assessments identified the most probable root cause was a lack of oversight       decentralized pulper systems were temporarily set out of service,
                                                                             during processing of food wastes through the pulper system. There was no          impacting food waste shore discharge costs and onboard waste
                                                                             evidence that non-food items were discharged overboard. As a preventive           storage. A preventive training meeting was performed with all Galley
                                                                             measure, it was decided that all food waste overboard discharges would be         and Food Waste Management crewmembers regarding how to
                                                                             suspended until the tank was cleaned. All decentralized pulper systems were       correctly operate the Pulper/Food Waste Treatment Systems.
                                                                             temporarily set out of service, impacting food waste shore discharge costs and
                                                                             onboard waste storage. A preventive training meeting was performed with all
                                                                             Galley and Food Waste Management crewmembers regarding how to correctly
                                                                             operate the Pulper/Food Waste Treatment Systems.
137.            05.07.2019*    04.04.2019     CCL            Carnival        The magnetic switch of the Oily Water Separator (OWS) became damaged              The magnetic switch for the blue box cover has been replaced. CCL          Complete
                                                             Victory         during repairs of a small tube. As there was no spare part available on board,    started the process of confirming which ships have the magnetic
                                                                             the OWS was placed out of service until the part is received (expected by 21      switch interlocked with the overboard discharge. Ships that have this
                                                                             May). There was no impact in the operation as the OWS is still working (in        configuration, the magnetic switch will be added to the Critical Spare
                                                                             recirculation) and the other OWS is fully operational. Magnetic switches will     Part list. This project is expected to be completed before the end of
                                                                             be added to the critical spare part list.                                         May 2019. UPDATE: Upon further review, the failure did not
                                                                                                                                                               indicate a trend which would require the item to be listed as a critical
                                                                                                                                                               spare.
138.            05.07.2019*    04.12.2019     HA Group       Majestic        While the ship was approaching the port entrance of Kaohsiung, Taiwan with        The spares arrived at the ship on April 25, 2019. A technician             Complete
                                                             Princess        two diesel generators (DG) on Advanced Air Quality Systems (AAQS) and             serviced and tested the analyzer. The system is operational.
                                                                             one DG on MGO, there was an erroneous reading for both gas analyzers on the
                                                                             IMACS system. The issue was caused by condensation inside the gas
                                                                             analyzers control unit. A service request was issued for a technician to attend
                                                                             with the required spares. The spares are scheduled to be delivered on 25 April.
                                                                             Until complete repairs can be completed, the AAQS on both DGs will not be
                                                                             available. The ship will therefore burn MGO in the emission control areas.
139.            05.07.2019*    04.08.2019     CCL            Carnival        The incinerator was set out of service because an accumulation of ash was         The ship completed all repairs on 12 April. The incinerator was tested     Complete
                                                             Elation         noted under the flue gas extraction fan casing inside the funnel. It was          and put back in service. There was no operational impact as the ship
                                                                             confirmed that part of the casing was damaged. The ship completed all repairs     had offload waste ashore.
                                                                             on 12 April. The incinerator was tested and put back in service. There was no
                                                                             operational impact as the ship had offload waste ashore.
140.            05.07.2019*    04.07.2019     HA Group       Regal           While the ship was underway towards Princess Cays, Bahamas, the incinerator       The spare parts were delivered on 14 April and repairs were completed      Complete
                                                             Princess        was reported out of service due to a failure on the primary chamber               the following day.
                                                                             thermocouple. An equipment failure report was submitted as no spare parts
                                                                             were available. The spare parts were delivered on 14 April and repairs were
                                                                             completed the following day. The United States Coast Guard and port agent
                                                                             were notified of the inoperable incinerator prior to arrival.
141.            05.07.2019*    03.30.2019     HA Group       Crown           While the ship was alongside in Aruba, the Advanced Air Quality System            The operating line technical department is looking at VSD and VFD          In Progress
                                                             Princess        (AAQS) on diesel generator (DG) #3 was reported out of service due to the         (variable speed/frequency drives) basic maintenance to try and prevent
                                                                             failure of the sea water pump inverter. A new inverter will be installed once     the number of failures. The ship will not run DG #3 while in the ECA
                                                                             delivered in May. As this was an electrical failure/defect, preventing this       unless necessary, and if so, will switch to MGO. No spare inverters
                                                                             incident was not possible. However, the operating line technical department is    are kept onboard. A new inverter will be installed once delivered in
                                                                             looking at VSD and VFD (variable speed/frequency drives) basic maintenance        May. An entry was made in the EGCS logbook. UPDATE:
                                                                             to try and prevent the number of failures. The ship will not run DG #3 while in   Programmed maintenance to the inverters started on June 18, 2019.
                                                                             the ECA unless necessary, and if so, will switch to MGO. No spare inverters

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                                                 Group
                                                                             are kept onboard. A new inverter will be installed once delivered in May. An       The maintenance will be conducted every 18-24 months. All of the
                                                                             entry was made in the EGCS logbook.                                                inverters have been replaced and are back in service.
142.            05.07.2019*    02.09.2019     CUK            Arcadia         While the ship was underway from Honolulu to Lautoka, a control failure            A service engineer fitted and installed the replacement PLC to the Port   Complete
                                                                             occurred on the port membrane bio reactor (MBR), causing the system to             MBR on February 20, 2019.
                                                                             freeze and inhibiting the system’s ability to process sewage. The starboard
                                                                             MBR is only configured to process grey water. The MBR sewage buffer tank
                                                                             went into high level alarm and the sewage was redirected to the starboard bio-
                                                                             sludge tank. Approximately 0.5 cubic meters of sewage overflowed into the
                                                                             bilge well. This was cleaned and will be discharged ashore at the next
                                                                             available opportunity. The ship’s staff and manufacturer were unable to
                                                                             identify a cause of the failure. The ship also experienced difficulties changing
                                                                             over to the starboard MBR to process sewage. The ship raised a self-reported
                                                                             non-conformity and discharged partially treated sewage to prevent further
                                                                             overflows. The MBR has now been configured to accept black and grey water
                                                                             and a service engineer will attend on 20 February to install a new PLC. The
                                                                             incident was entered in the Oil Record Book. Also recorded as a Leaks and
                                                                             Overflows into the Bilge.
143.            05.07.2019*    04.13.2019     CCL            Carnival        During the inspection of the food waste tank, the CAM found a few non-food         An investigation is taking place between 18 April through 20 April        In Progress
                                                             Valor           items like broken china (crockery) inside. The EO was asked to hold all food       and the incident will be updated following further information.
                                                                             waste on board. A clean out of the tank was conducted on 16 April 2019. An
                                                                             investigation is taking place between 18 April through 20 April and the
                                                                             incident will be updated following further information.
144.            05.07.2019*    04.08.2019     CCL            Carnival        A metal support rod used to keep the hard/soft food signage in place               The crew installed locks on all pulper stations.                          Complete
                                                             Spirit          accidentally fell into the pulper unit in the crew galley and could not be
                                                                             recovered. Food tanks were inspected, and as a result approximately 1.5
                                                                             kilograms of metal debris was found in the tanks and removed. The metal
                                                                             debris consisted of spoons, forks, and knives. The metal rod was found
                                                                             shattered in many pieces. In addition, some other fragmented silvers were
                                                                             found and removed. It is suspected that the non food items entered the tank via
                                                                             the pulper station while the food waste was being disposed of. A Garbage
                                                                             Record Book entry was not made as the items were removed from the tank and
                                                                             not discharged to sea. The tanks have been discharged as per normal
                                                                             operations since 08 April 2019. As a preventive measure, locks are being
                                                                             installed on all pulper stations. Keys to the pulper stations are kept with the
                                                                             Galley Supervisors and they will be called to unlock the pulper station and
                                                                             supervise the operation each time the food waste is fed into the pulper station.
145.            05.07.2019*    04.04.2019     HA Group       Caribbean       While the ship was alongside in Belize, a passenger observed several paint         A meeting was held with the deck department the following day where       Complete
                                                             Princess        chips going into the water during routine maintenance on the ship’s provision      ECP principles and best-practices were reinforced to the entire team.
                                                                             door. The passenger took a video of the crewmember working from the inner          Following the incident and internal review, a departmental disciplinary
                                                                             edge of the side door and reported the incident to the Customer Relations          meeting was held for the crewmember performing the maintenance
                                                                             Manager who advised the EO. This incident is a violation of MARPOL Annex           and the supervisor involved. This resulted in a formal warning for the
                                                                             V. An entry was made in the Garbage Record Book and a report was made to           crewmember and a verbal warning for the supervisor based. The
                                                                             the port agent and port authority. The crewmember was briefed on the work          supervisor was reminded they must remain onsite until maintenance
                                                                             and there was a supervisor present who provided all tools to avoid any             has been completed.
                                                                             overboard spillage. The supervisor left the area and the crewmember
                                                                             disregarded guidelines. A meeting was held with the deck department the

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                Notification     Incident        Line /                                                                                                                                                                                    Action Plan
                                                 Group
                                                                             following day where ECP principles and best-practices were reinforced to the
                                                                             entire team. Following the incident and internal review, a departmental
                                                                             disciplinary meeting was held for the crewmember performing the
                                                                             maintenance and the supervisor involved. This resulted in a formal warning
                                                                             for the crewmember and a verbal warning for the supervisor based. The
                                                                             supervisor was reminded they must remain onsite until maintenance has been
                                                                             completed.
146.            05.07.2019*    04.02.2019     CCL            Carnival        There was a blockage in the food waste overboard line and, while resolving the      Other parts of the system that were accessible were also checked to       Complete
                                                             Conquest        issue, unwanted items like bones and broken metal silverware were found and         ensure that there was no other unwanted items and none were found.
                                                                             removed from the line. Other parts of the system that were accessible were
                                                                             also checked to ensure that there was no other unwanted items and none were
                                                                             found. This incident was due to improper waste segregation. Since it cannot
                                                                             be confirmed that items were discharged overboard, there was no garbage
                                                                             record book entry made.
147.            05.07.2019*    04.01.2019     HA Group       Westerdam       While the ship was underway from Yokohama to Kobe, Japan, approximately             The operating line’s Maritime Investigation team are currently            In Progress
                                                                             45 cubic meters of partially treated sewage was accidentally discharged inside      onboard reviewing the incident. Additional information will be
                                                                             12 nautical miles. The MARPOL Annex IV and Company violation was                    provided once available. UPDATE: The final report is pending.
                                                                             reported to the agent and Japanese Coast Guard. The Japanese Coast Guard
                                                                             conducted a Port State Control boarding in Kobe on 03 April and found no
                                                                             deficiencies and stated that no further port state actions would be taken. Flag
                                                                             state is being notified. Entries were made in the Sewage and Grey Water Log
                                                                             Books. The operating line’s Maritime Investigation team are currently
                                                                             onboard reviewing the incident. Additional information will be provided once
                                                                             available.
148.            05.07.2019*    04.02.2019     CUK            Queen           While the ship was alongside in Port Victoria, Australia, the ship experienced a    As a fleet-wide preventative action, the compensation tank levels will    Complete
                                                             Victoria        0.5 degree list resulting in 20 liters of RWF water from the common pool            be reviewed prior to going alongside.
                                                                             overflow line to discharge into the sea in violation of company policy. An
                                                                             investigation identified passing rain showers resulted in additional water in the
                                                                             pools. This resulted in an overflow to the compensation tank, which caused an
                                                                             emergency alarm and resulted in the excess pool water to briefly flow
                                                                             overboard. As a fleet-wide preventative action, the compensation tank levels
                                                                             will be reviewed prior to going alongside.
149.            05.07.2019*    04.27.2019     CCL            Carnival        During inspections between 23 April and 27 April, non-food items were found         The ship is in the process of determining whether action taken has        In Progress
                                                             Breeze          in red food waste bins. The non-food items were removed and disposed                improved sorting.
                                                                             appropriately. To prevent re-occurrence, additional training and increased
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
150.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 25 April and 26 April, non-food items were found         Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Conquest        in red food waste bins and food waste tanks. The non-food items were                will be evaluating sorting issues and develop best practices to address
                                                                             removed and disposed appropriately. To prevent re-occurrence, additional            fleetwide challenges.
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.



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                Notification     Incident       Line /                                                                                                                                                                               Action Plan
                                                Group
151.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 22 April and 26 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Dream           in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
152.            05.07.2019*    04.25.2019     CCL            Carnival        During inspections between 23 April and 26 April, non-food items were found   The ship has experienced an improvement in sorting. There is active       In Progress
                                                             Ecstasy         in red food waste bins. The non-food items were removed and disposed          involvement from all Supervisors and Managers. An average of 70
                                                                             appropriately. To prevent re-occurrence, additional training and increased    red bins per day are sorted with very few pieces of non-food items
                                                                             supervision at food sorting areas and new pulper inspection/control regimes   observed.
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
153.            05.07.2019*    04.21.2019     CCL            Carnival        During inspections between 21 April and 24 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Elation         in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
154.            05.07.2019*    04.27.2019     CCL            Carnival        During inspections between 19 April and 27 April, non-food items were found   Sorting onboard has significantly improved. The ship personnel are        In Progress
                                                             Fantasy         in red food waste bins. The non-food items were removed and disposed          focusing on improving sorting in the crew mess and Blue Iguana.
                                                                             appropriately. To prevent re-occurrence, additional training and increased
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
155.            05.07.2019*    04.20.2019     CCL            Carnival        During inspections between 18 April and 21 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Fascination     in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
156.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 21 April and 26 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Glory           in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
157.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 21 April and 26 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Horizon         in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
158.            05.07.2019*    04.27.2019     CCL            Carnival        During inspections between 21 April and 27 April, non-food items were found   Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Imagination     in red food waste bins. The non-food items were removed and disposed          will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased    fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes

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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
159.            05.07.2019*    04.27.2019     CCL            Carnival        During an inspection, non-food items were found in red food waste bins. The       The ship is in the process of determining whether action taken has        In Progress
                                                             Inspiration     non-food items were removed and disposed appropriately. To prevent re-            improved sorting.
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
160.            05.07.2019*    04.20.2019     CCL            Carnival        During inspections between 21 April and 23 April, non-food items were found       Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Liberty         in red food waste bins. The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased        fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
161.            05.07.2019*    04.22.2019     CCL            Carnival        During inspections between 21 April and 27 April, non-food items were found       Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Magic           in red food waste bins. The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased        fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
162.            05.07.2019*    04.27.2019     CCL            Carnival        During an inspection, non-food items were found in red food waste bins. The       The Environmental Officer prepared a PowerPoint presentation to           In Progress
                                                             Miracle         non-food items were removed and disposed appropriately. To prevent re-            address training. After observing an increase in non-food waste items
                                                                             occurrence, additional training and increased supervision at food sorting areas   in the red bins, the Environmental Officer started a second round of
                                                                             and new pulper inspection/control regimes have been implemented. Reduction        trainings with a new presentation. Fliers are posted on the
                                                                             of non-food waste initiatives have also been introduced.                          departmental notice board as well as shown on the digital TV Notice
                                                                                                                                                               board located in front of the Crew Mess.
163.            05.07.2019*    04.25.2019     CCL            Carnival        During inspections between 15 April and 26 April, non-food items were found       Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Paradise        in red food waste bins. The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased        fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
164.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 23 April and 26 April, non-food items were found       Improvement in minimizing the risk of non-food items in the food          In Progress
                                                             Pride           in red food waste bins. The non-food items were removed and disposed              waste tanks due to the crew’s efforts in checking the red bins before
                                                                             appropriately. To prevent re-occurrence, additional training and increased        feeding the waste into the pulper system.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
165.            05.07.2019*    04.28.2019     CCL            Carnival        During inspections between 22 April and 28 April, non-food items were found       The ship is in the process of determining whether action taken has        In Progress
                                                             Spirit          in red food waste bins. The non-food items were removed and disposed              improved sorting.
                                                                             appropriately. To prevent re-occurrence, additional training and increased
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
166.            05.07.2019*    04.27.2019     CCL            Carnival        During inspections between 22 April and 27 April, non-food items were found       The ship is in the process of determining whether action taken has        In Progress
                                                             Splendor        in red food waste bins. The non-food items were removed and disposed              improved sorting.
                                                                             appropriately. To prevent re-occurrence, additional training and increased

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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
167.            05.07.2019*    04.22.2019     CCL            Carnival        During inspections between 18 April and 22 April, non-food items were found       The EO continues to make rounds in the galleys to check if issues with    Complete
                                                             Sunshine        in red food waste bins. The non-food items were removed and disposed              sorting food persist.
                                                                             appropriately. To prevent re-occurrence, additional training and increased
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
168.            05.07.2019*    04.23.2019     CCL            Carnival        During inspections between 21 April and 23 April, non-food items were found       Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Valor           in red food waste bins. The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased        fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
169.            05.07.2019*    04.26.2019     CCL            Carnival        During inspections between 23 April and 25 April, non-food items were found       Non-food items continue to appear during sorting. The Tiger Teams         In Progress
                                                             Victory         in red food waste bins. The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                                             appropriately. To prevent re-occurrence, additional training and increased        fleetwide challenges.
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
170.            05.07.2019*    04.27.2019     CCL            Carnival        During inspections between 18 April and 27 April, non-food items were found       The ship is in the process of determining whether action taken has        In Progress
                                                             Vista           in red food waste bins. The non-food items were removed and disposed              improved sorting.
                                                                             appropriately. To prevent re-occurrence, additional training and increased
                                                                             supervision at food sorting areas and new pulper inspection/control regimes
                                                                             have been implemented. Reduction of non-food waste initiatives have also
                                                                             been introduced.
171.            05.07.2019*    04.21.2019     HA Group       Eurodam         During an inspection, non-food items were found in food waste tanks. The          The Environmental Officer is conducting numerous daily checks of          Complete
                                                                             non-food items were removed and disposed appropriately. To prevent re-            the food bins without repeat incidents.
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
172.            05.07.2019*    04.22.2019     HA Group       Nieuw           During an inspection, non-food items were found in food waste tanks. The          The ship personnel continue to work towards improved waste sorting        In Progress
                                                             Amsterdam       non-food items were removed and disposed appropriately. To prevent re-            operations.
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
173.            05.07.2019*    04.20.2019     HA Group       Noordam         During an inspection, non-food items were found in food waste tanks. The          Segregation of garbage has improved due to retraining and increased       Complete
                                                                             non-food items were removed and disposed appropriately. To prevent re-            supervision.
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
174.            05.07.2019*    04.17.2019     HA Group       Westerdam       During an inspection, non-food items were found in food waste tanks. The          The Captain took a turn at sorting the garbage so he could pass on his    Complete
                                                                             non-food items were removed and disposed appropriately. To prevent re-            observations and instruction to the crew. Sorting has since improved
                                                                             occurrence, additional training and increased supervision at food sorting areas   onboard the ship.


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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
175.            05.07.2019*    04.18.2019     HA Group       Zuiderdam       During an inspection, a non-food item was found in a grey water tank. The         More frequent inspections and additional training have reduced the        Complete
                                                                             non-food item was removed and disposed appropriately. To prevent re-              amount of non-food items in the food waste.
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
176.            05.07.2019*    04.21.2019     HA Group       Caribbean       During an inspection, non-food items were found in food waste tanks. The          To prevent re-occurrence, additional training and increased               Complete
                                                             Princess        non-food items were removed and disposed appropriately. To prevent re-            supervision at food sorting areas and new pulper inspection/control
                                                                             occurrence, additional training and increased supervision at food sorting areas   regimes have been implemented. Reduction of non-food waste
                                                                             and new pulper inspection/control regimes have been implemented. Reduction        initiatives have also been introduced.
                                                                             of non-food waste initiatives have also been introduced.
177.            05.07.2019*    04.20.2019     HA Group       Island          During an inspection, non-food items were found in food waste tanks. The          To prevent re-occurrence, additional training and increased               Complete
                                                             Princess        non-food items were removed and disposed appropriately. To prevent re-            supervision at food sorting areas and new pulper inspection/control
                                                                             occurrence, additional training and increased supervision at food sorting areas   regimes have been implemented. Reduction of non-food waste
                                                                             and new pulper inspection/control regimes have been implemented. Reduction        initiatives have also been introduced.
                                                                             of non-food waste initiatives have also been introduced.
178.            05.07.2019*    04.20.2019     HA Group       Star Princess   During an inspection, non-food items were found in food waste tanks. The          To prevent re-occurrence, additional training and increased               Complete
                                                                             non-food items were removed and disposed appropriately. To prevent re-            supervision at food sorting areas and new pulper inspection/control
                                                                             occurrence, additional training and increased supervision at food sorting areas   regimes have been implemented. Reduction of non-food waste
                                                                             and new pulper inspection/control regimes have been implemented. Reduction        initiatives have also been introduced.
                                                                             of non-food waste initiatives have also been introduced.
179.            05.07.2019*    04.21.2019     HA Group       Sun Princess    During an inspection, non-food items were found in food waste tanks. The          To prevent re-occurrence, additional training and increased               Complete
                                                                             non-food items were removed and disposed appropriately. To prevent re-            supervision at food sorting areas and new pulper inspection/control
                                                                             occurrence, additional training and increased supervision at food sorting areas   regimes have been implemented. Reduction of non-food waste
                                                                             and new pulper inspection/control regimes have been implemented. Reduction        initiatives have also been introduced.
                                                                             of non-food waste initiatives have also been introduced.
180.            05.07.2019*    04.22.2019     HA Group       Seabourn        While checking the food waste tanks for non-food items following instructions     As of the May 20, 2019, there have been no repeat findings.               Complete
                                                             Ovation         from shoreside, a cellphone was found inside the pump for the food waste
                                                                             tank. In order to check for non-food items, the tank was emptied outside 12
                                                                             nautical miles; no non-food items were found in the tank. While the discharge
                                                                             pump suction lines were back flushed to get them clear, one of the pumps
                                                                             tripped. The pump was subsequently opened for inspection and the phone was
                                                                             found. The phone was originally reported as lost, possibly inside the food
                                                                             waste tank from a service engineer in October 2018. At that time, the food
                                                                             waste tank was emptied and inspected using both tank pumps, but no phone
                                                                             was found. As there is no requirement for periodic inspections, nor have there
                                                                             have been any failures or issues with the food waste tank or tank pumps since
                                                                             that time, no inspections have been conducted. There is no evidence of an
                                                                             improper discharge. An entry was made in the Garbage Record Book.
181.            05.07.2019*    04.16.2019     CUK            Arcadia         During an inspection, non-food items in food waste tanks. The non-food items      All food waste currently still being landed ashore until ship confident   In Progress
                                                                             were removed and disposed appropriately. To prevent re-occurrence,                that correct procedures in place and no plastic present in food waste.
                                                                             additional training and increased supervision at food sorting areas and new       The Pulper Management Plan is in place and currently thorough
                                                                             pulper inspection/control regimes have been implemented. Reduction of non-        checks are being carried out of dewatered food waste by the
                                                                             food waste initiatives have also been introduced.                                 Environmental Officer.


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                Notification     Incident       Line /                                                                                                                                                                                   Action Plan
                                                Group
182.            05.07.2019*    04.22.2019     CUK            Arcadia         During an inspection, non-food items in food waste tanks. The non-food items      All food waste currently still being landed ashore until ship confident   In Progress
                                                                             were removed and disposed appropriately. No overboard food waste                  that correct procedures in place and no plastic present in food waste.
                                                                             discharges have been carried out since 20 April and no overboard food waste       The Pulper Management Plan is in place and currently thorough
                                                                             discharges are to occur until further notice. All food waste is to be landed      checks are being carried out of dewatered food waste by the
                                                                             ashore. Food waste tanks will be emptied into suitable containers. Tanks and      Environmental Officer.
                                                                             equipment will be cleaned to remove non-food waste from the system. A
                                                                             further audit of food waste will be carried out by the EO on 29 April.
183.            05.07.2019*    04.22.2019     CUK            Ventura         During an inspection, non-food items were found in food waste tanks. The          The reduction of non-food waste initiatives is in progress.               In Progress
                                                                             non-food items were removed and disposed appropriately. To prevent re-
                                                                             occurrence, additional training and increased supervision at food sorting areas
                                                                             and new pulper inspection/control regimes have been implemented. Reduction
                                                                             of non-food waste initiatives have also been introduced.
184.            05.07.2019*    04.19.2019     CUK            Queen Mary      Non-food items, including pieces of shrink wrap, nitrile glove, cork, plastic,    Operations have improved after the implementation of OD 02-2019           Complete
                                                             2               and wood were found in the food waste tank upon inspection by the CE and          Pulper Station Management Plan.
                                                                             EO. The non-food items were removed and disposed of correctly. A record
                                                                             was made in the Garbage Record Book. Additional on board control measures
                                                                             and supervision of food waste loaded to pulpers is in place on board. These
                                                                             non-food Items may have been in the system for a few days prior to the
                                                                             additional control measures being put in place. The ship is still examining
                                                                             additional ways to further limit the possibility of non-food waste items ending
                                                                             up in the food waste system.
185.            05.10.2019*    05.02.2019     HA Group       Sea Princess    While the ship was underway towards Papeete, French Polynesia during a non-       Since the incident, the ship has seen improvement in sorting. All non-    Complete
                                                                             comminuted food waste discharge through the food waste chute, items like          comminuted waste delivered in Recycling Center is labeled with
                                                                             plastic, paper and metal were found mixed with the food waste. These items        identification of location. There is no bin for non-comminuted food
                                                                             were found while the food waste was being checked on a sorting table, prior to    waste accessible for crew in Crew Mess. Non-comminuted food waste
                                                                             the discharge. The discharge was halted and the food waste mixed with non-        sorting is arranged by galley stewarding. Additionally, the supervisor
                                                                             food items will be offloaded ashore. No non-food waste items went overboard       is assigned to control the proper food waste segregation for food waste
                                                                             as all food waste was carefully checked/screened prior discharge. To avoid        to be processed through the pulpers by crewmembers. The bars now
                                                                             reoccurrence, increased supervision/manning at food sorting areas, revised        have a separate bin for the used office to make sure it is separated
                                                                             sorting processes and new pulper inspection/control regimes have been             from the other food waste. Sugar sachets for regular and brown sugar
                                                                             implemented. Reduction of non-food waste initiatives have also been               have been removed from the Messes to avoid food waste
                                                                             introduced. A logbook entry was made.                                             contamination with a paper. Sachets will be replaced with special
                                                                                                                                                               250gr containers.

186.            05.10.2019*    04.30.2019     CUK            Ventura         While the ship was alongside in Lanzarote, some pieces of plastic were found      All non-food items were removed from the pulper bowl. The pulper          Complete
                                                                             in the crew mess pulper bowl during the EO checks. The galley supervisor          operator was re-briefed about the prohibition of non-food items in the
                                                                             was present. All non-food items were removed from the pulper bowl. The            pulper. The galley supervisor will ensure that during pulper operator
                                                                             pulper operator was re-briefed about the prohibition of non-food items in the     handovers the pulper is checked and validated by the new pulper
                                                                             pulper. The galley supervisor will ensure that during pulper operator             operator to confirm no non-food items are present. This will ensure
                                                                             handovers the pulper is checked and validated by the new pulper operator to       accountability if non-food items are found during checks. During EO
                                                                             confirm no non-food items are present. This will ensure accountability if non-    re-briefing musters this finding will be discussed with crewmembers.
                                                                             food items are found during checks. During EO re-briefing musters this
                                                                             finding will be discussed with crewmembers.
187.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were       Supervisors are seeing a positive improvement in sorting the food         Complete
                                                             Breeze          found in food waste tanks. Typical items found included broken chinaware,         waste onboard. Awareness and monitoring is at high level and is
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were     ongoing.

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                Notification     Incident        Line /                                                                                                                                                                                 Action Plan
                                                 Group
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
188.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Conquest        found in food waste tanks. Typical items found included broken chinaware,       To address the food waste sorting issues, additional staffing to help in
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were   the sorting has been enacted fleetwide.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
189.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     Supervisors have observed less non food items during the sorting. The      In Progress
                                                             Dream           found in food waste tanks. Typical items found included broken chinaware,       crewmembers continue to monitor food waste sorting operations.
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
190.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     The crewmembers are using a sorting tables at the waste sources so         Complete
                                                             Ecstasy         found in food waste tanks. Typical items found included broken chinaware,       that separation is conducted before the waste is taken to the Recycling
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were   Center.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
191.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     The number of IR’s being submitted related to food waste sorting           In Progress
                                                             Elation         found in food waste tanks. Typical items found included broken chinaware,       issues has decreased. There are intermittent findings of non-food
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were   items in red bins. The crewmembers continue to monitor food waste
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional   sorting operations.
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
192.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     Non-food items continue to appear during sorting. The Tiger Teams          In Progress
                                                             Fantasy         found in food waste tanks. Typical items found included broken chinaware,       will be evaluating sorting issues and develop best practices to address
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were   fleetwide challenges.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
193.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     Supervisors have observed less non foods during the sorting. The           In Progress
                                                             Fascination     found in food waste tanks. Typical items found included broken chinaware,       crewmembers continue to monitor food waste sorting operations.
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.

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                Notification     Incident       Line /                                                                                                                                                                                   Action Plan
                                                Group
194.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Freedom         found in food waste tanks. Typical items found included broken chinaware,        To address the food waste sorting issues, additional staffing to help in
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    the sorting has been enacted fleetwide
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
195.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Glory           found in food waste tanks. Typical items found included broken chinaware,        To address the food waste sorting issues, additional staffing to help in
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    the sorting has been enacted fleetwide.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
196.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      Non-food items continue to appear during sorting. The Tiger Teams          In Progress
                                                             Horizon         found in food waste tanks. Typical items found included broken chinaware,        will be evaluating sorting issues and develop best practices to address
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    fleetwide challenges.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
197.            05.10.2019*    04.29.2019     CCL            Carnival        During an inspection within this reporting week, non-food items were found in    The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Imagination     food waste tanks. Typical items found included broken chinaware, silverware,     To address the food waste sorting issues, additional staffing to help in
                                                                             stirrers, paper, lids and other plastics. All non-food items were removed and    the sorting has been enacted fleetwide.
                                                                             correctly disposed/recycled. To prevent re-occurrence, additional training and
                                                                             increased supervision at food sorting areas and new pulper inspection/control
                                                                             regimes have been implemented. Reduction of non-food waste initiatives have
                                                                             also been introduced.
198.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      Non-food items continue to appear during sorting. The Tiger Teams          In Progress
                                                             Inspiration     found in food waste tanks. Typical items found included broken chinaware,        will be evaluating sorting issues and develop best practices to address
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    fleetwide challenges.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
199.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Liberty         found in food waste tanks. Typical items found included broken chinaware,        To address the food waste sorting issues, additional staffing to help in
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    the sorting has been enacted fleetwide.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
200.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were      An improvement in sorting has been noticed due to the Management’s         Complete
                                                             Magic           found in food waste tanks. Typical items found included broken chinaware,        commitment in educating the team members in awareness and the
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were    importance of waste segregation at the point of origin.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional

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                Notification     Incident        Line /                                                                                                                                                                             Action Plan
                                                 Group
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
201.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were     After collective efforts, the crewmembers saw improvement in Food      Complete
                                                             Miracle         found in food waste tanks. Typical items found included broken chinaware,       Waste Management. Findings of non-food waste items in red bins
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were   reduced significantly. During the month of May, there was only one
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional   day where non-food waste items were found in the Red bins.
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
202.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were   The quantity of items being found has decreased by approximately 70-     Complete
                                                             Paradise        found in food waste tanks. Typical items found included broken chinaware,     80% from the start of the program. There are some items still found,
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were but protocols are in place to avoid any overboard discharge.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional Additional manpower has been added during separation. To ensure no
                                                                             training and increased supervision at food sorting areas and new pulper       non-food items are accidentally discharged, food waste collected in
                                                                             inspection/control regimes have been implemented. Reduction of non-food       red bins around the ship is brought to the Recycling Center. In the
                                                                             waste initiatives have also been introduced.                                  Recycling Center all the food is put on a table and all non-food items
                                                                                                                                                           segregated. Then only food is put back in the red bins and taken to
                                                                                                                                                           pulper for disposal.
203.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were   During the last two inspections of the food waste tanks, only one non-   In Progress
                                                             Pride           found in food waste tanks. Typical items found included broken chinaware,     food item was noticed during the each of the inspections. This is an
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were improvement from the initial findings. Food waste tanks will be
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional further monitored.
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced
204.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were   Supervisors have observed less non food items during the sorting. The    In Progress
                                                             Spirit          found in food waste tanks. Typical items found included broken chinaware,     EO will continue to monitor the progress and search for possible
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were solutions to increase awareness.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
205.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were   The number of IR’s being submitted related to food waste sorting         In Progress
                                                             Splendor        found in food waste tanks. Typical items found included broken chinaware,     issues has decreased. There are intermittent findings of non-food
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were items in red bins. The crewmembers continue to monitor food waste
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional sorting operations.
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
206.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were   Supervisors have observed less non food items during the sorting. The    In Progress
                                                             Sunshine        found in food waste tanks. Typical items found included broken chinaware,     EO will continue to monitor the progress and search for possible
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were solutions to increase awareness.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper


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                Notification     Incident        Line /                                                                                                                                                                                   Action Plan
                                                 Group
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
207.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were       The crewmembers continue to monitor food waste sorting operations.         In Progress
                                                             Valor           found in food waste tanks. Typical items found included broken chinaware,         To address the food waste sorting issues, additional staffing to help in
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were     the sorting has been enacted fleetwide.
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced.
208.            05.10.2019*    04.29.2019     CCL            Carnival        During multiple inspections within this reporting week, non-food items were       Supervisors have observed less non food items during the sorting. The      In Progress
                                                             Vista           found in food waste tanks. Typical items found included broken chinaware,         crewmembers continue to monitor food waste sorting operations.
                                                                             silverware, stirrers, paper, lids and other plastics. All non-food items were
                                                                             removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                             training and increased supervision at food sorting areas and new pulper
                                                                             inspection/control regimes have been implemented. Reduction of non-food
                                                                             waste initiatives have also been introduced
209.            05.10.2019*    04.28.2019     CUK            Aurora          A crewmember did not segregate food waste resulting in sauce sachets going        The crewmember has been retrained and the importance of food waste         Complete
                                                                             into the system. The sachets were removed, and the pulper returned to normal      segregation will be reiterated to all crew.
                                                                             operation. The crewmember has been retrained and the importance of food
                                                                             waste segregation will be reiterated to all crew.
210.            05.10.2019*    04.22.2019     CCL            Carnival        During the grease trap pipe replacement in the Provision Compressor Room,         The drain bell order is expected to be delivered on July 10, 2019.         In Progress
                                                             Breeze          the galley drain tank needed to be opened and, when it was opened, plastic
                                                                             materials were found and the grey water surface was covered by a film of
                                                                             cooking oil/grease. The oily residue found in the tank is the drainage from the
                                                                             galley cooking appliances. Furthermore, plastic was also found during the
                                                                             weekly inspection and cleaning of the galley grease traps. It is not confirmed
                                                                             that plastic items and/or cooking oil/grease was discharged overboard. The
                                                                             film of cooking oil/grease was removed from the tank and transferred into
                                                                             drums via portable pump and then into the Sludge Tank for offload to a truck
                                                                             in Port Canaveral. The plastic materials were immediately removed and
                                                                             properly disposed of. An entry was made in the NAPA eLog, Oil Record
                                                                             Book, and Portable Pump Log. An entry was not required in the Garbage
                                                                             Record Book because the incident involved the grey water system. All
                                                                             involved crew were retrained not to remove the drain bells in order to prevent
                                                                             future contamination of the grey water system with oil/grease and plastic
                                                                             materials. All drain covers and missing drain bells are in place and properly
                                                                             secured with screws. They cannot be welded as per USPH requirement as they
                                                                             need to be removed for cleaning purposes. New drain bells were ordered.
211.            05.10.2019*    04.20.2019     CCL            Noordam         While the ship was underway towards Sydney, Australia, a crewmember was           Review of the incident revealed there were supervision and training        Complete
                                                                             observed in the Pinnacle Grill galley via CCTV disposing residual grill           issues. Both of these issues have been addressed onboard.
                                                                             scrapings, water and diluted grill cleaner residue into a food waste bin, which
                                                                             were discharged overboard via the food waste system. An estimated one liter
                                                                             of residue diluted in water entered the ocean via the food waste system. The
                                                                             incident was not identified until after the CCTV review. A level two
                                                                             investigation is underway, but a preliminary review has identified clarity of
                                                                             responsibility and supervision as the root cause. All crew members working in

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                                                 Group
                                                                             the galleys were retrained and counselled on the importance of proper waste
                                                                             disposal procedures. Additionally, the Food and Beverage department have
                                                                             instructed the Chief Steward to supervise the night watch in the galley. The
                                                                             MARPOL Annex V violation was recorded in the Garbage Record Book
212.            05.30.2019*    04.17.2019     HA Group       Grand           The BCDB recorder did not recognize the memory card during data download            On 21 April, while alongside in San Francisco, California, a technician   Complete
                                                             Princess        onto the EO’s computer to review the bilge discharge operations that were           visited the ship and the issue was rectified. The BCDB was out of
                                                                             conducted the previous day. To ensure compliance with Company procedure,            service for three days. The key for the padlock located on the bilge
                                                                             the BCDB was placed out of service because the ship had sufficient holding          overboard discharge valve was handed back to the ECR and standard
                                                                             capacity for the bilge water. The overboard bilge valve was locked with the         overboard bilge discharge operations resumed.
                                                                             key held by the Chief Engineer. On 21 April, while alongside in San
                                                                             Francisco, California, a technician visited the ship and the issue was rectified.
                                                                             The BCDB was out of service for three days. The key for the padlock located
                                                                             on the bilge overboard discharge valve was handed back to the ECR and
                                                                             standard overboard bilge discharge operations resumed.
213.            05.30.2019*    03.22.2019     CCL            Carnival        The Westfalia Oily Water Separator (OWS) could not process overboard due            The OWS was successfully tested for internal transfers to the clean       In Progress
                                                             Sunshine        to a previously reported malfunction (i.e. unstable flow and PPM readings on        bilge tank, and the OWS is only being used in recirculation mode and
                                                                             both BCDBs continuously fluctuate to error). The OWS was successfully               will not process water overboard. A second OWS remains fully
                                                                             tested for internal transfers to the clean bilge tank, and the OWS is only being    operational as does the clean bilge delivery pump to the BCDBs. As a
                                                                             used in recirculation mode and will not process water overboard. Relevant           corrective action, all the delivery piping between the OWS and both
                                                                             entries were made in the Oil Record Book. A second OWS remains fully                BCDBs will be arranged with the same diameter as per maker’s
                                                                             operational as does the clean bilge delivery pump to the BCDBs. As a                recommendations. An action plan is being developed to separate
                                                                             corrective action, all the delivery piping between the OWS and both BCDBs           delivery of the OWS to both BCDBs, separate returns from the OWS
                                                                             will be arranged with the same diameter as per maker’s recommendations. An          and BCDBs to the clean bilge tank and separate the suction of the
                                                                             action plan is being developed to separate delivery of the OWS to both              OWS from the clean bilge tank.
                                                                             BCDBs, separate returns from the OWS and BCDBs to the clean bilge tank
                                                                             and separate the suction of the OWS from the clean bilge tank.
214.            05.30.2019*    04.24.2019     HA Group       Crown           While the ship was underway towards Lisbon, Portugal, the Advanced Air              The gas analyzer SO2/CO2 is back in service. In response to the           Complete
                                                             Princess        Quality System (AAQS) Gas Analyzer went into fault with regards to the              CAM request for clarification propounded on May 20, 2019, the
                                                                             SO2/CO2 Ratio. A fault “No Contact With 186 Co-processor” is being                  AAQS was used in connection with a DG that was burning HFO after
                                                                             displayed on the GA Panel, with incorrect readings being transmitted to the         April 24, 2019. There were no prohibited emissions.
                                                                             Compliance Computer. Although the values are within the compliance
                                                                             operating parameters, the readings are not updating and only the last true
                                                                             reading is being duplicated. The engines were changed over to fuel with sulfur
                                                                             less than 0.1% before the ship entered the Exclusive Economic Zone of
                                                                             Portugal to be in compliance with the requirement of maximum 1.5% Sulphur.
                                                                             The AAQS Technicians attended the ship in Zeebrugge on 29 April however
                                                                             could not resolve the issue. They will re-attend the ship on 01 May to continue
                                                                             trouble-shooting. Following instructions from the operating line shoreside
                                                                             Technical and Environmental department, the AAQS’s were put back in
                                                                             service while only monitoring the pH, PAH and turbidity compliance. An
                                                                             entry was made in the AAQS logbook.
215.            05.30.2019*    04.23.2019     CUK            Queen           While the ship was underway towards Las Palmas, the EO noticed during the           A manufacturer technician boarded the ship on 28th April in               Complete
                                                             Victoria        daily check of the Advanced Air Quality System (AAQS) set-up that the               Southampton, UK, and restored the compliance computer. The fault
                                                                             compliance computer was not responding to any input signals and displayed           was caused by a setting change from auto to manual.
                                                                             various error messages. This had no immediate impact but, when the ship
                                                                             needs to us the AAQS, the ship will not have an input signal to the compliance

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                Notification     Incident        Line /                                                                                                                                                                                    Action Plan
                                                 Group
                                                                             computer. All usual checks were carried out (loose connections, reboot, etc.),
                                                                             but the fault was still present. A manufacturer technician boarded the ship on
                                                                             28th April in Southampton, UK, and restored the compliance computer. The
                                                                             fault was caused by a setting change from auto to manual.
216.            05.30.2019*    04.22.2019     HA Group       Amsterdam       The incinerator was taken out of service because it was not reaching the          The incinerator was returned to service on May 2, 2019. Nevertheless,       In Progress
                                                                             required 850 Celsius temperature due to issues with the PLC unit. A               a technician attended the ship on May 16, 2019 to conduct planned
                                                                             manufacturer’s service is being arranged. In the meantime, the incinerator will   maintenance and repairs. Repairs, including a complete rebuild of the
                                                                             remain out of service and garbage will be landed ashore. The onboard              refractory and installation of ash ram parts, are expected to be
                                                                             engineers are continuing to find the fault with the remote support of the         concluded by June 17, 2019. During repairs, the ship will offload
                                                                             manufacturer. A technician will attend the ship on 16 May.                        garbage when in port.
217.            05.30.2019*    04.20.2019     CCL            Carnival        The ship experienced multiple sea water leaks from the exhaust gas manifold       On April 23, 2019, two technicians boarded the ship in St, Thomas to        In Progress
                                                             Breeze          on a diesel generator after the Advanced Air Quality System (AAQS) tower.         evaluate and plan repairs. Repairs are expected to be completed by
                                                                             The leaks are all around the exhaust pipe, and the location is extremely          June 20, 2019.
                                                                             difficult to access. Various sections of the manifold were welded only from
                                                                             the outside leaving a groove on the inside where corrosion has occurred. The
                                                                             bellow mounted less than a year ago is leaking. Multiple spot welds were
                                                                             carried out, but, due to the leaks, the AAQS remains out of service. As a
                                                                             corrective measure, the corroded sections will be replaced as soon as possible.
                                                                             Shoreside technicians will need to perform the repair/replacement of the
                                                                             exhaust gas pipe. The leaked water was contained on deck where it was
                                                                             recovered. There was no increase of bilge water as the water never reached the
                                                                             bilges. The ship will use compliant fuel in order to comply with air emissions
                                                                             requirements. A technician will be onboard on the 23 April to conduct repairs.
218.            05.30.2019*    04.19.2019     CCL            Carnival        The compliance values of the SO2/CO2 ratio cannot be met on three Advanced        After a technician attended the vessel and installed the necessary parts,   Complete
                                                             Horizon         Air Quality Systems (AAQS). An investigation is in progress to understand         AAQS #1, 2, 5 were tested with positive results and are now operating
                                                                             the root cause of the issue. Shoreside technician intervention is required. The   within normal range.
                                                                             AAQS is still out of service and the cause is under investigation. Technicians
                                                                             are in the process of being scheduled to come onboard. Before entering
                                                                             emission control areas, the affected DGs are being changed over to compliant
                                                                             fuel.
219.            05.30.2019*    04.09.2019     CUK            Arcadia         While the ship was underway inside the Mediterranean Special Area (outside        A meeting was arranged with all Technical Watchkeeping Officers             Complete
                                                                             12 nautical miles but inside the Greek Exclusive Economic Zone),                  and Waste Disposal Operators to discuss the incident. Emphasis was
                                                                             approximately one cubic meter of non-comminuted food waste was discharged         given to the importance of closed loop communications during critical
                                                                             overboard in violation of MARPOL Annex V. During his watch, the SEOOW             operations, and Lock and Key management as per Company policy.
                                                                             noted that the Food Chute Key, rather than the Comminuted Food Waste              The Chief Engineer raised a Standing Order stating that the JEOOW
                                                                             overboard key had been signed out of the Critical Valve and Fittings Key          should lock and unlock the Food Waste Chute for discharge
                                                                             Control Register Log by the SEOOW and Waste Disposal Supervisor during            operations. As a preventative measure, an Operational Directive was
                                                                             the previous watch. The SEOOW immediately called the Recycling Center             sent to all fleet ships instructing them to stop using food chutes.
                                                                             and told the Waste Disposal Operator to stop all food waste discharges, lock
                                                                             the food chute and return the key to the ECR. The Junior EOOW confirmed
                                                                             the food chute was locked a few minutes later. A meeting was arranged with
                                                                             all Technical Watchkeeping Officers and Waste Disposal Operators to discuss
                                                                             the incident. Emphasis was given to the importance of closed loop
                                                                             communications during critical operations, and Lock and Key management as
                                                                             per Company policy. The Chief Engineer raised a Standing Order stating that
                                                                             the JEOOW should lock and unlock the Food Waste Chute for discharge

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                Notification     Incident        Line /                                                                                                                                                                                  Action Plan
                                                 Group
                                                                             operations. As a preventative measure, an Operational Directive will be sent to
                                                                             all fleet ships instructing them to stop using food chutes.
220.            05.30.2019*    04.07.2019     CCL            Carnival        While the ship was underway in the Bahamas, the Environmental Team Leader          The entire Environmental Team has been retrained and the keys from       Complete
                                                             Victory         (ETL) approached the EO and asked if the ship could offload hard food waste        the chute were moved under the Captain’s supervision. Use of the
                                                                             in Miami. It was discovered that during the Leader Environmental Special           chute will need to be approved by the Captain. As a further preventive
                                                                             Projects visit that the ship was discharging mixed food waste (soft and hard)      measure, the ship will conduct training with all team members
                                                                             through the food waste chute by removing the strainer. An investigation could      involved in food waste separation to emphasize the need for proper
                                                                             not conclude how long this practice has been going on. The chute is controlled     segregation at the source. The strainer will be welded to avoid
                                                                             by padlock and the keys are kept on the Bridge. The entire Environmental           removal. The ship’s voyages are in the Wider Caribbean Region, a
                                                                             Team has been retrained and the keys from the chute were moved under the           MARPOL Annex V special area. The ship has considered a food
                                                                             Captain’s supervision. Use of the chute will need to be approved by the            waste shedder for hard food items instead of offloading ashore
                                                                             Captain. As a further preventive measure, the ship will conduct training with      however the system is currently not suitable on the ship. The
                                                                             all team members involved in food waste separation to emphasize the need for       operating line is currently investigating into other solutions.
                                                                             proper segregation at the source. The strainer will be welded to avoid removal.
                                                                             The ship’s voyages are in the Wider Caribbean Region, a MARPOL Annex V
                                                                             special area. The ship has considered a food waste shedder for hard food items
                                                                             instead of offloading ashore however the system is currently not suitable on the
                                                                             ship. The operating line is currently investigating into other solutions.
221.            05.30.2019*    04.13.2019     HA Group       Nieuw           While the ship was underway towards San Diego, California, the ship                In order to prevent a blackout, the Bridge had to reduce propulsion      Complete
                                                             Amsterdam       discharged approximately 0.75 cubic meters of treated sewage overboard when        power. Prioritization to prevent a blackout, combined with a sudden
                                                                             the ship’s speed was below six knots in violation of company procedures. The       overload of communication between the Bridge and the ECR
                                                                             ship experienced a minor fault on one of its diesel generators followed by a       regarding the shutdown alarm resulted in no Bridge order to the ECR
                                                                             shutdown alarm. In order to prevent a blackout, the Bridge had to reduce           to close overboard discharges. Permeate was discharged for three
                                                                             propulsion power. Prioritization to prevent a blackout, combined with a            minutes before engineers resolved the mechanical issue and the ship’s
                                                                             sudden overload of communication between the Bridge and the ECR regarding          speed increased to above six knots. Throughout the incident, the
                                                                             the shutdown alarm resulted in no Bridge order to the ECR to close overboard       closest proximity to land was more than 12 nautical miles.
                                                                             discharges. Permeate was discharged for three minutes before engineers
                                                                             resolved the mechanical issue and the ship’s speed increased to above six
                                                                             knots. An entry was made in the Deck Logbook, sewage and grey water logs.
                                                                             Throughout the incident, the closest proximity to land was more than 12
                                                                             nautical miles.
222.            05.30.2019*    04.17.2019     HA Group       Majestic        While the ship was alongside in Hakata, Japan, 2.4 cubic meters of recreational    Once the main power was re-instated, the timer re-energized but the      Complete
                                                             Princess        water were accidentally discharged overboard from a crew Jacuzzi. An               associated channel contact did not close and, as a result, the Jacuzzi
                                                                             internal review revealed that the timer in the main control panel was defective    drained. To prevent reoccurrence, the discharge overboard has been
                                                                             and once the Emergency Generator on load test started, the main power was          changed to a manual action. Additionally, a key that by-passes the
                                                                             cut to the timer unit. With the power off, the valve could not open as it          timer and isolates the valves has been installed. The timer unit was
                                                                             requires power to operate. Once the main power was re-instated, the timer re-      replaced and its functionality has been verified.
                                                                             energized but the associated channel contact did not close and, as a result, the
                                                                             Jacuzzi drained. To prevent reoccurrence, the discharge overboard has been
                                                                             changed to a manual action. Additionally, a key that by-passes the timer and
                                                                             isolates the valves has been installed. There are currently seven ships
                                                                             remaining in the fleet for the modification installation. This will be completed
                                                                             by 15 June 2019. The violation of company policy was recorded in the NAPA
                                                                             eLog and was reported to the port agent to inform the port authorities. The
                                                                             timer unit was replaced and its functionality has been verified.


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                Notification     Incident       Line /                                                                                                                                                                                  Action Plan
                                                Group
223.            05.30.2019*    05.12.2019     CCL            Carnival        During this reporting period, the ship submitted five near miss reports related     The use of pulper stations has been reduced, with no more than two     Complete
                                                             Breeze          to contaminated food waste streams. Four reports involved the presence of           pulper systems in operation at any time, to ensure more accurate
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   segregation and control from galley supervisors. A food waste
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      disposal log is in place to ensure oversight and control of the food
                                                                             food waste mixing tank where the waste had not been properly segregated at          waste disposal operations via the pulper chutes/manual feeding
                                                                             the point of generation. The food waste mixing tank was cleaned and all non-        hatches. All pulper stations are under key control of the Food
                                                                             food items were removed, avoiding a potential discharge overboard. An entry         Operations Manager.
                                                                             was made in the Garbage Record Book and NAPA eLog. The use of pulper
                                                                             stations has been reduced, with no more than two pulper systems in operation
                                                                             at any time, to ensure more accurate segregation and control from galley
                                                                             supervisors. A food waste disposal log is in place to ensure oversight and
                                                                             control of the food waste disposal operations via the pulper chutes/manual
                                                                             feeding hatches. All pulper stations are under key control of the Food
                                                                             Operations Manager.
224.            05.30.2019*    05.12.2019     CCL            Carnival        During this reporting period, the ship submitted six near miss reports related to   As a preventive measure, the ship is conducting secondary double     Complete
                                                             Horizon         contaminated food waste streams. Five reports involved the presence of non-         checks of all food waste receptacles to ensure no non-food items are
                                                                             food items (typically silverware, straws, stirrers and other plastics) in red       disposed in to the food waste discharge system. Garbage Record Book
                                                                             bins/collectibles. One report involved the presence of non-food items found         and An electronic log entry was made for magnetic trap food system.
                                                                             while cleaning a food waste disposal magnetic trap. The ship confirmed that
                                                                             no non-food waste items were discharged overboard. The cause of the non-
                                                                             compliance was determined to be omission due to the size, color, chemical
                                                                             composition and hardness of the materials which led to oversight during
                                                                             garbage segregation. As a preventive measure, the ship is conducting
                                                                             secondary double checks of all food waste receptacles to ensure no non-food
                                                                             items are disposed in to the food waste discharge system. Garbage Record
                                                                             Book and An electronic log entry was made for magnetic trap food system.
                                                                             Red Bins are not required a GRB entry.
225.            05.30.2019*    05.12.2019     CCL            Carnival        During this reporting period, the ship submitted three near miss reports related    The crewmembers continue to monitor sorting and work to improve        In Progress
                                                             Liberty         to contaminated food waste streams. Two reports involved the presence of            ways to prevent non-food items from going in the food waste bins.
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red
                                                                             bins/collectibles. One report involved the presence of non-food items found
                                                                             while cleaning a food waste disposal magnetic trap. The ship confirmed that
                                                                             no non-food waste items were discharged overboard. As a preventive
                                                                             measure, crewmembers are paying extra attention while sorting food waste.
                                                                             An entry was made in the Garbage Record Book and NAPA eLog.

226.            05.30.2019*    05.12.2019     CCL            Carnival        During this reporting period, the ship submitted three near miss reports related    The crewmembers continue to monitor sorting and work to improve        In Progress
                                                             Pride           to contaminated food waste streams. Two reports involved the presence of            ways to prevent non-food items from going in the food waste bins.
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red
                                                                             bins/collectibles. One report involved the presence of plastic wrapping inside
                                                                             a food waste mixing tank. The food waste mixing tank was cleaned and all
                                                                             non-food items were removed, avoiding a potential discharge overboard. An
                                                                             entry was made in the Garbage Record Book and NAPA eLog. The cause of
                                                                             the non-compliance was determined to be lack of attention while separating the
                                                                             food waste. As a preventive measure, the ship will ensure better food waste
                                                                             separation from the crewmembers doing the final check of the food waste.

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                Notification     Incident       Line /                                                                                                                                                                                     Action Plan
                                                Group
227.            05.30.2019*    05.12.2019     CCL            Carnival        During this reporting period, the ship submitted seven near miss reports related    The new strainer has been added as a preventative measure. The            Complete
                                                             Valor           to contaminated food waste streams. Six reports involved the presence of non-       system is functioning as designed. The food waste system is being
                                                                             food items (typically silverware, straws, stirrers and other plastics) in red       inspected and cleaned as per instructions on EN000064, A2 records
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      are being kept for each time non-food items are found.
                                                                             food waste mixing tank and magnetic trap. The food waste mixing tank was
                                                                             cleaned and all non-food items were removed, avoiding a potential discharge
                                                                             overboard. An entry was made in the Garbage Record Book and NAPA eLog.
                                                                             The ship is preparing to modify the food waste overboard discharge pipe. A
                                                                             new strainer will be added as a preventive measure. Food waste system
                                                                             inspection and cleaning will be performed often to avoid the risk of any non-
                                                                             food items going overboard.
228.            05.30.2019*    04.30.2019     HA Group       Koningsdam      During the cleaning of food waste Tank A, approximately six liters of non-          To prevent further recurrence additional training of galley crew was      Complete
                                                                             food waste (mostly plastic gloves and wrappings) was collected, removed from        provided. The OLCM was informed and an entry was made in the
                                                                             the food waste tank and properly disposed of. The cause was determined to be        Garbage Record Book.
                                                                             improper separation due to inadequate supervision. It is unknown which
                                                                             specific section generated the waste as the bins were not labeled but are able to
                                                                             confirm it came from the Hotel department. To prevent further recurrence
                                                                             additional training of galley crew was provided. The OLCM was informed
                                                                             and an entry was made in the Garbage Record Book.
229.            05.30.2019*    05.02.2019     HA Group       Koningsdam      During the cleaning of food waste Tank B, approximately 5 liters of non-food        To prevent further recurrence additional training of galley crew was      Complete
                                                                             waste (predominantly silverware) was collected, removed from the food waste         provided. The OLCM was informed and an entry was made in the
                                                                             tank and disposed of properly. The initial cause was determined to be               Garbage Record Book.
                                                                             improper sorting. It is unknown which specific section generated the waste as
                                                                             the bins were not labeled but they are able to confirm it came from the Hotel
                                                                             department. To prevent further recurrence additional training of galley crew
                                                                             was provided. The OLCM was informed and an entry was made in the
                                                                             Garbage Record Book.
230.            05.30.2019*    05.02.2019     HA Group       Sapphire        During a round in the galley spaces, non-food items (tissue, paper and              To prevent further recurrence, the pulper will be locked after            Complete
                                                             Princess        aluminum) were found in the pot wash pulper in the main galley. The non-            breakfast, and additional checks will be carried out during the day by
                                                                             food items were removed and properly disposed of and the food waste was             the Assistant Food & Beverage Manager. Further, signs reminding
                                                                             removed from the pulper and bagged. At that time the pulper was not in              crewmembers that the pulper must be kept locked when not in use are
                                                                             operation, but it was unlocked without supervision. The OLCM was informed           posted near the pulpers.
                                                                             and a Garbage Record Book entry was made. The internal review revealed
                                                                             that the galley steward assigned to the pot wash left the area without locking
                                                                             the pulper and without notifying the supervisor. To prevent further recurrence,
                                                                             the pulper will be locked after breakfast, and additional checks will be carried
                                                                             out during the day by the Assistant Food & Beverage Manager. Further, signs
                                                                             reminding crewmembers that the pulper must be kept locked when not in use
                                                                             are posted near the pulpers.
231.            05.30.2019*    05.02.2019     HA Group       Seabourn        While the ship was underway towards Palma De Mallorca, Spain, the ECR was           There have been no repeat issues after the Sanitation Officer’s return.   Complete
                                                             Odyssey         informed that there was no suction in the pulper system. The 3rd Engineer
                                                                             found that some plastic items and a mango stone were stuck in the system.
                                                                             The non-food items were removed and properly disposed of. The food waste
                                                                             tank was inspected and no plastic or other non-food items were found inside.
                                                                             The food waste discharges were closed, and no food waste discharge occurred
                                                                             from the time the pulper suction was lost. Non-food items were found in the

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                                                 Group
                                                                             pulper because of improper separation due to inadequate supervision. A
                                                                             contributing cause was the Sanitation Officer position being vacant and the
                                                                             responsibilities being performed by a Galley Utility. To prevent further
                                                                             recurrence, the Hotel Director will address this at Department meetings and
                                                                             additional training of supervisors will be provided. The Sanitation Officer had
                                                                             been granted a compassionate debark to take care of a personal matter prior to
                                                                             this incident and has since rejoined the ship. An entry was made in the
                                                                             Garbage Record Book.
232.            05.30.2019*    05.13.2019     Costa Group    AIDAdiva        During a visual inspection of the processed food waste shredder in the             The Tiger Teams will be evaluating sorting issues and develop best      In Progress
                                                                             Recycling Center, a plastic bag was found in the tank and immediately              practices to address fleetwide challenges.
                                                                             removed. The root cause was a lack of oversight during processing of food
                                                                             wastes through the involved systems. There is little risk of a MARPOL
                                                                             violation with respect to overboard discharge because all food waste is dried
                                                                             and discharged to a port reception facility. As a preventive measure, ship
                                                                             management proposed to assess an automatic system to detect non-food items
                                                                             in the food waste system.
233.            05.30.2019*    05.04.2019     CUK            Queen           The remains of a shredded plastic garbage bin liner (as used in sculleries to      The Tiger Teams will be evaluating sorting issues and develop best      In Progress
                                                             Elizabeth       collect non-pulpable food waste, such as eggs shells, coffee grounds, etc.) were   practices to address fleetwide challenges.
                                                                             found in both dewatering units by the Waste Disposal Supervisor during a
                                                                             routine weekly internal inspection. This is the first plastic item found in any
                                                                             stage of the food waste processing equipment after comprehensive checks
                                                                             during the past week, including daily checks of all bins. The shredded plastic
                                                                             garbage bag liner was removed for incineration. Food waste discharge has
                                                                             been suspended until the food waste tanks are internally checked. Supervisors
                                                                             will maintain 15 minute checks of pulpers and food waste bins as per the
                                                                             company Operational Directive 02-2019. A specific brief by the EO at the
                                                                             main Food & Beverage morning muster was conducted. Daily visual
                                                                             inspections of the de-watering units were implemented, and confirmation by
                                                                             the EO is required before overnight food waste discharge is allowed.
234.            05.30.2019*    05.03.2019     CUK            Queen           The food waste lifting tank motor alarm sounded because four small rib bones       The bones were removed for incineration. Supervisors will maintain      Complete
                                                             Victoria        were blocking the impeller. The bones are believed to have come from the           15 minute checks of pulpers and food waste bins as per the issued
                                                                             crew mess due to an isolated waste segregation error. This is the second time a    Operational Directive 02-2019.
                                                                             foreign object was found in the food waste system despite comprehensive
                                                                             checks of dewatering units and pulpers in the past few days. No plastics were
                                                                             found. The bones were removed for incineration. Supervisors will maintain
                                                                             15 minute checks of pulpers and food waste bins as per the issued Operational
                                                                             Directive 02-2019.
235.            05.30.2019*    05.13.2019     CCL            Carnival        During a Third Party Inspection of a Galley Drain tank, plastic materials were     New drain bells were ordered to replace the missing ones. Supervisors   Complete
                                                             Breeze          found and the grey water surface was covered by a film of food oily                will ensure drain bells are not removed and all involved personnel
                                                                             residual/grease. The oily residue found in the tank is the drainage from galley    were re-trained to not remove the bells.
                                                                             ovens and water grills. The tank was opened, skimmed and all plastic
                                                                             materials and the film of food oily residual/ grease were removed for
                                                                             subsequent offload. This was caused due to 28 drain bells being unscrewed
                                                                             and removed during normal cleaning operations. Entries were made in the
                                                                             NAPA eLog, Oil Record Book, Garbage Record Book and Portable Pump Log.
                                                                             New drain bells were ordered to replace the missing ones. Supervisors will

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                Notification     Incident        Line /                                                                                                                                                                                 Action Plan
                                                 Group
                                                                             ensure drain bells are not removed and all involved personnel were re-trained
                                                                             to not remove the bells.
236.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted five near miss reports related     The food waste mixing tank was cleaned and all non-food items were     Complete
                                                             Breeze          to contaminated food waste streams. Four reports involved the presence of           removed, avoiding a potential discharge overboard. Food waste
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   system inspection and cleaning will be performed often to avoid the
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      risk of any non-food items going overboard.
                                                                             food waste mixing tank and magnetic trap and shredder. The food waste
                                                                             mixing tank was cleaned and all non-food items were removed, avoiding a
                                                                             potential discharge overboard. An entry was made in the Garbage Record
                                                                             Book and NAPA eLog. Food waste system inspection and cleaning will be
                                                                             performed often to avoid the risk of any non-food items going overboard.
237.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted nine near miss reports related     The traps were cleaned and all non-food items were removed,            Complete
                                                             Freedom         to contaminated food waste streams. Seven reports involved the presence of          avoiding a potential discharge overboard. Food waste system
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   inspection and cleaning will be performed often to avoid the risk of
                                                                             bins/collectibles. Two reports involved the presence of non-food items inside       any non-food items going overboard. Crewmembers are continuously
                                                                             magnetic traps. The traps were cleaned and all non-food items were removed,         reminded of the importance of proper waste segregation.
                                                                             avoiding a potential discharge overboard. An entry was made in the Garbage
                                                                             Record Book and NAPA eLog. Food waste system inspection and cleaning
                                                                             will be performed often to avoid the risk of any non-food items going
                                                                             overboard. Crewmembers are continuously reminded of the importance of
                                                                             proper waste segregation.
238.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted nine near miss reports related     The traps were cleaned and all non-food items were removed,            Complete
                                                             Horizon         to contaminated food waste streams. Eight reports involved the presence of          avoiding a potential discharge overboard. Food waste system
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   inspection and cleaning will be performed often to avoid the risk of
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      any non-food items going overboard. Crewmembers are continuously
                                                                             magnetic trap and particle trap. The traps were cleaned and all non-food items      reminded of the importance of proper waste segregation.
                                                                             were removed, avoiding a potential discharge overboard. An entry was made
                                                                             in the Garbage Record Book and NAPA eLog. Food waste system inspection
                                                                             and cleaning will be performed often to avoid the risk of any non-food items
                                                                             going overboard. Crewmembers are continuously reminded of the importance
                                                                             of proper waste segregation.
239.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted three near miss reports related    The trap was cleaned and all non-food items were removed, avoiding a   Complete
                                                             Liberty         to contaminated food waste streams. Two reports involved the presence of            potential discharge overboard. Food waste system inspection and
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   cleaning will be performed often to avoid the risk of any non-food
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      items going overboard. Crewmembers are continuously reminded of
                                                                             magnetic trap. The trap was cleaned and all non-food items were removed,            the importance of proper waste segregation.
                                                                             avoiding a potential discharge overboard. An entry was made in the Garbage
                                                                             Record Book and NAPA eLog. Food waste system inspection and cleaning
                                                                             will be performed often to avoid the risk of any non-food items going
                                                                             overboard. Crewmembers are continuously reminded of the importance of
                                                                             proper waste segregation.
240.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted five near miss reports related     The tank was cleaned and all non-food items were removed, avoiding     Complete
                                                             Pride           to contaminated food waste streams. Four reports involved the presence of           a potential discharge overboard. Food waste system inspection and
                                                                             non-food items (typically silverware, straws, stirrers and other plastics) in red   cleaning will be performed often to avoid the risk of any non-food
                                                                             bins/collectibles. One report involved the presence of non-food items inside a      items going overboard. Crewmembers are continuously reminded of
                                                                             food waste tank. The tank was cleaned and all non-food items were removed,          the importance of proper waste segregation.

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                  Date of         Date of       Operating        Vessel                                 Description of Incident                                                Analysis Summary and Action Plan                         Status of
                Notification     Incident        Line /                                                                                                                                                                                Action Plan
                                                 Group
                                                                             avoiding a potential discharge overboard. An entry was made in the Garbage
                                                                             Record Book and NAPA eLog. Food waste system inspection and cleaning
                                                                             will be performed often to avoid the risk of any non-food items going
                                                                             overboard. Crewmembers are continuously reminded of the importance of
                                                                             proper waste segregation.
241.            05.30.2019*    05.19.2019     CCL            Carnival        During this reporting period, the ship submitted eleven near miss reports         The traps were cleaned and all non-food items were removed,             Complete
                                                             Vista           related to contaminated food waste streams. Nine reports involved the             avoiding a potential discharge overboard. Food waste system
                                                                             presence of non-food items (typically silverware, straws, stirrers and other      inspection and cleaning will be performed often to avoid the risk of
                                                                             plastics) in red bins/collectibles. Two reports involved the presence of non-     any non-food items going overboard. Crewmembers are continuously
                                                                             food items inside magnetic traps. The traps were cleaned and all non-food         reminded of the importance of proper waste segregation.
                                                                             items were removed, avoiding a potential discharge overboard. An entry was
                                                                             made in the Garbage Record Book and NAPA eLog. Food waste system
                                                                             inspection and cleaning will be performed often to avoid the risk of any non-
                                                                             food items going overboard. Crewmembers are continuously reminded of the
                                                                             importance of proper waste segregation.
242.            05.30.2019*    04.26.2019     HA Group       Ruby            A galley pot wash pulper was not draining. The delivery line was opened and       The water press of the system was immediately stopped and inspected.    Complete
                                                             Princess        inspected and a plastic fragment was identified as the cause of the blockage.     No other non-food waste was found in the water press or on the
                                                                             The water press of the system was immediately stopped and inspected. No           surface of the food waste tank. The system was stopped in order to
                                                                             other non-food waste was found in the water press or on the surface of the food   limit the intake and the tank was pumped out and cleaned. The
                                                                             waste tank. The system was stopped in order to limit the intake and the tank      content was offloaded to a shoreside reception facility.
                                                                             was pumped out and cleaned. The content was offloaded to a shoreside
                                                                             reception facility.
243.            05.30.2019*    05.03.2019     HA Group       Ruby            A high level alarm was received in the ECR for a grey water collecting tank.      To prevent reoccurrence, the cleaning teams working in galleys will     Complete
                                                             Princess        The plumber investigated and found a loss of suction from the tank. After         undergo further training on the structure of the grey water system to
                                                                             opening the pump, the plumber found a small plastic cap blocking the suction.     help them understand why it is so important not to remove drain
                                                                             The object was removed and the system put back in operation. No evidence of       protection during cleaning.
                                                                             a solid discharge was found. To prevent reoccurrence, the cleaning teams
                                                                             working in galleys will undergo further training on the structure of the grey
                                                                             water system to help them understand why it is so important not to remove
                                                                             drain protection during cleaning.
244.            05.30.2019*    05.10.2019     CUK            Queen           During a comprehensive internal inspection of a food waste tank plastics were     As a preventive measure, supervisors will maintain 15 minute checks     Complete
                                                             Elizabeth       found in the dewatering unit. The plastic was removed for incineration. The       of the pulpers and food waste bins as per Operational Directive 02-
                                                                             food waste processing capacity onboard is reduced while the system pulpers        2019. Furthermore, the ship will educate and raise awareness of the
                                                                             are out of service. As a preventive measure, supervisors will maintain 15         implications non-food items in the food waste system via ECP training
                                                                             minute checks of the pulpers and food waste bins as per Operational Directive     modules, departmental briefings, etc.
                                                                             02-2019. Furthermore, the ship will educate and raise awareness of the
                                                                             implications non-food items in the food waste system via ECP training
                                                                             modules, departmental briefings, etc. No Garbage Record Book entry was
                                                                             made as no plastic was discharged overboard.
245.            05.30.2019*    05.12.2019     CUK            Queen           During routine watch internal inspections of the galley grey water filters, the   The items were removed for incineration. Supervisors will maintain      Complete
                                                             Elizabeth       motorman reported several non-food items in the inlet filter. Due to the small    15 minute checks of pulpers and food waste bins, as per Company
                                                                             size of the items, it is difficult to positively identify them. However, some     Operational Directive 02-2019. Furthermore, the ship will educate
                                                                             plastics were present. The items were removed for incineration. The root          and raise awareness of the implications non-food items in the food
                                                                             cause is operator error/carelessness. Supervisors will maintain 15 minute         waste system via ECP training modules, departmental briefings, etc.
                                                                             checks of pulpers and food waste bins, as per Company Operational Directive
                                                                             02-2019. Furthermore, the ship will educate and raise awareness of the

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                  Date of         Date of       Operating        Vessel                                 Description of Incident                                             Analysis Summary and Action Plan                        Status of
                Notification     Incident        Line /                                                                                                                                                                            Action Plan
                                                 Group
                                                                             implications non-food items in the food waste system via ECP training
                                                                             modules, departmental briefings, etc.
246.            05.30.2019*    05.12.2019     CUK            Queen           Several pieces of cling film were found in both dewatering units by the Waste   Food waste discharge was suspended while food tanks were internally   Complete
                                                             Elizabeth       Disposal Supervisor during routine daily internal inspections. The plastic      checked by the waste supervisor and EO. Supervisors will maintain
                                                                             items were removed for incineration. Food waste discharge was suspended         15 minute checks of pulpers and food waste bins as per the Company
                                                                             while food tanks were internally checked by the waste supervisor and EO.        Operational directive 02-2019. Daily visual inspections of the de-
                                                                             Supervisors will maintain 15 minute checks of pulpers and food waste bins as    watering units are ongoing.
                                                                             per the Company Operational directive 02-2019. Daily visual inspections of
                                                                             the de-watering units are ongoing. No Garbage Record Book entry was made
                                                                             as no plastic was discharged overboard.




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          Notice         Date of         Date of      Operating         Vessel                                 Description of Incident                                                 Analysis Summary and Action Plan                            Status of
         Number        Notification     Incident       Line /                                                                                                                                                                                     Action Plan
                                                       Group
1.     #8-2019*       03.21.2019      03.19.2019     CCL            Unknown         Complainant reported that for an unknown period of time, “the company              Without more information the Company cannot investigate the               Complete
                                                                                    throws plastic items in the ocean, such as spoons and knifes [sic].” The caller    allegation. The company made a request to the complainant for more
                                                                                    added that a huge quantity of fish are dying because of this situation. The        information through the confidential system and in a section of the
                                                                                    caller considered this to be an awful action against the environment. The caller   CMO newsletter. The Company did not receive a response and
                                                                                    notes that his/her concern involves all the Carnival cruises around the world.     therfore closed the open report. Nevertheless, the Company has
                                                                                                                                                                       created a food waste task force to address the issue of the presence of
                                                                                                                                                                       plastic in food waste.
2.     #9-2019*       04.16.2019      Unknown        CUK            Queen           A photographer who recently resigned from the Queen Victoria, directly e-          The investigation revealed the sink in the Photo Lab drains to a          Complete
                                                                    Victoria        mailed Chris Donald and Peter Hutchison to report several Human Relations          standalone container that is not connected to the ship’s waste water
                                                                                    related complaints relating to his managers during his contracts onboard the       systems. The sink was clogged because of residue in the wash water.
                                                                                    Queen Elizabeth and Queen Victoria. With his complaint, the photographer           The investigators concluded there was no spillage or non-
                                                                                    included several photographs depicting the state of the photo gallery work         conformance of any kind in the Photo Lab. The Lab has been
                                                                                    areas. Two photographs of the photographs showed a white pitcher with an           operating and continues to operate in conformance with GHESS and
                                                                                    attached funnel placed next to a sink with traces of an unidentified brown         as per regulatory requirements.
                                                                                    liquid in and around the sink. The photographer could not identify the brown
                                                                                    liquid and did not discuss the brown liquid with any members of the
                                                                                    photography team.
3.     #10-2019*      04.18.2019      Unknown        CCL            Unknown         An employee reported that several CCL ships are having problems separating         The CCM spoke directly with the complainant and discussed possible        Complete
                                                                                    the garbage. The complainant is concerned that “there is too much wasted           solutions to separating garbage. Additionally, the OLCM reached out
                                                                                    food and items that could represent an environmental or residual problem.”         to the complainant to confirm that he shared the complainant’s
                                                                                    According to the complainant, his direct management does not have the power        suggestions to the Hotel Operations Management
                                                                                    to address the issue and he would like to speak with someone at a higher level
                                                                                    to discuss his concerns and a proper solution to the issue.
4.     #11-2019*      04.30.2019      Unknown        CCL            Carnival        A guest on the Carnival Miracle reported that “from his balcony he witnessed       The investigation revealed the objects thrown overboard were likely       Complete
                                                                    Miracle         five bags of garbage being thrown overboard from the Lido at around                four white chairs that were thrown overboard by unknown persons.
                                                                                    midnight. An investigation team will be assigned to investigate the allegation     The investigator contacted the complainant to advise him of the
                                                                                    and will reach out to the passenger to find out more details.”                     outcome of the investigation. The complainant did not reply to the
                                                                                                                                                                       investigator’s email.




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                 Date of        Date of      Operating         Vessel                                   Summary of Incident                                                          Analysis Summary and Action Plan                             Status of
                Incident        Notice        Line /                                                                                                                                                                                             Action Plan
                                              Group
1.            02.09.2017     11.29.2017     HA Group       Emerald         On November 29, 2017, Maritime New Zealand filed criminal charges against             On June 28, 2018, Princess Cruises entered a plea of guilty for “caus[ing] or   In Progress
                                                           Princess        Princess Cruise Lines for two alleged violations of New Zealand’s Maritime            permit[ting] a maritime product, namely a pressurized nitrogen cylinder
                                                                           Transport Act 1994, sections 65(1)(a) and (2)(a) in connection with a fatal           forming part of a lifeboat davit stored energy system, to be maintained or
                                                                           accident on board the Emerald Princess while that vessel was docked in Port           serviced in a manner that caused unnecessary danger or risk to other
                                                                           Chalmers, New Zealand on or about February 9, 2017. In sum, a high-pressure           people.” The Court issued its sentencing order on January 21, 2019. The
                                                                           nitrogen cylinder burst while being re-pressurized, which resulted in the death       financial penalty issued by the Court was NZD 15,000 (USD 10,139). The
                                                                           of an Emerald Princess crew member standing nearby. The Transport                     Court had the discretion to award reparations to the family of the deceased
                                                                           Accident Investigation Commission (TAIC) in New Zealand investigated the              crew member and awarded reparations in the amount of NZD 259,483 (USD
                                                                           incident and issued an interim report on May 10, 2017, concluding that the            175,407.89). The parties will be submitting a final joint memorandum of costs
                                                                           burst nitrogen cylinder had suffered significant corrosion at the point of failure.   to the Court.
                                                                           A metallurgist’s initial assessment also concluded that the failure had occurred
                                                                           as a result of overload caused by corrosion thinning. TAIC issued
                                                                           recommendations to the Navalimpianti Tecnimpianti Group (manufacturer of
                                                                           the cylinder), the International Association of Classification Societies, and to
                                                                           CLIA (Cruise Lines International Association) regarding inspection and
                                                                           storage requirements for these cylinders. No recommendations in the report
                                                                           were directed to Princess Cruise Lines. The maximum penalty for each of the
                                                                           two alleged violations cannot exceed NZ $100,000.




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